            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 1 of 225




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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA LM.HZOU '4 t) LUUJ
                               ATLANTA DIVISION          LLLR'HZ T~-IOYAS, Clerk
                                                                           _....~...   O~poty Olertc-
RICHARD BROWN ; MARY C . BROWN ;
SANDRA JANSEN ; LAMARA MORRIS ;
JAMES MORRIS; CHERYL CRADDOCK ;
CHRISTOPHER CRADDOCK ; JOSEPH
BANIEWICZ ; LINDA WILSON ; WILLIAM                      CIVIL ACTION FILE
WILSON; CHRISTINA BURCH ; NANCY
BROOK; DENNIS BROOK ; GEORGE LEWIS;                     NO.
KATHLEEN RANSDELL ; LEWIS A.
RANSDELL; GLORIA HUBER ; DONALD F.
HUBER; THERESA PERFETTO ; SHANON                          1 :03~ CV-2070
KEENAN ; ERIC KEENAN; TRACY
FOINTNO ; ARZELLA WHITE ; MICHAEL
MEAD; IRIS MEAD ; SYLVIA FITE ;
WILLIAM L. FITE; WILMA P.ARHAM ;
                                                                                 "J~ls
AMOROS ALEXANDER PARHAM ; CARITA
MYRICK ; LILLIAN IDLETT; EUGENE
IDLETT; ANGELA WHITFIELD ; MAX
WHITFIELD ; KATHLEEN KNEZICH;
DEBORAH JONES ; SUSAN THURNHERR ;
LARRY THURNHERR ; CHERYL BESEDICK ;
REBECCA BOYETTE ; CYNTHIA EDWARDS ;
SYLVIA BROWN; BRENDA WORLEY ;
JAMES WORLEY ; ELAINE DAVIDSON ;
EDWARD DAVIDSON ; PATRICIA
lil(A1V'1r.liV; DONALD GRANIERO ; GILLIAN
PAWLICK ; HELEN MOORS ; MONIQUE
MARCOUX; ROCK MARCOUX; SHIELA
HAROLD ; CHARLES HAROLD ; LESA
THOMAS; GARY THOMAS ; LUTHER
PHILLIP CARTER ; KAREN MOSLEY
CARTER ; HELEN BLANQUE ; JOHN
BLANQUE; MICHELLE CHICK; JOHN
LANDWEHR; DONNA LANDWEHR ;
BEVERLY DAMS ; JOEL ROSENBLATT ;                               Retriallnatructiena
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-U,cp 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 2 of 225




PAMELA TAYLOR; KATHY BARKER;
KEITH BARKER ; GLADYS HACKNEY ;
LINDA WHITE; WANDA CARTER; MARCEL
CARTER ; FLORENCE WILSON; RONALD
WILSON; BARBARA STADLER; KENNETH
STADLER; CAROL CANNAROZZO ; VICTOR
CANNAROZZO Jr. ; ANGELA GUAGLIANO ;
NORMA JEAN ROBERTS ; EARL SCOTT ;
MARVELLE EDELIN ; RHONDA TRACEY ;
FRANCIS CLARK; BARBARA HARTNETT;
SALLY ROGALA; PATRICIA FULLER;
JOANN ABRAM; MARY SUGGS; LEON
SUGGS; TAMMY FRYMAN ; RANDOLPH
FRYMAN ; MINNIE FOX; KIMBERLY
GREEN; JAMES PASTONIK; YVONNE
RUTTERS; THOMAS RUTTERS; DEBORAH
GOOD; DONALD W. GOOD ; ANETTE
KELLY; MARILYN THOMPSON ; ALLEN
NESTOR; BLEN GARY; and GENA WILSON,

                                            Plaintiffs,



WYETH, INC., f/k/a AMERICAN HOME
PRODUCTS CORPORATION; WYETH
PHARMACEUTICALS, INC., f/k/a WYETH-
AYERST PHARMACEUTICALS, INC., a
Division of American Home Products
Corporation; INDEVUS
PHARMACEUTICALS, INC ., f/k/a
INTERNEURON PHARMACEUTICALS, INC. ;
MEDEVA PHARMACEUTICALS, INC.;
FISONS PHARMACEUTICALS ; CELLTECH
PHARMACEUTICALS, INC. ; GOLDLINE
LABORATORIES, INC . ; ZENITH-GOLDLINE
PHARMACEUTICALS, INC.; ROBERT L.
SCOTT, a citizen of the State of Georgia; JOHN

                                        2
-Dap 513553 .02-
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 3 of 225




A. MOLNAR, a citizen of the State of Georgia ;          )
STEVEN KAISER a citizen of the State of                 )
Georgia ; and JOHN DOE NOS. 1 - 5,                      )

                                         Defendants. )




                               NOTICE OF REMOVAL

        Defendants    Wyeth,    formerly known as       American    Home    Products

Corporation and including defendant Wyeth Pharmaceuticals, Inc. (formerly

known as Wyeth-Ayerst Pharmaceuticals, Inc.), Robert L. Scott, John A. Molnar

and Steven Kaiser (collectively, "Petitioners") file this Notice of Removal

removing this action from the State Court of Fulton County, Georgia, to the United

States District Court for the Northern District of Georgia, Atlanta Division. For

the reasons stated below, this Court should sever, and retain jurisdiction over, the

claims of all the plaintiffs except for Cheryl Besedick and Rebecca Boyette - the

only plaintiffs who assert claims against a properly joined non-diverse defendant .

                                Preliminary Statement

        Each plaintiff alleges injuries arising from his or her use, or his or her

spouse's use, of the diet drugs fenfluramine (Pondiming), dexfenfluramine

(ReduxT"'), and/or phentermine . Pondimin often was taken in combination with




                                          3
-Docp 513553 .02-
             Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 4 of 225




phentermine. Wyeth sold Pondimin and Redux, but not phenternvne . Phentermine

vas sold by a number of other companies.

         All federal diet drug cases have been consolidated before the United States

District Court for the Eastern District of Pennsylvania (the "MDL Court") since

1997.      The MDL Court has developed substantial expertise with respect to the

legal and scientific issues presented in diet drug cases . In 2000, the MDL Court

approved a nation-wide class action settlement (the "National Settlement") . The

settlement class includes all diet drug users except for those who opted out of the

class . Plaintiffs allege that, although they are members of the settlement class,

they may sue under provisions of the National Settlement that permit class

members to file lawsuits in certain circumstances.

         There has been an explosion of cases in the diet drug litigation in which

plaintiffs attempt to evade the MDL Court by filing lawsuits in state court,

fraudulently joining non-diverse defendants, against whom there is no reasonable

possibility of recovery or any good faith intent to pursue a claim, and misjoining in


' II is yet to be determined whether plaintiffs meet the medical and other criteria for being
permitted to assert such claims under the terms of the National Settlement . If they do not meet
those criteria, an existing injunction entered by the MDL Court bars and enjoins plaintiffs from
asserting their claims . Brown v. Am . Home Prods. Corn. , Nos. 1203 and 99-20593, 2000
WL 1222042, at *72 (E.D . Pa. Aug. 28, 2000). If this case is transferred to the MDL Court, the
MDL Court will determine whether plaintiffs meet those criteria.




                                               4
- DixK 513553 .02 -
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 5 of 225




one complaint the claims of dozens or even hundreds of plaintiffs, only one or a

small number of whom are not diverse from Wyeth. The MDL Court addressed

this problem in Anderson v. American Home Products Corporation, 220 F. Supp .

2d 414 (E .D. Pa. 2002), explaining :

                    What has been transpiring can only be characterized as a
                    sham, at the unfair expense not only of AHP [now known
                    as Wyeth] but of many individuals and small enterprises
                    that are being unfairly dragged into court simply to
                    prevent the adjudication of lawsuits against AHP, the real
                    target, in a federal forum.

Id. at 425 (emphasis added) .           The Court cautioned that "`so long as federal

diversity jurisdiction exists . . . the need for its assertion may well be greatest when

plaintiff tries hardest to defeat it."' Id. (quoting Boyer v. Snap-on Tools Corp . , 913

F .2d 108, 111 (3d Cir. 1990)).

        In Anderson , the MDL Court specifically held that the plaintiffs had

fraudulently joined phentermine manufacturers, sales representatives, pharmacies

and doctors to try to defeat diversity jurisdiction. 220 F . Supp. 2d at 420-25 . The

MDL Court concluded that the phentermine defendants were fraudulently joined

because, among other things, there is no epidemiologic data that phenternune

actually causes heart problems, and phentermine defendants have been "routinely

and voluntarily dismissed from hundreds of cases by plaintiffs without any

settlement ." Id . at 421 ; see also id. at 420 . The MDL Court also concluded that

                                                5
-DocK 51355J .02-
             Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 6 of 225




the sales representative defendants were fraudulently joined, noting that the

complaints failed to allege that the sales representatives supplied plaintiffs or their

doctors with any drugs, failed to comply with Federal Rule of Civil Procedure 9(b),

and failed to provide a reasonable basis for any claim under state law .         Id. at

424-25 . The MDL Court further concluded that the pharmacy defendants were

fraudulently joined because there was no basis for a claim against them under state

law and diet drug plaintiffs "never pursued [them] to judgment ." Id. at 424.

         Addressing the claims against the defendant doctors, the MDL Court found

that forty-eight of the fifty plaintiffs had not been treated by the doctors.

Accordingly, the claims of the only two plaintiffs who had been treated by

non-diverse doctors were remanded to state court, and the MDL Court retained

diversity jurisdiction over the claims of the other forty-eight plaintiffs . Anderson ,

220 F. Supp. 2d at 422 . This was consistent with the MDL Court's prior decision

in Chaney v. Gate Pharmaceuticals , No. Civ.A. 98-20478, 1999 WL 554584 (E.D.

Pa. July 16, 1999). In that case, plaintiffs had attempted "to join persons from

seven different states into one civil action who have absolutely no connection to

each other except that they each ingested fenfluramine, Redux (dexfenfluramine),

phentermine or some combination of those drugs." Id . at *3 . The MDL Court

found joinder of such claims in one pleading was "devoid of any redeeming feature


                                          6
- DucR 513553 .02 -
                         f
             Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 7 of 225




as respects the underlying purpose of the joinder rules." Id . It thus severed the

claims of the non-diverse plaintiffs and retained jurisdiction over the claims of the

diverse plaintiffs, applying the approach that the Eleventh Circuit Court of Appeals

approved in Tapscott v. M.S . Dealer Service Corgi, 77 F .3d 1353 (11th Cir. 1996),

abrogated on other grounds, Cohen v. Office Depot, 204 Fad 1069 (11th Cir.

2000). Chaney, 1999 WL 554584, at *2-*4 .

         Unfortunately, the sham litigation that the MDL Court tried to stop in

Anderson continues . In an effort to avoid the MDL Court, plaintiffs are filing

scores of cases in Fulton County that fraudulently join defendants and plaintiffs

from all over the United States. The Complaint in this case is one example . It

incorporates the disparate claims of plaintiffs from several states whose residencies

are diverse from the real defendant in this case, Wyeth. Yet plaintiffs attempt to

defeat federal jurisdiction as to these plaintiffs by fraudulently joining as

defendants phentermine manufacturers and former Wyeth employees, and by

naming just two plaintiffs who are not diverse from Wyeth .

         Plaintiffs' ploy must fail .   As demonstrated below, the phentermine

defendants in this case, as in Anderson , are fraudulently joined. Plaintiffs do not

allege that they took a brand of phentermine that any non-diverse phentermine

manufacturer made, and there is no evidence that phentermine causes the injury


                                          7
- Docp 513553 .02
             Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 8 of 225




plaintiffs allege .   Indeed, in the entire history of the diet drug litigation, no

phenternvne defendant has ever paid a penny in judgment or settlement .

Moreover, plaintiffs' claims against the phentermine defendants are time-barred.

         In addition, the Wyeth employee defendants are fraudulently joined .

Plaintiffs have no reasonable basis for a claim against them and no good faith

intent to pursue one.      Among other things, plaintiffs do not allege that these

defendants had any contact with plaintiffs or their doctors, and plaintiffs cannot

show that these defendants harmed plaintiffs in any way.

         Finally, the plaintiffs who are diverse from Wyeth - and whose claims

clearly would be subject to federal jurisdiction if they had sued individually -

cannot defeat Wyeth's right to removal simply by joining their claims with those of

one or more plaintiffs who are not diverse from Wyeth . The claims of all plaintiffs

who are diverse from Wyeth belong in federal court and this Court should sever

and retain jurisdiction over them.

                                     The Complaint

                                           1.

         Wyeth is a defendant in a civil action brought against it in the State Court of

Fulton County entitled Richard Brown, et al . v. Wyeth, Inc., et al . , bearing Civil

Action No . 2003VS052187 .


                                            8
- DocX 513553 .02 -
             Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 9 of 225




                                                z.
         A copy of the Complaint, the Amended and Recast Complaint, and any

process, pleadings and orders served on or by Petitioners are attached hereto as

Exhibit A.

                                                3.
         The action was commenced by the filing of a Complaint on or about

June 23, 2003, and an Amended and Recast Complaint on or about June 30, 2003,

in the State Court of Fulton County.

                                                4.
         The Complaint names one hundred four individual plaintiffs . Based upon

the allegations in the Complaint, the plaintiffs are citizens of the following States:

         Maryland - Lamara Morris, James Moms, Linda Wilson, William
         Wilson, Christina Burch, Monique Marcoux, Rock Marcoux, Sheila
         Harold, Charles Harold, Joseph Rosenblatt, Marvelle Edelin, Rhonda
         Tracey, Francis Clark, Sally Rogala, Deborah Good, Donald W.
         Good, Annette Kelly, Marilyn Thompson and Gena Wilson.

         New York - Kathleen Knezich, Susan Thurnherr, Larry Thumherr,
         C_Ti_1_1_ia_n_ Pa_wlir_k_, F1nrPnr_e Wi_1_gnn_R_nna_lrl Wilcnn~ Ra_rhara .CtarilPr
         Kenneth Stadler, Carol Cannarozzo, Victor Cannarozzo Jr. and
         Angela Guagliano.

         Vir inia - Sandra Jansen, Joseph Baniewicz, Therea Perfetto,
         Michelle Chick, Earl Scott, Barbara Hartnett, Kimberly Green, James
         Pastonik and Allen Nestor .

         Louisiana - Gloria Huber, Donald F . Huber, Lesa Thomas, Gary
         Thomas, Helen Blanque ; John Blanque and Joann Abram.


                                                  9
- Docp 513553 .02 -
          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 10 of 225




        North Carolina - Nancy Brock, Dennis Brock, Luther Phillip Carter
        and Karen Mosley Carter .

        Tennessee - Kathleen Ransdell, Lewis A. Ransdell, Norma Jean
        Roberts and Minnie Fox .

        Kentuc     - Arzella White, Tammy Fryman and Randolph Fryman.

        District of Columbia - Cynthia Edwards, Helen Moore and Blen
        Gary.

        West Virginia - Yvonne Rutters and Thomas Rutters.

        Indiana - Shanon Keenan and Eric Keenan .

        Ohio - Deborah Jones.

        Georgia - Richard Brown, Mary C . Brown, Cheryl Craddock,
        Christopher Craddock, George Lewis, Tracy Fointino, Michael Mead,
        Iris Mead, Sylvia Fite, William L. Fite, Wilma Parham, Amoros
        Alexander Parham, Carita Myrick, Lillian Idlett, Eugene Idlett,
        Angela Whitfield, Max Whitfield, Sylvia Brown, Brenda Worley,
        James Worley, Elaine Davidson, Edward Davidson, Patricia Graniero,
        Donald Graniero, John Landwehr, Donna Landwehr, Beverly Davis,
        Pamela Taylor, Kathy Barker, Keith Barker, Gladys Hackney, Linda
        White, Wanda Carter, Marcel Carter and Patricia Fuller.

        Pennsylvania - Cheryl Besedick and Rebecca Boyette.

                                       5.

        The Complaint names as defendants Wyeth (formerly known as American

Home Products Corporation) and Wyeth Pharmaceuticals, Inc. (formerly known as

Wyeth-Ayerst Pharmaceuticals, Inc.).         Another named defendant is Indevus

Pharmaceuticals, Inc. (formerly known as Intemeuron Pharmaceuticals, Inc.)

("Indevus'), which was involved with the development of Redux . Also named as


                                        10
-o«a sissss .oz-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 11 of 225




defendants are the following companies, which each manufactured and/or sold

phentermine (the "phentermine defendants") :                Celltech Pharmaceuticals, Inc .

("Celltech") ; Medeva Pharmaceuticals, Inc. ("Medeva"); Fisons Pharmaceuticals,

Inc .    and/or       Fisons   Corporation   ("Fisons") ;    Goldline   Laboratories,   Inc.

("Goldline"); and Zenith Goldline Pharmaceuticals, Inc. ("Zenith Goldline") . The

Complaint names three individuals as defendants, who are former Wyeth

employees: Robert L. Scott, John A. Molnar and Steven Kaiser. The only other

defendants are alleged to be "John Does."

                                              6.
         Wyeth is a Delaware corporation with its principal place of business in New

Jersey. Wyeth Pharmaceuticals, Inc. is a Delaware corporation with its principal

place of business in Pennsylvania .

                                              7.

         Based upon the allegations of the Complaint, Indews is a Delaware

corporation with its principal place of business in Massachusetts.                Indevus'

residency is thus diverse from the residencies of all the plaintiffs .

                                              8.
         Based on the Complaint allegations concerning the phentermine defendants,

Celltech is a Delaware corporation with its principal place of business in New

York, Fisons is a Delaware corporation with its principal place of business in New

                                              11
- Docp 513553 .02 -
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 12 of 225




York, Goldline is a Florida corporation with its principal place of business in

Florida, and Zenith Goldline is a Florida corporation with its principal place of

business in Florida. Medeva was merged into Celltech in 1998 and, to the extent

Medeva exists, Medeva is (and has been since 1998) a Delaware corporation with

its principal place of business in New York.         Documents from the Delaware

Secretary of State and the Texas Secretary of State evidencing the merger and

Medeva's citizenship (to the extent Medeva exists) are attached as Exhibit 1 .

                                            9.
         Robert L . Scott, John A. Molnar and Steven Kaiser are citizens and residents

of the State of Georgia.

                     The Phentermine Defendants Are Fraudulently Joined

                                            10.

         The presence of the phentermine defendants does not defeat removal

because they are fraudulently joined . Plaintiffs have no reasonable basis for a

claim aeainst these defendants and no good faith intent to pursue a claim against

them .

                                             11 .

         Plaintiffs allege that the phentermine defendants sold and marketed

phentermine products, which were sometimes taken in connection with Pondimin .



                                              12
 -Docp 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 13 of 225




Plaintiffs have no reasonable basis for a claim against the phentermine defendants

for several reasons, including the following .

        First, all of the plaintiffs fail to allege that they or their spouses took

phentermine at all.    They allege only injuries arising from use of fenfluramine

(Pondimin(ft dexfenfluramine (ReduxTM) "and/or" phentermine .         The plaintiffs

must know what drugs they or their spouses took and they also undoubtedly

understand that alleging use of a non-diverse phentermine defendant's products

would aid their effort to defeat federal jurisdiction . Their failure to allege such

use, therefore, shows that they have no basis to allege such use. Accordingly,

plaintiffs do not have a reasonable basis for a claim against the phenternvne

defendants .

        Second , there is no evidence that phentermine causes the heart valve

problems that plaintiffs allege . Stanger v. Am. Home Prods . Corgi, Nos. 03-20086

and 03-20088, slip op. at 7-8 (E .D. Pa. May 29, 2003) (attached as Exhibit 2) ("no

case has been brought to our attention in which a court has found scientifically

reliable evidence of phentemvne causing valwlar heart disease"); Anderson v.

Am. Home Prods. Corp . , 220 F. Supp. 2d 414, 420-21 (E.D. Pa. 2002) (no

epidemiologic data supports increased risk of heart problems from phentermine) .

No phentermine manufacturer has paid a penny in damages or settlement in any


                                          13
-Docq 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 14 of 225




diet drug case. For example, according to an April 8, 2002 filing with the United

States Securities and Exchange Commission by Aventis - the corporate parent of

phentermine manufacturer Fisons - Fisons "has made no payment in settlement of

any case and has been dismissed from approximately 2,600 cases." Aventis Form

20-F at 114 (attached as Exhibit 3). Similarly, IVAX Pharmaceuticals (which

distributed phentermine made by Eon and which now owns Goldline and Zenith-

Goldline) reported in its Form 10-K for the year ended December 31, 2001 that it

had been named in 5027 cases and had been dismissed from 4757, with additional

dismissals pending . IVAX Form 10-K at 26 (attached as Exhibit 4) .

        Third, any plaintiff claim against the phentermine defendants is time-barred.

The statute of limitations on a claim seeking recovery for personal injury is two

years regardless of the legal theory on which the claim is brought, or four years for

loss of consortium . O.C.G .A . § 9-3-33 ; Daniel v. Am . Optical Corgi, 251 Ga . 166,

304 S.E .2d 383 (1983).2 The last day any plaintiff could have purchased "fen-

phen" (the combination of Pondimin and phentermine) was September 15, 1997,

when Pondimin and Redux were withdrawn from the market . In addition, any

alleged injury plaintiffs suffered as a result of diet drugs occurred no later than that


z Wyeth does not concede that Georgia law applies to plaintiffs' claims . Wyeth cites Georgia
law because plaintiffs' counsel has cited Georgia law on remand motions in other diet drug
cases.


                                             14
-Ikrk 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 15 of 225
                       l



time because there is no evidence that heart valve damage possibly associated with

diet drugs is latent, meaning that it does not develop after use of the drugs has

ceased . Brown v. Am . Home Prods. Corp . , Nos . 1203 and 99-20593, 2000 WL

1222042, at *46 (E.D. Pa. Aug. 28, 2000) (MDL Court finding "no evidence" of

heart valve injuries developing later); see also Rainey v. Wyeth, No. 03-20128, slip

op . at 7 n.4 (E .D . Pa. June 12, 2003) (attached as Exhibit 16) (MDL Court "found

that there is no latency period between the time of drug use and injury") .

        Moreover, as a matter of law, all plaintiffs knew or should have known that

diet drugs could possibly cause health problems by September or October 1997

because of massive national and local publicity. On July 8, 1997, the United States

Department of Heath and Human Services issued a Health Advisory, and both the

Food and Drug Administration and the Mayo Clinic issued press releases,

concerning health risks possibly associated with the use of diet drugs.           The

September 15, 1997 withdrawal of the drugs from the market was accompanied by

numerous press releases and advertisements.             The withdrawal also       was

accompanied by massive publicity in the national and local media in the areas

where each of the plaintiffs resides . Substantial additional publicity about the diet

drugs and the national diet drug settlement appeared in the media between 1997




                                          15
-Docp 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 16 of 225
                       l



and early 2000, both nationally and in localities in which plaintiffs reside . See

Declaration of Sharon Taylor (attached as Exhibit 15).

        This mass of information put plaintiffs on inquiry notice of their claims. See

United Mans of Am . v. McGovern, 621 F.2d 152, 154-55 (5th Cir. 1980) (per

curiam) (agency press conference, press release, and publication of a Senate report

led to conclusion that "in the exercise of due diligence, plaintiff should have

known that it had a potential claim") ; Hughes v. Vanderbilt Univ. , 215 F .3d 543,

548-49 (6th Cir. 2000) (plaintiff should have known of potential claim where

publicity was extensive) ; Winters v. Diamond Shamrock Chem. Co . , 149 F .3d 387,

403-04 (5th Cir. 1998) (as a matter of law, extensive media coverage in the mid-

1980's concerning Agent Orange put plaintiff on notice at that time that she should

investigate her potential claim), cert. denied , 526 U .S . 1034 (1999) .

                                           12 .

        Because plaintiffs have no reasonable basis for a claim against the



against these defendants. In addition, the MDL Court found that the plaintiffs in

Anderson had no good faith intent to pursue claims against phentermine defendants

based on the entire history of the diet drug litigation, the absence of evidence that

phentermine causes harm, the fact that no phentermine defendant has paid a penny


                                            16
-Docp 513553 .02-
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 17 of 225
                               f



in settlement or judgment, and the "universal lack of prosecution" of the

phenternvne defendants . Anderson , 220 F. Supp. 2d at 420-22 . That history is

summarized in the Declaration of Daniel Pariser, attached hereto as Exhibit 5

(without exhibits) . Moreover, the MDL Court in StanQer recently confirmed that

this history continues :

                      We cannot turn a blind eye to . . . the history and realities
                      of fen-phen litigation . In our role as the MDL court, we
                      necessarily have a broader perspective than is available
                      to a court faced with an individual fen-phen case. We
                      conclude that as in Anderson , plaintiffs here "have no
                      real intention in good faith to seek a judgment against the
                      phenternune defendants and that as a result the
                      phentermine defendants are fraudulently joined in these
                      actions ." . . . Complicity between plaintiffs and the
                      phentermine defendants will not be allowed to eviscerate
                      federal diversity jurisdiction .

Slip op . at 9 (Exhibit 2) (quoting and citing Anderson , 220 F . Supp. 2d at 422) .

         The diet drug litigation in Georgia is entirely consistent with the lack of

good faith intent to prosecute phentermine defendants that the MDL Court found.

riaiiiiiiis nave never pursued a pneniermine defendant to judgment in hundreds of

cases filed to date.            These facts, the desperate attempts of plaintiffs to defeat

federal jurisdiction in this and other cases, and plaintiffs' transparent effort to

gerrymander the Complaint in this case, make plain that the phentermine




                                                   17
- DucN 513553 .02 -
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 18 of 225




defendants were joined solely for the purpose of attempting to defeat federal

diversity jurisdiction.

                                               13 .
        If the Court has any doubt that the phentermine defendants are fraudulently

joined, it should permit Wyeth discovery on the issue .

                 Defendants Scott And Molnar Are Fraudulently Joined

                                               14 .
        The presence of Robert L. Scott and John A. Molnar does not defeat removal

because plaintiffs have no reasonable basis for a claim against these defendants

and no good faith intent to pursue a claim against them. As Judge Thrash held in

denying remand of another diet drug case, "hilt is quite apparent that the only_

reason for joining these Defendants in this case was to defeat Wveth's 1e itg imate

right to remove the case to federal court." Johnson v. Wyeth , 1 :02-CV-1368, slip.

op . at 4 (N.D. Ga. Jan. 3, 2003) (emphasis added) (attached as Exhibit 7).3


' In Roane v. American Home Products Com. , No . 1 :02-CV-2681 (N.D. Ga . Jan . 21, 2003),
Judge Martin concluded, without mentioning Judge Thrash's earlier decision in Johnson, that
plaintiffs had not fraudulently joined Mr. Scott because there was "a possibility" that the
complaint "state[d] a cause of action" against him for fraud. Yet Judge Martin also found that
"in light of the evidence developed in similar lawsuits, it does not appear that the plaintiffs can
recover on a fraud claim against Scott" (emphasis added) . Fraudulent joinder exists unless a
plaintiff shows "`a reasonable basis for predicting that state law might impose liability on the
facts involved."' Crowe v. Coleman, 113 Fad 1536, 1542 (llth Cir. 1997) (quoting Bobby
Jones Garden Apartments v. Suleski , 391 F .2d 172, 177 (5th Cir. 1968)) . Given her finding that
plaintiffs could not recover against Mr. Scott for any liability based on fraud, Wyeth respectfully
submits that Judge Martin erred in concluding that Mr. Scott was not fraudulently joined, and
that Judge Thrash was correct in voiding that Mr. Scott was fraudulently joined .


                                                18
-DocR 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 19 of 225




                                           15 .
        To have a reasonable basis for a claim against Messrs . Scott and Molnar,

plaintiffs would need to show that those defendants had some personal

participation in a tort that harmed plaintiffs. Messrs . Scott and Molnar cannot be

liable merely because they are former employees of Wyeth . James v. Parke-Davis,

1 :00-CV-1203-JEC, slip. op . at 18-19, 21 (N.D. Ga . Nov . 30, 2000) (attached as

Exhibit 8) (defendant must be the "guiding spirit behind the wrongful conduct" or

"the central figure . . . in the challenged corporate activity"; internal quotation

marks and citation omitted; finding fraudulent joinder of sales representatives in

suit against drug company) ; see also DCA Architects, Inc . v. Am. Bldg.

Consultants. Inc ., 203 Ga. App. 598, 600, 417 S.E.2d 386, 389 (1992) (even a

corporate officer is not personally liable unless he personally participated in or

personally directed commission of tort).

        Messrs . Scott and Molnar did not have as part of their job responsibilities

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(attached as Exhibit 9); Scott Deposition Tr. 218-20 (attached as Exhibit 10);

Molnar Affidavit ~!~ 7-8 (attached as Exhibit 11); Molnar Deposition Tr. 264

(attached as Exhibit 12). Messrs. Scott and Molnar had no role in developing,

selling or marketing diet drugs . Scott Affidavit T 12; Scott Deposition Tr. 218-20;


                                           19
-Doc# 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 20 of 225
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Molnar Affidavit I 10 ; Molnar Deposition Tr. at 264 .         They had no role in

obtaining government approval for diet drugs.          Scott Affidavit !~ 13 ; Molnar

Affidavit ~ 10.

        Plaintiffs therefore attempt to base their claims against Mr. Scott on the

contention that he gave incorrect information to certain state regulators in lobbying

them to "deschedule" diet drugs - i .e., remove the drugs from a list of controlled

substances . Plaintiffs try to base their claims against Mr. Molnar on the allegation

that he gave incorrect information to members of the Tennessee Legislature in

lobbying them to change a law regarding diet drugs. Plaintiffs have no basis for

either claim for several reasons, including the following .

        First, plaintiffs have no basis for their claim against Mr. Scott because none

of the states whose regulators Mr. Scott contacted with respect to descheduling

ever descheduted diet drugs. See Scott Affidavit T 5, T 7, T 8 (Exhibit 9); Scott

Deposition Tr. 218 (Exhibit 10). Thus, despite any activities of Mr. Scott, the sale

of diet drugs in those states continued to be subject to the same regulatory

restrictions as they had been before those activities . Mr. Scott's alleged activities

could not have injured plaintiffs .

        Second, plaintiffs have no basis for a claim against Mr. Scott or Mr. Molnar

because plaintiffs failed to comply with O.C .G.A . § 9-11-11 .1 . Plaintiffs' claims


                                          20
-DocA 513543 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 21 of 225
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against Messrs. Scott and Molnar arise from their alleged lobbying of government

officials with respect to laws and regulations affecting diet drugs .        O.C .G .A .

§ 9-11-11 .1 requires that any claim that "could reasonably be construed as an act in

furtherance of the right of free speech or the right to petition government" be

brought only if accompanied by verifications from both the party asserting the

claim and the party's attorney of record . The verifications must state under oath

that the party and the attorney have read the complaint, that the claim "is well

grounded in fact and is warranted by existing law or a good faith argument for the

extension, modification or reversal of existing law," that the speech at issue is not

protected by O.C .G .A. § 51-5-7, and that the claim is not interposed for "any

improper purpose ." O.C .G.A . § 9-11-11 .1 . When a complaint does not contain the

required verification, and the plaintiff fails to correct the defect, the court must

dismiss the claim. Hawks v. Hinely, 252 Ga . App. 510, 516, 556 S .E.2d 547, 551

(2001) ; Davis v. Emmis Publ'g Corgi, 244 Ga . App. 795, 798, 536 S.E.2d 809, 812

(2000) .      Plaintiffs here have failed to provide the verification required under

O.C.G.A. § 9-11-11 .1 for their claims against Messrs . Scott and Molnar, and so

have no basis for those claims.

        Third , plaintiffs have no basis for a claim against Mr. Molnar for his actions

in lobbying the Tennessee Legislature, or for Mr. Scott in lobbying state regulators,


                                           21
 Docp 513553 .02 -
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 22 of 225




because those activities were protected by the First Amendment. See, e .g., Eastern

R.R. Presidents Conference v . Noerr Motor Freight,            , 365 U.S . 127, 138-40

(1961) (upholding conduct of railroads in seeking to obtain legislation to

disadvantage competing truck industry as protected under the First Amendment

even though the railroads' tactics involved "deception of the public," "the

manufacture of bogus sources of reference" and "distortion of public sources of

information"); Davric Maine Corp . v. Rancourt, 216 F .3d 143, 147 (1st Cir. 2000)

("[e]ven false statements presented to support such petitions are protected";

citation omitted); TEC Cogeneration, Inc. v. Fla. Power & Light Co ., 76 F .3d

1560, 1571 (11th Cir.) (petitioning legislators is protected regardless of motives),

modified on other rounds, 86 F .3d 1028 (11th Cir . 1996).

         Fourth , as Judge Thrash held in the Johnson case, plaintiffs have no basis for

a claim against Messrs. Scott or Molnar for a variety of other reasons. Plaintiffs

cannot recover on the theory that they were indirectly harmed as a result of a third

party's alleged reliance on any fraudulent or negligent misrepresentations that

Messrs . Scott or Molnar made . Johnson, slip. op. at 4 (Exhibit 7) (no reasonable

basis for this claim because plaintiffs "cannot show" that they or their doctors

relied upon any misrepresentation that Messrs. Scott and Molnar made); see also

Lawson v. Smith and Nephew Richards, Inc . , No. Civ .A.4 :96-CV0297RWS, 1999


                                           22
-Dceq 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 23 of 225




WL 1129677, at *7 (W.D . Ga. Sept. 30, 1999) (plaintiff cannot base fraud claim on

allegation that he was indirectly harmed by FDA's alleged reliance on

misstatements) ; White v. BDO Seidman, LLP, 249 Ga. App. 668, 670-73, 549

S .E.2d 490, 493-94 (2001) (investor cannot base fraud claim on allegation that he

was indirectly harmed by regulator's reliance on auditor's false report).

        Plaintiffs' fraud claims against Messrs. Scott and Molnar also fail because

they are not pled with the required particularity. See Fed . R. Civ. P . 9(b) ; Allen v.

Tyson Foods, Inc . , 153 F . Supp. 2d 886, 889-90 (S .D. Miss. 2001) (finding

fraudulent joinder where plaintiff failed to allege the "time, place or specific

content" of the alleged false statements); In re Rezulin Prods . Liab . LitiQ., 133 F.

Supp . 2d 272, 283 (S.D.N .Y. 2001) (finding fraudulent joinder where plaintiffs

failed to plead specific communications, reliance, and other facts with specificity) ;

Jacobson v. Ford Motor Co . , No. 98 C 742, 1999 WL 966432, at *4 (N.D. Ill .

Sept. 30, 1999) (finding fraudulent joinder because plaintiff had no chance of

prevailing where complaint failed "to set forth any particularized allegations of

fraudulent conduct" by the defendant) .

        Plaintiffs likewise have no basis for their claims against Messrs. Scott or

Molnar for conspiracy to defraud. Messrs. Scott and Molnar did not enter into an

agreement with any phentermine manufacturer or Indews. Johnson, slip . op . 4


                                          23
-Ikcp 513553 .02
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 24 of 225




(Exhibit 7) (finding that there was no proffered evidence of any such conspiracy) ;

Scott Affidavit T, 14 (Exhibit 9); Scott Deposition Tr. 188-89 (Exhibit 10) ; Molnar

Affidavit T 11 (Exhibit 11); Molnar Deposition Tr. 180 (Exhibit 12) . Messrs . Scott

and Molnar also could not have conspired with each other, with Mr. Kaiser, or with

Wyeth, because, as a matter of law, a corporation cannot conspire with its own

employees acting within the scope of their employment . Johnson, slip. op. at 4

(Exhibit 7); see also Alta Anesthesia Assoc . of Ga., P.C . v . Gibbons, 245 Ga. App.

79, 85-86, 537 S.E.2d 388, 394-95 (2000) (corporation cannot conspire with itself).

Plaintiffs' allegations are not pled with the requisite particularity in any event.

        Finally, plaintiffs do not have a reasonable basis for a claim against Messrs.

Scott or Molnar in this action because the MDL Court has held that an intermediate

opt-out plaintiff - as plaintiffs in this case purport to be - cannot introduce

evidence against Wyeth concerning descheduling of diet drugs. See Brown v . Am.

Home Prods. Corp. , No. 99-20593, slip op . at 3 (E.D. Pa. Jan. 29, 2003) (attached

as Exhibit 17)."    The MDL Court held that such evidence would constitute an

improper attempt to inflame the jury and circumvent the Settlement Agreement's

prohibition against intermediate opt-out plaintiffs seeking punitive damages from


° The order with respect to this opinion was superseded by a subsequent more comprehensive
order., but the underlying opinion was not superseded .



                                           24
-DacR 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 25 of 225
                          l



Wyeth.         See id.   The MDL Court further held that such a plaintiff cannot

circumvent this prohibition by seeking to admit such evidence against other

defendants. See Brown v. Am. Home Prods. Coro . , No. 99-20593, slip op . at 39-

40 (E.D. Pa. April 8, 2003) (attached as Exhibit 14). These orders, while directly

applicable to the plaintiffs there, constitute an interpretation of the Settlement

Agreement equally applicable to these plaintiffs, with the result that they could not

even introduce any evidence concerning any alleged descheduling activities of

Messrs. Scott or Molnar.

                                           16.
         Plaintiffs have no good faith intent to pursue a claim against Messrs. Scott or

Molnar. Plaintiffs have joined Messrs. Scott and Molnar solely to attempt to defeat

federal jurisdiction, and not to pursue any claim against them.

                                           17 .
         If the Court has any doubt that Mr. Scott or Mr. Molnar is fraudulently

joined, it should permit discovery on the issue .

                         Defendant Kaiser Is Fraudulently Joined

                                           18 .
         The presence of Steven Kaiser as a defendant does not defeat removal

because plaintiffs have no reasonable basis for a claim against Mr. Kaiser and no

good faith intent to pursue a claim against him.

                                           25
-Ducts 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 26 of 225
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                                               19 .
        Mr. Kaiser was an area business director for Wyeth from 1995 to 2001 . In

that capacity, Mr. Kaiser was responsible for managing nine district managers

who, in turn, managed approximately 134 sales representatives, in the States of

Georgia and Alabama. Kaiser Affidavit T 2 and T 8 (attached as Exhibit 13) . Mr.

Kaiser never had any direct contact with patients regarding Pondimin or Redux .

Id. at ~ 3 . He has not discussed Pondimin or Redux with any physician since 1977,

and before that with physicians in Indiana and Illinois. Id . at T 4. He has never

made a sales call to any physician to discuss Redux . Id . at T 5 and T 9. He was not

involved with the design, manufacture, testing, or labeling of Pondimin or Redux .

Id . at T 6. He was not involved in the regulatory approval process for diet drugs .

Id.     Mr. Kaiser also was not involved in developing the advertising and

promotional materials for the sale of Pondimin or Redux, and did not direct or

develop any of the training materials used by sales representatives . Id. at ~T 9- 10.

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did not cause, and could not have caused, any injury to plaintiffs . None of the

plaintiffs have any evidence that Mr. Kaiser supplied them or their doctors with

any drugs, or that he ever had any communications with them or their doctors on

which they relied.


                                               26
-Docp 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 27 of 225
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        Plaintiffs attempt to impose liability on Mr. Kaiser by alleging that he was

responsible for, and participated in, the dissemination of false and misleading

information about diet drugs . That is not only contrary to the facts as set forth in

Mr. Kaiser's affidavit, but also is exactly the type of generalized allegation that

Judge Carries held insufficient to state a reasonable basis for a claim against sales

representatives . James v . Parke-Davis, 1 :00-CV-1203-JEC, slip op. at 17-21 (N .D .

Ga. Nov . 30, 2000) (Exhibit 8) (allegation that defendant was involved in

implementing deceptive "sales strategy" was not sufficient to avoid finding of

fraudulent joinder).

        Plaintiffs' fraud and conspiracy to defraud claims against Mr. Kaiser fail for

the additional reason that plaintiffs fail to plead them with particularity . See Fed.

R. Civ . P. 9(b) . The conspiracy claim fails for the further reason that Mr. Kaiser

did not enter into any agreements with phentermine manufacturers, see Kaiser

Affidavit T 7 (Exhibit 13), and could not have conspired with Wyeth, or with

Messrs . Scott or Molnar, as a matter of law . Johnson , slip. op. at 4 (Exhibit 7) ; see

also Alta Anesthesia Assoc. of Ga., P.C . v. Gibbons, 245 Ga. App. 79, 85-86, 537

S.E .2d 388, 394-95 (2000) (corporation cannot conspire with itself.

        In addition, plaintiffs' claims against Mr. Kaiser fail because plaintiffs have

not complied with O.C.G .A . §9-11 -11 . 1 .


                                           27
-Docp 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 28 of 225




                                           20.
        Plaintiffs have no good faith intent to pursue a claim against Mr. Kaiser.

Plaintiffs have joined Mr. Kaiser solely to attempt to defeat diversity jurisdiction,

and not to pursue any claim against him.

                                           21 .
        If the Court has any doubt that Mr. Kaiser is fraudulently joined, it should

permit discovery on the issue.

                        The "John Doe" Defendants Are Irrelevant

                                           22 .
        Pursuant to 28 U.S .C . § 1441(a), the citizenship of the alleged "John Does"

is to be disregarded for purposes of determining diversity jurisdiction.

                     The Court Should Sever And Retain Jurisdiction
                    Over The Claims Asserted By The Diverse Plaintiffs

                                           23 .
        The Court should not permit the diverse plaintiffs to defeat Wyeth's right to

remove their claims by ioininQ their claims, over which diversity Jurisdiction

exists, with the claims of any non-diverse plaintiff.

        In Tapscott v . M.S . Dealer Service Cow, 77 Fad 1353 (11th Cir. 1996),

abrogated on other grounds, Cohen v. Office Depot, 204 F.3d 1069 (11th Cir.

2000), the Eleventh Circuit recognized that the misjoinder of parties could be just



                                           28
-DocX 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 29 of 225




as abusive a tactic as fraudulent joinder. In that case, diversity existed between

defendant Lowe's and the only two plaintiffs asserting claims against it, but

Lowe's was joined with several Alabama defendants against whom claims were

asserted by Alabama plaintiffs .           The Eleventh Circuit held that Lowe's had

properly removed the entire action based on diversity of citizenship. Id . at 1360.

It further held that the district court had properly severed and retained jurisdiction

over the claims against Lowe's, while remanding the remaining claims to state

court.     Id . at 1355-1360.       The Eleventh Circuit found that the claims against

Lowe's and the claims against the Alabama defendants arose from different

transactions and occurrences, and that the misjoinder of the claims against Lowe's

was so egregious as to amount to "fraudulent joinder ." Id. at 1360. The Court

explained :

                    Misjoinder may be just as fraudulent as the joinder of a
                    resident defendant against whom a plaintiff has no
                    possibility of a cause of action . A defendant's "right of
                    removal cannot be defeated by a fraudulent joinder of a
                    resident defendant having no real connection with the
                    controversy." Wilson v. Republic Iron & Steel Co., 257
                    U.S . 92, 97, 42 S. Ct. 35, 37, 66 L. Ed. 144 (1921) .

Id. (footnote omitted). The Eleventh Circuit later cited Tapscott with approval in

Trigs v. John Crump Toyota, Inc. , 154 F.3d 1284, 1287 (11th Cir. 1998).

Numerous courts have elaborated on and expanded the application of Tapscott.


                                               29
-Da:A 513553 .02-
          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 30 of 225
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        In In re Benjamin Moore & Co ., 309 F .3d 296, 298 (5th Cir. 2002), the Fifth

Circuit made clear that plaintiffs who have claims against diverse defendants

cannot defeat diversity simply by joining in an action with a plaintiff who asserts a

claim with a non-diverse defendant. In that case, defendants contended that only

four of seventeen plaintiffs had any possibility of recovery against non-diverse

defendants and that the district court had erred in failing to sever and retain

jurisdiction over the claims of the other thirteen plaintiffs . The Fifth Circuit noted

that the district court had "no doubt inadvertently overlooked that this point was

timely raised." Id. at 298. The Fifth Circuit denied mandamus to give the district

court the opportunity to examine the issue, as the Fifth Circuit was "confident" that

the "district court did not intend to overlook a feature critical to jurisdictional

analysis ." Id. (emphasis added) . The district court later remanded, stating that it

considered and rejected the misjoinder argument .         On a second petition for

mandamus, the Fifth Circuit was constrained to deny relief because it no longer

had jurisdiction. In re Beniamin Moore & Co., 318 F.3d 626 (5th Cir. 2002). The

Court stressed, however, that it was reaching that decision "without detracting

from the force of the Ta Scott principle that fraudulent misjoinder of plaintiffs is

no more permissible than fraudulent misjoinder of defendants to circumvent

diversity jurisdiction ." Id . at E30-31 . While the circumstances of Benjamin Moore


                                          30
-n«x 513553 .02 -
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 31 of 225
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did not permit the Fifth Circuit to grant mandamus, the Fifth Circuit made

absolutely clear that the misjoinder of plaintiffs is not permitted.

         In the diet drug litigation, the MDL Court has applied the Tapscott rule to

hold that plaintiffs cannot defeat diversity jurisdiction over an action in its entirety

when only some plaintiffs assert a claim against non-diverse defendants. Anderson

v . Am. Home Prods. Com. , 220 F. Supp . 2d 414, 422 (E.D. Pa. 2002) ("[w]e will

therefore grant the motion to remand of plaintiffs Crystal Gatlin and Verna Brown

and deny the motion of the remaining plaintiffs"); Chanev v . Gate Pharms. , No .

Civ.A. 98-20478, 1999 WL 554584, at *4 (E .D. Pa. July 16, 1999) (retaining

jurisdiction and "dismiss[ing] the non-diverse Plaintiffs' claims").

         In re Rezulin Products Liability Litigation , 168 F . Supp. 2d 136, 148

(S .D .N.Y. 2001), presented a similar situation . There, plaintiffs alleging claims

only against drug manufacturers, as to which there would be complete diversity if

asserted alone, were joined with a plaintiff who also asserted a claim against a

non-diverse home health care provider. The court ordered the severance of the

latter plaintiff "for purposes of maintaining the defendants' right to removal of the

remainder of the action ."    Id. at 148 . In another circumstance, the same court

considered the impact on removal of joining five plaintiffs suing a drug company

and a non-diverse physician with four plaintiffs suing only the drug company . The


                                          31
- Docp 513553 .02 -
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 32 of 225




court recognized that there may be efficiency benefits to joinder, "but these

benefits must be weighed against a defendant's right to removal ." Id. Thus, the

court determined that the proper remedy was to sever plaintiffs' claims "so as to

preserve the defendants' right to removal" in the actions where there was diversity .

Id. ; see also In re Rezulin Prods . Liab. Litie. , No. 00 CIV . 2843(LAK), 2002 WL

548750, at *2 (S.D .N.Y. Apr. 12, 2002) (severing claims of plaintiffs "who have

no connection to each other aside from the fact that they ingested Rezulin"); In re

Rezulin Prods. Liab. Litie. , MDL No. 1348, 2002 WL 519743, at *1-2 (S.D.N.Y.

Apr. 5, 2002); In re Rezulin Prods. Liab. LitiQ. , MDL No . 1348, 2002 WL 313146,

at* 1 (S.D.N.Y. Feb. 27, 2002).

         These decisions are consistent with the decisions of other courts . See, e.g.,

Lyons v. Am . Tobacco Co. , No . Civ.A. 96-0881-BH-S, 1997 WL 809677, at *4

(S .D. Ala . Sept. 30, 1997) (denying remand where misjoinder of plaintiffs was a

"transparent artifice to defeat . . . diversity" and therefore constituted fraudulent

joinder); Koch v. PLM Int'l, Inc ., No. Civ.A . 97-0177-BH-C, 1997 WL 907917, at

*4 (S .D . Ala. Sept . 24, 1997) (same) ; Coleman v. Conseco, Inc. , 238 F. Supp. 2d

804, 817-19 (S .D. Miss. 2002) (finding forty-five out-of-state plaintiffs improperly

attempted to defeat diversity by joining their claims with three in-state residents) .




                                           32
- DocN 513553 .02 -
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           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 33 of 225




        In pharmaceutical cases, courts have found that plaintiffs' failure to allege

that they took the same drugs, for the same periods of time, as prescribed by the

same doctors at the same point in time, and having received the same information

about the drugs, supported the conclusion that plaintiffs were improperly joined .

Chaney, 1999 WL 554584, at *3-*4 (claims of diet drug plaintiffs who did not take

"the same drug or combinations of drugs" and who "have not purchased or

received diet drugs from an identical source, such as a physician, hospital, or diet

center," were misjoined) ; In re Rezulin Prods. Liab. LitiQ ., 168 F. Supp . 2d at 146

(plaintiffs who "do not allege that they received Rezulin from the same source or

that they were exposed to Rezulin for similar periods of time" were misjoined) ;

Simmons         v.   Wyeth   Labs . ,   Nos . CIV.A.96-CV-6631,   CIV.A.96-CV-6686,

CIV.A.96-CV-6728, CIV.A .96-CV-6730, 1996 WL 617492, at *4 (E.D. Pa. Oct.

24, 1996) (claims of plaintiffs misjoined, at least in the absence of evidence that

they "received identical information from the defendants through identical means

or sources at the same point in time, and were implanted with the drug by the same

doctors at the same facility") ; see also, ~&, In re Rezulin Prods. Liab . LitiQ., No .

00 CIV. 2843(LAK), 2002 WL 548750, at *2 (S .D .N .Y. Apr. 12, 2002) (reiterating




                                              33
-DocN 513553 .02-
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 34 of 225
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that "the joinder of plaintiffs who have no connection to each other aside from the

fact that they ingested Rezulin is misjeinder") .s

         The same factors exist here. Because plaintiffs reside in different states,

they obviously were prescribed diet drugs by different doctors, who had different

bases of knowledge about the potential hazards of diet drugs and took different

factors into account in deciding whether and how to prescribe them. Plaintiffs do

not claim to have taken the same combination of drugs for the same periods of

time. Plaintiffs allege only that they took - or in some cases only that their spouses

took - Redux, Pondimin, "and/or" phenternvne. The fact that plaintiffs took the

drugs at different times is important because the warnings accompanying the drug

changed over time . For these and other reasons, resolution of diet drug claims is

highly dependent on facts unique to each diet drug plaintiff. See Brown v. Am .


5 In HodQes v . Wyeth, Inc ., No. 1 :08-CV-276 (N.D. Ga. June 16, 2003) and Laurin v. Wveth,
Inc., No. 1 :03-CV-1108-WBH (N .D. Ga. July 15, 2003), Judges Camp and Hunt found that diet
drug plaintiffs were not misjoined with the only non-diverse plaintiff because that plaintiff's
claims arose from the same series of transactions as the other plaintiffs' claims, but without
discussing or even mentioning any of the diet drug and other pharmaceutical cases to the
contrary cited in the text . Judge Hunt cited no authority for so ruling. Judge Camp cited
Alexander v. Fulton , 207 F.3d 1303 (llth Cir. 2000), a case in which plaintiffs alleged a pattern
and practice of racial discrimination by the same employer . Defendants respectfully submit that
the nature of the claims and proof in this case is more akin to that in other diet drug and
pharmaceutical cases than to employment discrimination cases, and that Judges Camp and Hunt
erred. The only other apparently inconsistent diet drug decisions turned on the application of
Mississippi's joinder rules, which are irrelevant to this Georgia case removed to federal court.
See, e. R., Chrestman v. Am . Home Prods . Cory. , Na 03-20097 (E. D. Pa. May 20, 2003). This
Court is bound to follow the Eleventh Circuit's holding in Tapscott, which applied federal
joinder rules. See Ta Scott, 77 Fad at 1360.



                                               34
- Dixd 513553 .02
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 35 of 225
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Home Prods . Corp., No. 99-20593, slip op . at 9-39 (E.D. Pa. April 8, 2003)

(attached as Exhibit 14) (plaintiffs claiming an intermediate opt out right under the

Settlement          Agreement   prohibited   from   introducing   generalized   evidence

concerning Wyeth's conduct on a variety of issues) . These facts, and the diet drug

history described in Anderson , make plain that plaintiffs have improperly and

egregiously misjoined non-diverse plaintiff claims for the purpose of defeating

jurisdiction .

        Some courts have required something more than mere misjoinder before

severing claims, using different terms to describe what is necessary.           See, e.g.,

Tapscott, 77 Fad at 1360 (referring to "egregiousness" of the misjoinder) ;

Coleman, 238 F. Supp. 2d at 814 (misjoinder must be "totally unsupported, or

egregious") ; Chaney, 1999 WL 554584, at *3 (complaint went "well beyond mere

misjoinder"); Koch, 1997 WL 907917, at *4 (noting case contained "the additional

element of collusive joinder to defeat the diversity jurisdiction") . Regardless of the

specific terms used, these courts agreed that severance is appropriate when

plaintiffs have misjoined their claims with the intent of destroying jurisdiction.

Such intent can be inferred here . Here, there is no logical connection between

plaintiffs' disparate claims, and plaintiffs have given no legitimate reason for




                                              35
-DucA 513553 .02-
                 Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 36 of 225



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                 defendants                                required to               this Notice
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                                            36
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 37 of 225




                                           26 .
          The pending action is one that may be removed to this Court, and this Notice

of Removal is filed pursuant to 28 U.S.C. § 1441 et sec .

                                           27 .
          After the filing of this Notice of Removal, Petitioners will promptly give

notice thereof to Plaintiffs and will file a true and correct copy of this Notice of

Removal with the State Court of Fulton County, Georgia.

         WHEREFORE, Petitioners pray that this Notice of Removal be filed ; that

said action being Civil Action No. 2003VS052187 in the State Court of Fulton

County, Georgia be removed to this Court; that this Court sever, and retain

jurisdiction over, all claims asserted by all plaintiffs other than Cheryl Besedick

and Rebecca Boyette; and that no further proceedings be had with respect to those

claims in the State Court of Fulton County, Georgia.

         Respectfully submitted this ~~                       2003 .
                                                o4".




                                                   tephen M. Lore
                                                  Georgia Bar No . 457845
                                                  Stephen M. Brooks
                                                  Georgia Bar No. 085151
                                                  Richard B . North
                                                  Georgia Bar No. 545549



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- Docp 513553 .02 -
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 38 of 225




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Suite 1400                                John A . .Wolnar and Steven Kaiser
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(404) 817-6000
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                                        38
- DocN 513553 .W -
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 39 of 225




                        CERTIFICATE OF COMPLIANCE

         In accordance with Local Rule 7.1D, counsel certifies by signing below that

the foregoing has been prepared using Times New Roman 14 point font, one of the

fonts specified in Local Rule 5 .1 B.




                                               tephen M. Lore
                                              Georgia Bar No. 457845
                                              Stephen M. Brooks
                                              Georgia Bar No. 085151
                                              Richard B. North
                                              Georgia Bar No. 545549

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- DocN 513553 .02 -
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 40 of 225
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

RICHARD BROWN ; MARY C. BROWN;
SANDRA JANSEN; LAMARA MORRIS ;
JAMES MORRIS ; CHERYL CRADDOCK ;
CHRISTOPHER CRADDOCK ; JOSEPH
BANIEWICZ ; LINDA WILSON ; WILLIAM                      CIVIL ACTION FILE
WILSON; CHRISTINA BURCH ; NANCY
BROCK; DENNIS BROCK; GEORGE LEWIS ;                     NO.
KATHLEEN RANSDELL; LEWIS A.
RANSDELL ; GLORIA HUBER; DONALD F.
HUBER ; THERESA PERFETTO; SHANON
KEENAN ; ERIC KEENAN ; TRACY
FOINTNO; ARZELLA WHITE ; MICHAEL
MEAD ; IRIS MEAD ; SYLVIA FITE;
WILLIAM L. FITE; WILMA PARHAM ;
AMOROS ALEXANDER PARHAM; CARITA
MYRICK ; LILLIAN IDLETT; EUGENE
IDLETT; ANGELA WHITFIELD ; MAX
WHITFIELD ; KATHLEEN KNEZICH ;
DEBORAH JONES ; SUSAN THURNHERR ;
LARRY THURNHERR ; CHERYL BESEDICK ;
REBECCA BOYETTE ; CYNTHIA EDWARDS ;
SYLVIA BROWN ; BRENDA WORLEY;
JAMES WORLEY ; ELAINE DAVIDSON ;
EDWARD DAVIDSON ; PATRICIA
GicalVlr:KV; DONALD GRANIERO; GILLIAN
PAWLICK; HELEN MOORS; MONIQUE
MARCOUX ; ROCK MARCOUX; SHIELA
HAROLD ; CHARLES HAROLD ; LESA
THOMAS; GARY THOMAS ; LUTHER
PHILLIP CARTER; KAREN MOSLEY
CARTER ; HELEN BLANQUE; JOHN
BLANQUE ; MICHELLE CHICK; JOHN
LANDWEHR ; DONNA LANDWEHR ;
BEVERLY DAVIS ; JOEL ROSENBLATT ;



-Docp 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 41 of 225
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PAMELA TAYLOR ; KATHY BARKER;
KEITH BARKER; GLADYS HACKNEY ;
LINDA WHITE; WANDA CARTER; MARCEL
CARTER; FLORENCE WILSON; RONALD
WILSON ; BARBARA STADLER ; KENNETH
STADLER; CAROL CANNAROZZO ; VICTOR
CANNAROZZO Jr. ; ANGELA GUAGLIANO;
NORMA JEAN ROBERTS ; EARL SCOTT;
MARVELLE EDELIN ; RHONDA TRACEY ;
FRANCIS CLARK; BARBARA HARTNETT;
SALLY ROGALA; PATRICIA FULLER;
JOANN ABRAM ; MARY SUGGS ; LEON
SUGGS; TAMMY FRYMAN; RANDOLPH
FRYMAN ; MINNIE FOX; KIMBERLY
GREEN; JAMES PASTONIK; YVONNE
BUTTERS ; THOMAS BUTTERS ; DEBORAH
GOOD; DONALD W. GOOD ; ANETTE
KELLY; MARILYN THOMPSON ; ALLEN
NESTOR; BLEN GARY; and GENA WILSON,

                                            Plaintiffs,

v.

WYETH, INC., f/k/a AMERICAN HOME
PRODUCTS CORPORATION; WYETH
PHARMACEUTICALS, INC ., f/Wa WYETH-
AYERST PHARMACEUTICALS, INC ., a
Division of American Home Products
Corporation ; INDEVUS
PHARMACEUTICALS, INC ., f/Wa
INTERNEURON PHARMACEUTICALS, INC.;
MEDEVA PHARMACEUTICALS, INC . ;
FISONS PHARMACEUTICALS ; CELLTECH
PHARMACEUTICALS, INC.; GOLDLINE
LABORATORIES, INC.; ZENITH-GOLDLINE
PHARMACEUTICALS, INC.; ROBERT L.
SCOTT, a citizen of the State of Georgia ; JOHN


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-DocN 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 42 of 225
                                                                     l



A. MOLNAR, a citizen of the State of Georgia ;                   )
STEVEN KAISER a citizen of the State of                          )
Georgia ; and JOHN DOE NOS.1 - 5,                                )

                                              Defendants. )



                          CERTIFICATE OF SERVICE

        I hereby certify that I have this day served the within and foregoing

NOTICE OF REMOVAL by depositing a copy of same in the United States Mail

in a properly addressed envelope with sufficient postage affixed thereto to ensure

delivery to the following:

                             Robert C. Buck, Esq.
                             C. Andrew Childers, Esq.
                             Schlueter, Buck & Childers
                             940 Center Street
                             Conyers, GA 30012

                             Charles A. Mathis, Jr., Esq .
                             The Mathis Law Firm
                             The Equitable Building
                             Suite 1400
                             inn n ___L~__ o- __ .     XT 117
                             1VV CG2Il:1Il1GG JUGGI~ 1V . VV .

                             Atlanta, GA 30303

                             Attorneys for Plaintiffs




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-Docp 513553 .02-
           Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 43 of 225
                       l



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                           Laura Johnson, Esq .
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                           Pharmaceuticals Inc. and CellTech Pharmaceuticals, Inc.


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                           Atlanta, GA 30308-3243

                           Attorneys for Indews Pharmaceuticals, Inc ., f/k/a
                           Interneuron Pharmaceuticals


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                           Atlanta, GA 30303

                           Attorneys for Goldline Pharmaceuticals, Inc. and Zenith-
                           Goldline Pharmaceuticals, Inc .


        This d of                    03

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                                               tephen M. Lore
                                              Georgia Bar No. 457845
                                              Stephen M . Brooks


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-Docp 513553 .02-
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 44 of 225
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                                              Georgia Bar No . 085151
                                              Richard B . North
                                              Georgia Bar No . 545549

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- Docp 513553 .02
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 45 of 225




           EXHOBIT / ATTACHMENT

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       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 46 of 225




                    IN THE STATE COURT OF FULTON COUNTY
                              STATE OF GEORGIA

RICHARD BROWN ; SANDRA JANSEN ;                    )
LAMARA MORRIS ; CHERYL CRADDOCK;                   )
JOSEPH BANIEWICZ ; LINDA WILSON ;                  )
CHRISTINA BURCH ; NANCY BROCK ; GEORGE LEWIS ;     )   CIVIL ACTION FILE
KATHLEEN RANSDELL ; GLORIA HUBER;                  )   NO.
THERESA PERFETTO ; SHANON KEENAN                   )
TRACY FOINTNO; ARZELLA WHITE ;MICHAEL MEAD ;       )
SYLVIA FITE; WILMA PARHAM;CARITA MYRICK;           )
LILLIAN IDLETT ; ANGELA WHITFIELD ;                )
KATHLEEN KNEZICH ; DEBORAH JONES ;                 )
SUSAN THURNHERR; unknown plaintiff
CYNTHIA EDWARDS ; SYLVIA BROWN ;                   )
BRENDA WORLEY ; ELAINE DAVIDSON ;                  )
PATRICIA GRANIERO ; GILLIAN PAWLICK ;              )
HELEN MOORE; MOIYIQUE MARCOUX ;                    )
SHIELA HAROLD ; LESA THOMAS; L.PHILLIP CARTER;     )
HELEN BLANQUE ; MICHELLE CHICK ;                   )
JOHN LANDWEHR ; BEVERLY DAVIS;                     )
JOEL ROSENBLATT; PAMELA TAYLOR;                    )
KATHY BARKER ; GLADYS HACKNEY ; LINDA WHITE ;      )
WANDA CARTER ; FLORENCE WILSON ;                   )
BARBARA STADLER ; CAROL CANNAROZZO;                )
ANGELA GUAGLIANO; NORMA JEAN ROBERTS ;             )
EARL SCOTT ; MARVELLE EDELIN ; RHONDA TRACEY ;     )
FRANCIS CLARK ; BARBARA HARTNETT ;                 )
SALLY ROGALA ; PATRICIA FULLER;                    )
JOANN ABRAM ; MARY SUGGS ; TAMMY FRYMAN            )
MINNIE FOX ; KIMBERLY GREEN ; YVONNE RUTTERS ;     )
DEBORAH GOOD; ANETTE KELLY;                        )
MARILYN THOMPSON ; ALLEN NESTOR ; BLEN GARY;       )
And GENA WILSON                                    )

      Plaintiffs,                                  )

VS.                                                )

WYETH, INC ., f/Wa AMERICAN HOME                   )
PRODUCTS CORPORATION ;                             )
WYETH PHARMACEUTICALS, INC f/k/a                   )
WYETH-AYERST PHARMACEUTICALS,                      )
INC., a Division of American Home Products         )
Corporation ; INDEVUS                              )
PHARMACEUTICALS, INC ., f/Wa                       )
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 47 of 225




INTER-NEURON PHARMACEUTICALS, INC .;
MEDEVA PHARMACEUTICALS, INC .;
FISONS PHARMACEUTICALS ; CELLTECH
PHARMACEUTICALS, INC .; GOLDLINE
LABORATORIES, INC .; ZENITH-GOLDLINE
PHARMACEUTICALS, INC .;
ROBERT L. SCOTT, a citizen of the State of
Georgia; JOHN A. MOLNAR, a citizen of the
State of Georgia; STEVEN KAISER a citizen of
the State of Georgia; and JOHN DOE NOS.
1135,
                                                            1
      Defendants.                                           )
                                                            1


                           COMPLAINT FOR DAMAGES


      COME NOW, Plaintiffs, RICHARD BROWN, SANDRA JANSEN, LAMARA

MORRIS,    CHERYL      CRADDOCK,      JOSEPH       BANIEWICZ,       LINDA   WILSON,

CHRISTINA BURGH, NANCY BROCK, GEORGE LEWIS, KATHLEEN RANSDELL,

GLORIA HUBER, THERESA PERFETI'O, SHANON KEENAN, TRACY FOINTNO,

ARZELLA WHITE, MICHAEL MEAD, SYLVIA FITE, WILMA PARHAM, CARITA

MYRICK, LILLIAN IDLETT, ANGELA                 WHITFIELD,       KATHLEEN    KNEZICH,

DEBORAH JONES, SUSAN THURNHERR, unknown plaintiff, CYNTHIA EDWARDS,

SYLVIA BROWN, BRENDA WORLEY, ELAINE DAVIDSON, PATRICIA GRANIERO,

GILLIAN PAWLICK, HELEN MOORS, MONIQUE MARCOUX, SHIELA HAROLD,

LESA THOMAS, L. PHILLIP CARTER, HELEN BLANQUE, MICHELLE CHICK,

JOHN LANDWEHR, BEVERLY DAVIS, JOEL ROSENBLATT, PAMELA TAYLOR,

KATHY BARKER, GLADYS            HACKNEY, LINDA        WHITE, WANDA CARTER,

FLORENCE WILSON, BARBARA STADLER, CAROL CANNAROZZO, ANGELA

GUAGLIANO, NORMA JEAN ROBERTS, EARL SCOTT, MARVELLE EDELIN,
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 48 of 225
                         (                                          f

RHONDA TRACEY, FRANCIS CLARK, BARBARA HARTNETT, SALLY ROGALA,

PATRICIA FULLER, JOANN ABRAM, MARY SUGGS, TAMMY FRYMAN, MINNIE

FOX, KIMBERLY GREEN, YVONNE RUTTERS, DEBORAH GOOD, ANETTE

KELLY, MARILYN THOMPSON, ALLEN NESTOR, BLEN GARY and GENA WILSON

in the matter above captioned and files this Complaint against Defendants as follows :




                                                1.

       Plaintiff RICHARD BROWN is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of his ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine .




                                                2.

       Plaintiff SANDRA JANSEN is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfentluramine (ReduxT"'), and/or

phentermine.



                                                3

       Plaintiff LAMARA MORRIS, is a citizen and resident of the state of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT""), and/or phentermine .




                                               -3-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 49 of 225




                                             4.

       Plaintiff CHERYL CRADDOCK is a citizen and resident of the State of Georgia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or

phentermine .




                                              5.

       Plaintiff JOSEPH BANIEWICZ is a citizen and resident of the Commonwealth of

Virginia suffering from heart valve damage and/or valvular regurgitation as a result of his

ingestion, consumption and use of fentluramine (Pondiming), dexfenfluramine (ReduxT'"),

and/or phentermine.



                                             6.

       Plaintiff LINDA WILSON is a citizen and resident of the state of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (PondiminS), dexfenfluramine (ReduxT'"), and/or phentermine.



                                              7.

       Plaintiff CHRISTINA BURCH is a citizen and resident of the State of Maryland

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (PondiminO), dexfenfluramine (ReduxT"'), and/or

phentermine.



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        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 50 of 225




                                              s.
       Plaintiff NANCY BROCK is a citizen and resident of the State of North Carolina

suffering from heart valve damage and/or valvular regurgitation as a result of her ingestion,

consumption and use of fentluramine (Pondimin(&), dexfenfluramine (ReduxTM), and/or

phentermine .




                                              9.

       Plaintiff GEORGE LEWIS is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of his ingestion, consumption and

use of fenfluramine (Pondimin0), dexfenfluramine (ReduxT"'), and/or phentermine .




                                              10 .

       Plaintiff KATHLEEN RANSDELL is a citizen and resident of the State of Tennessee

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or

phentermine .




                                              11 .

       YlamtitT GLORIA HUBER is a citizen and resident of the State of Louisiana suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentertnine .



                                              12.

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        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 51 of 225




       Plaintiff THERSA PERFETTO is a citizen and resident of the Commonwealth of

Virginia suffering from heart valve damage and/or valwlar regurgitation as a result of her

ingestion, consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTm),

and/or phentermine .




                                              13 .

       Plaintiff SHANON KEENAN         is a citizen and resident of the State of Indiana who is

suffering from heart valve damage and/or valwlar regurgitation which required surgical

intervention as a result of her ingestion, consumption and use of fenfluramine (Pondiming),

dexfenfluramine (Redux TM), and/or phentermine .




                                              14 .

       Plaintiff TRACY FOINTNO is a citizen and resident of the State of Georgia who is

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (PondiminO), dexfenfluramine (ReduxT'"), and/or

phentermine.



                                              15.

       Plaintiff ARZELLA WHITE is a citizen and resident of the Commonwealth of Kentucky

suffering from heart valve damage and/or valwlar regurgitation which required surgical

intervention as a result of her ingestion, consumption and use of fenfluramine (Pondimin(&),

dexfenfluramine (ReduxT'"), and/or phentermine .




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       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 52 of 225




                                              16.

       Plaintiff MICHAEL MEAD is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of his ingestion, consumption

and use of fenfluramine (Pondimin(g)), dexfenfluramine (ReduxT"'), and/or phentermine.



                                              17 .

       Plaintiff SYLVIA F1TE is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .




                                              18.

       Plaintiff WILMA PARHAM is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (PondiminS), dexfenfluramine (ReduxT'"), and/or phentermine .




                                              19.

       Plaintiff CARITA MYRICK is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .




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        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 53 of 225




                                             2o.
       Plaintiff LILLIAN IDLETT is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.



                                             21 .

       Plaintiff ANGELA WHITFIELD is a citizen and resident of the State of Georgia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fentluramine (Pondiming), dexfenfluramine (ReduxTM), and/or

phentermine .




                                             22 .

       Plaintiff KATHLEEN KNEZICH is a citizen and resident of the State of New York

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or

phentermine .




                                             23.

       Plaintiff DEBORAH JONES is a citizen and resident of the State of Ohio suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fentluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine .



                                             24.

                                            -8-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 54 of 225




        Plaintiff SUSAN THURNHERR is a citizen and resident of the State of New York

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine        (Pondimint), dexfenfluramine (ReduxTM), and/or

phentermine .




                                              25 .

       Plaintiff BLANK is a citizen and resident of the State of BLANK who is suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (PondiminO), dexfenfluramine (Redux TM), and/or phentermine .




                                             26.

       Plaintiff BLANK is a citizen and resident of the State of BLANK who is suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (PondiminO), dexfenfluramine (Redux T"'), and/or phentermine .




                                             27.

       Plaintiff CYNTHIA EDWARDS is a citizen and resident of the District of Columbia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming),         dexfenfluramine (ReduxTM), and/or

phentermine .

                                             28 .




                                             -9-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 55 of 225




       Plaintiff SYLVI .4 BROWN is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondimin&), dexfentluramine (ReduxTM), and/or phentermine .




                                              29.

       Plaintiff BRENDA WORLEY is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valvular regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine .




                                              30 .

       Plaintiff ELAINE DAVIDSON is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (PondiminO), dexfenfluramine (ReduxT"'), and/or phentertnine .



                                              31 .

       Plaintiff PATRICIA GRANIERO is a citizen and resident of the State of Georgia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondimin&), dexfenfluramine (ReduxTM), and/or

phentermine .




                                              32 .

       Plaintiff GILLIAN PAWLICK is a citizen and resident of the State of New York

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

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        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 56 of 225




consumption and use of fenfluramine (Pondiming), dexfenfluramine (Reduz1"'), and/or

phentermine .

                                             33 .

       Plaintiff HELEN MOORS is a citizen and resident of the District of Columbia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondimin(k), dexfenfluramine (ReduxT'"), and/or phentermine.



                                             34.

        Plaintiff MONIQUE MARCOUX is a citizen and resident of the State of Maryland

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or

phentermine .




                                             35 .

        Plaintiff SHEILA HAROLD is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine.



                                             36.

        Plaintiff LESA THOMAS is a citizen and resident of the State of Louisiana suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (PondiminS), dexfentluramine (Redu)T"'), and/or phentermine.



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       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 57 of 225




                                             37.

       Plaintiff L. PHILLIP CARTER is a citizen and resident of the State of North Carolina

suffering from heart valve damage and/or valwlar regurgitation as a result of his ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or

phentermine.



                                             38 .

       Plaintiff HELEN BLANQUE is a citizen and resident of the State of Louisiana suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.



                                             39.

       Plaintiff MICHELLE CHICK is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (PondiminO), dexfenfluramine (ReduxTM), and/or

phentermine .




                                             40.

       Plaintiff JOHN LANDWEHR is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of his ingestion, consumption

and use of fentluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.



                                             41 .

                                            _ ;2_
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 58 of 225




       Plaintiff BEVERLY DAVIS is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .




                                             42 .

       Plaintiff JOSEPH ROSENBLATT is a citizen and resident of the State of Maryland

suffering from heart valve damage and/or valwlar regurgitation as a result of his ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or

phentermine.



                                             43 .

       Plaintiff PAMELA TAYLOR is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondimin0), dexfenfluramine (ReduxT"), and/or phentermine .




                                             44 .

       Plaintiff KATHY BARKER is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (PondiminS), dexfenfluramine (ReduxT'"), and/or phentermine.



                                             45 .




                                            -13-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 59 of 225




       Plaintiff GLADYS HACKNEY is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valvular regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .




                                             46 .

       Plaintiff LINDA WHITE is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .




                                             47 .

       Plaintiff WANDA CARTER is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondimin(g), dexfenfluramine (ReduxTM), and/or phentermine .




                                             48 .

       Plaintiff FLORENCE WILSON is a citizen and resident of the State of New York

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (PondiminS), dexfenfluramine (ReduxTM), and/or

phentermine .

                                             49 .

       Plaintiff BARBARA STADLER is a citizen and resident of the State of New York

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,



                                             -14-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 60 of 225




consumption and use of fenfluramine (PondiminJ), dexfenfluramine (ReduxT'"), and/or

phentermine .

                                            50.

        Plaintiff CAROL CANNAROZZO is a citizen and resident of the State of New York

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (PondiminaD), dexfenfluramine (ReduxT"'), and/or

phentertnine .



                                            51 .

        Plaintiff ANGELA GUAGLIANO is a citizen and resident of the State of New York

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or

phentermine .

                                            52.

        Plaintiff NORMA JEAN ROBERTS is a citizen and resident of the State of Tennessee

suffering from heart valve damage and/or valvular regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or

phentermine.



                                            53 .

        Plaintiff EARL SCOTT is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of his ingestion,



                                           -15-
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 61 of 225




consumption and use of fenfluramine (PondiminJ), dexfenfluraminc (ReduxT"), and/or

phentermine .

                                             54 .

       Plaintiff MARVELLE EDELIN is a citizen and resident of the State of Maryland

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (PondiminO), dexfenfluramine (ReduxTM), and/or

phentermine .

                                             55 .

       Plaintiff RHONDA TRACEY is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT^'), and/or phentermine .




                                             56 .

       Plaintiff FRANCIS CLARK is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.



                                             57 .

       Plaintiff BARBARA HARTNETT is a citizen and resident of the Commonwealth of

Virginia suffering from heart valve damage and/or valwlar regurgitation as a result of her

ingestion, consumption and use of fenfluramine (PondiminCW), dexfentluramine (ReduxT'"),

and/or phentermine .




                                            -16-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 62 of 225




                                             58.

       Plaintiff SALLY ROGALA is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .




                                             59.

       Plaintiff PATRICIA FULLER is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfentluramine (ReduxTM), and/or phentermine .




                                             60.

       Plaintiff 10ANN ABRAM is a citizen and resident of the State of Louisiana suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .




                                             61 .

       Plaintiff MARY SUGGS is a citizen and resident of the State of NORTH CAROLINA

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfentluramine (ReduxTM), and/or

phentermine .

                                             62 .

       Plaintiff TAMMY FRYMAN is a citizen and resident of the Commonwealth of Kentucky

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

                                            -17-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 63 of 225




consumption and use of fenfluramine (PondiminOR ), dexfenfluramine (ReduxT"'), and/or

phentermine .



                                             63 .

       Plaintiff MINNIE FOX is a citizen and resident of the State of Tennessee suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine.



                                             64.

       Plaintiff KIM GREEN is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (PondiminM), dexfenfluramine (ReduxTM), and/or

phentermine .

                                             65 .

       Plaintiff YVONNE BUTTERS is a citizen and resident of the State West Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'`'), and/or

phentermine.



                                             66 .

       Plaintiff DEBORAH GOOD is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine.

                                              18-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 64 of 225
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                                             67.

       Plaintiff ANNETTE KELLY is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondimin(g), dexfenfluramine (ReduxT"'), and/or phentermine .




                                             68.

       Plaintiff MARILYN THOMPSON is a citizen and resident of the State of Maryland

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or

phentermine .

                                              69.

       Plaintiff ALLEN NESTOR is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or

phentermine .

                                             70 .

       Plaintiff BLEN GARY is a citizen and resident of the District of Columbia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine.



                                             71 .



                                              19-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 65 of 225




        Plaintiff GENA WILSON is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption

and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .



                                                    72 .

        Each named Plaintiff, by virtue of certain defined damage to their heart incurred as a

result of their ingestion, consumption and use of fenfluramine (Pondimin(ft dexfenfluramine

(ReduxT"'), and/or phentermine, is properly classified as a Brown class member (Brown v.

American Home Products, et al .. U .S.D .C. E.D.Pa . Civil Action File No. 99-20593) holding

claims which may be properly opted out of the Nationwide Class Action Settlement Agreement

With American Home Products Corporation (hereinafter "National Settlement") under the terms

and conditions of Pre-trial Order No. 1415 entered in Multi District Litigation Proceeding 1203,

pending in the United States District Court for the Eastern District of Pennsylvania.




                                                    73 .

        The   injuries   that are   the   subject   of this       Complaint   were   first diagnosed   by

echocardiograms performed subsequent to September 30, 1999.

                                                    74.

        Each Plaintiff suffers from injury to their mural and/or aortic valve that has been

established as being FDA Positive or greater by a board certified cardiologist .

                                                           75 .




                                                    20-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 66 of 225




        Each named Plaintiff timely and properly filed an Intermediate and/or Back-End opt-out

form with the Claims Administrator in compliance with the terms and conditions of the National

Settlement.

                                                      76 .

        By virtue of the filing of an Intermediate and/or Back-End opt-opt out, each named

Plaintiff is entitled to pursue the present action against the "AHP/WYETH Defendants" as

defined herein below.

                                                      77.

        This action has been brought by each named Plaintiff for the purpose of recovering

damages for the personal injuries and damages they sustained as the result of their ingestion,

consumption and use of fenfluramine (PondiminV),             dexfenfluramine (ReduxTM), and/or

phenterntine .   Defendants are liable to Plaintiffs for their individual and collective acts,

omissions, and involvement in developing, testing, evaluating, securing government approval

for, manufacturing, distributing, advertising, conspiring to promote, monitoring and/or selling

said drug compounds despite Defendants' knowledge of the unreasonable risk of death and

bodily injury associated with the use of said drugs which was knowingly and purposely

concealed by Defendants from the Plaintiffs, the Plaintiffs' doctors, and others .




                                                  78 .

        Each named Plaintiff seeks to recover only those damages permitted under the terms and

conditions of the National Settlement in relation to the "AHP/WYETH Defendants ."

                                                79.

                                                 2l-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 67 of 225
                          E


       Each named Plaintiff seeks to recover all damages permitted under law against all other

Defendants in this action (i.e. all Defendants other than the "AHP/WYETH Defendants").

                                              80 .

       The injuries sustained by Plaintiffs were the result of the acts and omissions of

Defendants committed both inside and outside the State of Georgia.

                                              81 .

       As a direct and proximate result of Defendants' purposeful concealment of the dangers

associated with the use of fenfluramine, dexfenfluramine and phentettnine, Plaintiffs have only

recently discovered and learned that that they were injured and damaged by Defendants'

misconduct .   Plaintiffs were prevented from discovering, and could not have discovered, their

injuries and damages earlier because of Defendants' fraudulent misrepresentations, conspiracy

and concealment of facts and information relating to the subject drugs as more specifically

alleged below .

                                              82 .

       The Honorable Louis Bechtle, formerly of the District Court for the Eastern District of

Pennsylvania made the following findings in his Order approving the Nationwide Class Action

Settlement with American Home Products in MDL Proceeding 1203 (In Re: Diet Drugs) :




                                             -22-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 68 of 225




      "The instant class has a great deal of cohesion in that the class was basically

      exposed to one substance, manufactured by one defendant over a relatively short

       period of time and suffers or is at risk of suffering one particular type of injury."

       (PTO 1415 at p. 46)

      "Each class member's claims allege a common defect in the diet drugs and a common

       course of conduct by AHP with regard to developing and marketing those diet drugs."

       (PTO 1415 at p . 43)

       "[T]he court finds that common issues that pre-existed this settlement - -      involving a

       common product, defendant, and course of conduct - - when considered in light of the

       proposed settlement, predominate over any individual issues between class members."

       (PTO 1415 at p. 43)

       "Although there are some individual differences among class members, the

       common class-wide focus of AHP's knowledge and conduct predominate such

       that judicial efficiency will be improved through the class mechanism as opposed

       to relitigating the same issues in a series of individual cases . . .the class here

       involves a single defendant with essentially a single diet drug product." (PTO

       1415 at p. 42)


See Pretrial Order 1415 (MDL Proceeding 1203), 2000 WL 1222042 (E.D . Pa . August 8, 2000)

                                               83 .

       The Honorable Harvey Bartle of the District Court for the Eastern District of

Pennsylvania made the following findings in his Order approving the joinder of multiple




                                              -23-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 69 of 225




intermediate and back-end opt out plaintiffs in single complaints in MDL Proceeding 1203 (In

Re: Diet Drugs) :

        "We do not think that the joinder of multiple intermediate and back-end opt-out

        plaintiffs adversely affects the intentions or goals of the parties to the Settlement

        Agreement .      Each such plaintiff in a joint trial is limited to compensatory

        damages, and each must prove his or her own individual claim . We are confident

        that in these circumstances, the appropriate limiting instructions to the jury will

        protect Wyeth from the dangers related to res judicata, collateral estoppel, issue

        preclusion and claim preclusion . In addition, we cannot ignore the interests of

       judicial economy which are at the heart of procedural rules allowing multiple

       joinder .    They generally have the effect of saving the court=s time and reducing

       the parties'     costs .   They also allow cases, particularly     in overburdened

       jurisdictions, to move to trial more quickly than if a blanket rule existed requiring

       each person's case to be instituted and tried separately."

       See Pretrial Order 2627 (MDL 1203) at p . 3 (A copy of PTO 2627 is attached hereto as

Exhibit "A").

                                                84.

       The Honorable Penny Brown Reynolds of the State Court of Fulton County, Georgia

recently held not only that the claims of two (2) individuals alleging injuries as a result of their

ingestion of diet drugs were properly joined under O.C .G .A . § 9-11-20, but that said claims were

properly joined for trial as well . (See November 27, 2002 Order attached hereto as Exhibit "B").




                                               -24-
       Case 1:03-cv-02070-RLV
                      f       Document 1 Filed 07/23/03 Page 70 of 225




                                                35 .

        On December 6, 2002, the Honorable Penny Brown Reynolds of the State Court of

Fulton County, Georgia denied Defendants' Motion for Reconsideration of her November 27,

2002 Order (Exhibit "B" attached hereto), and denied Defendant's request for a Certificate of

Immediate Review . (See December 6, 2002 Order attached hereto as Exhibit "C").

                                                86 .

        In Alexander v. Fulton County, 207 F.3d 1303 (llth Cir. 2000), the Eleventh Circuit

Court of Appeals discussed Federal Rule of Civil Procedure 20, the permissive joinder rule on

which O.C .G.A. § 9-11-20 is based.      In Alexander , eighteen plaintiffs sued a defendant for

discriminatory practices .   Following discovery, the defendants moved to sever the plaintiffs'

claims on the grounds that the multiple claims would confuse the jury and unfairly prejudice the

defendant .   The district court denied the motion .   The Eleventh Circuit affirmed on appeal,

noting that "the central purpose of Rule 20 is to promote trial convenience and expedite the

resolution of disputes, thereby eliminating unnecessary lawsuits." Id. at 1323. The Court held

that, even though each plaintiff had a different claim and sought different relief, all of the

plaintiffs' claims were "based on the same series of discriminatory transactions by the same

decision-maker in the same department during the same short time frame ." Id. at 1324.

                                               87.

       Plaintiffs claims are properly joined in this action under O .C.G .A. § 9-11-20, as they

have asserted rights to relief in respect of or arising out of the same transaction, occurrence, or

series of transactions or occurrences, and have alleged that multiple questions of law and fact

common to all of them will arise in this action . Further, judgment may be given for one of more



                                              -25-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 71 of 225
                            f

of the plaintiffs according to their respective rights to relief and against one or more of the

defendant according to their respective liabilities .




                                                   88 .

        Defendant,    WYETH,       INC. (formerly         known as    AMERICAN     HOME     PRODUCTS

CORPORATION) (hereinafter "AHP/WYETH" or "AHP/WYETH Defendant," or "Manufacturer

Defendant"), has its principal place of business at 5 Giralda Farms, Madison, New Jersey .

AHP/WYETH is incorporated under the laws of the State of Delaware . At all times relevant

hereto, AHP/WYETH (itself and as a successor to A. H. Robins Company) was and has been in

the   business   of promoting,      marketing,    distributing,   manufacturing   and/or   selling   the

pharmaceutical drugs fenfluramine and/or dexfenfluramine . At all times relevant to this action,

AHP/WYETH developed, manufactured, promoted, marketed, distributed and/or sold the

aforementioned drugs through interstate commerce and in the State of Georgia, and otherwise

did business in Georgia related to this cause .

                                                   89.

        On March 11, 2002 AMER1CnN HOME PRODUCTS CORPORATION changed its name to


"WYETH" of "WYETH, INC."

                                                   90.

        Defendant AHP/WYETH may be served with a copy of summons and complaint through

its registered agent for service of process, Prentice-Hall Corp System, Inc. at 4845 Jimmy Carter

Blvd., Norcross, Gwinnett County, State of Georgia, 30093.



                                                  -26-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 72 of 225
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                                                   91 .

        Defendant AHP/WYETH is subject to the jurisdiction and venue of this court.

                                                   92 .

        Defendant, WveTH PHARMACEUTICALS, INC ., a division of Wyeth, Inc . (formerly known

as    Wyeth-Ayerst    Pharmaceuticals,    Inc .)   (hereinafter   "WYETH   PHARMACEUTICALS"    Or

"AHP/WYETH Defendant" or "Manufacturer Defendant"), has its principal place of business at

555    Lancaster Avenue, St.    Davids,    Pennsylvania     19087 .   To the extent that WYETH

PHARMACEUTICALS does not maintain its principal place of business at said address, it maintains

its principal place of business at 500 Arcola Road, Collegeville, Pennsylvania 19426 .   WYETH

PHARMACEUTICALS is incorporated under the laws of the State of Delaware .           At all times

relevant hereto, WvErti PHARMACEUTICALS was in the business of promoting, marketing,

distributing, manufacturing and/or selling the pharmaceutical drugs fenfluramine and /or

dexfenfluramine .    At all times relevant to this action WYETH PHARMACEUTICALS developed,

manufactured, promoted, marketed, distributed and/or sold the aforementioned drugs through

interstate commerce and in the State of Georgia, and otherwise did business in Georgia related to

this cause.

                                                   93.

        On March 11, 2002 WYETH-AYERST PHARMACEUTICALS, INC. changed its name to

"WYETH PHARMACUETICALS ."


                                                   94.

        Defendant WveTH PHARMACEUTICALS may be served with a copy of summons and

complaint through the Georgia Secretary of State and/or at its principal place of business, 555

Lancaster Avenue, St. Davids, Pennsylvania 19087 .

                                                   27-
          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 73 of 225
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                                                95 .

          Defendant WvETH PHARMACEUTICALS is subject to the jurisdiction and venue of this

court .

                                                96.

          Defendant,   1NDEWS        PHARMACEUTICALS,            INC.     (formerly    known     as

INTERNEURON            PHARMACEUTICALS,           INC .)   (hereinafter   "INTERNEURON"          or

"Manufacturer Defendant"), has its principal place of business at One Ledgemont Center, 99

Hayden Avenue, Lexington, Massachusetts .       Defendant Interneuron is incorporated under the

laws of the State of Delaware .    At all times relevant hereto, Interneuron was engaged in the

business of manufacturing, distributing, promoting, marketing, and/or selling the pharmaceutical

dexfenfluramine. At all times relevant hereto, Interneuron developed, manufactured, promoted,

marketed, and/or sold its products through interstate commerce and in the State of Georgia, and

otherwise did business in Georgia related to this cause. Defendant Interneuron is not registered

with the Georgia Secretary of State as an entity properly qualified to transact business within the

State.

                                                97.

          On April 2, 2002 INTERNEURON PHARMACEUTICALS, INC . changed its name to

"9NDEWS PHARMACEUTICALS ."

                                                98.

          The National Settlement does not relate to, nor place any limitations upon, the claims

asserted by Plaintiffs against Defendant lnterneuron .

                                                99.



                                                 28-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 74 of 225




        Defendant Interneuron may be served with a copy of summons and complaint, through

the Georgia Secretary of State and/or at its principal place of business, One Ledgemont Center,

Suite 200, 99 Hayden Avenue, Lexington, Massachusetts, 02173 .

                                               100 .

        Defendant Intemeuron is subject to the jurisdiction and venue of this court.

                                               101 .

        Defendant, MEDEVA PHARMACEUTICALS, INC. (hereinafter "MEDEVA" or

"Manufacturer Defendant"), is a corporation previously having its principal place of business at

14801 Sovereign Road, Ft. Worth, Texas . Defendant MEDEVA is incorporated under the laws

of the State of Texas. Prior to the filing of the present action, MEDEVA entered into a series of

mergers, including a merger with CELLTECH PHARMACEUTICALS, INC .                       CELLTECH

PHARMACEUTICALS, INC . currently serves as successor in interest MEDEVA . At all times

relevant hereto, MEDEVA was engaged in the business of manufacturing, distributing,

promoting, marketing, and/or selling the pharmaceutical phentermine .       At all times relevant

hereto, MEDEVA developed, manufactured, promoted, marketed, and/or sold its products

through interstate commerce and in the State of Georgia, and otherwise did business in Georgia

related to this cause.

                                               102.

        The National Settlement does not relate to, nor place any limitations upon, the claims

asserted by Plaintiffs against Defendant MEDEVA.

                                               103 .

        Defendant MEDEVA may be served with a copy of summons and complaint by service

upon its successor in interest, CELLTECH PHARMACEUTICALS, INC.                         CELLTECH

                                                29-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 75 of 225




PHARMACEUTICALS, INC .'s registered agent for service of process is C.T. Corporation

System, 1201 Peachtree Street, Atlanta, Fulton County, State of Georgia, 30361 .

                                              104.

       Defendant MEDEVA is subject to the jurisdiction and venue of this court.

                                              105.

       Defendant,    FISONS      CORPORATION (hereinafter        "FISONS"     or   "Manufacturer

Defendant"), has its principal place of business at 755 Jefferson Road, Rochester, NY . Defendant

FISONS is incorporated under the laws of the State of Delaware. At all times relevant hereto,

FISONS manufactured,       marketed, promoted, distributed    and/or sold the pharmaceutical

phentermine in interstate commerce and in the State of Georgia, and otherwise did business in

Georgia related to this cause.

                                              106.

       The National Settlement does not relate to, nor place any limitations upon, the claims

asserted by Plaintiffs against Defendant FISONS .

                                              107,

       Defendant FISONS may be served with a copy of summons and complaint by service

upon its registered agent for service of process C.T . Corporation System, 101 Federal Street,

Boston, Massachusetts 02110 .

                                              108 .

       Defendant FISONS is subject to the jurisdiction and venue of this court.

                                              109 .

       Defendant, CELLTECH PHARMACEUTICALS, WC. (hereinafter "CELLTECH" or

"Manufacturer Defendant"), has its principal place of business at 755 Jefferson Road, Rochester,

                                             -30-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 76 of 225




NY 14603 . Defendant CELLTECH is incorporated under the laws of the State of Delaware .

Prior to the filing of the present action, CELLTECH entered into a series of mergers and

acquisitions, as a result of which, it now serves as the successor in interest to Defendant

MEDEVA .     Defendant CELLTECH is liable to Plaintiffs for the obligations and liabilities of

Defendant MEDEVA as their successor in interest.

                                               110.

       The National Settlement does not relate to, nor place any limitations upon, the claims

asserted by Plaintiffs against Defendant CELLTECH .

                                               111 .

       Defendant CELLTECH may be served with a copy of summons and complaint through

its registered agent for service of process, C.T. Corporation System at 1201 Peachtree Street,

Atlanta, Fulton County, State of Georgia, 30361 .

                                               112.

       Defendant CELLTECH is subject to the jurisdiction and venue of this court .

                                               113 .

       Defendant, GOLDLWE LABORATORIES, INC. (hereinafter "GOLDLINE LABS"),

maintains its principal place of business at 4400 Biscayne Boulevard, Miami, Florida 33137 .

Defendant GOLDLINE LABS is incorporated under the laws of the State of Florida .           At all

times material hereto, Defendant GOLDLINE LABS was in the business of promoting,

marketing, developing, selling and/or distributing the pharmaceutical drugs phentermine

hydrochloride, fenfluramine hydrochloride and/or dexfenfluramine hydrochloride through

interstate commerce and in the State of Georgia, and otherwise did business in Georgia related to




                                              -31 -
                           t
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 77 of 225




this cause. Defendant GOLDLINE LABS is not registered with the Georgia Secretary of State as

an entity properly qualified to transact business within the State .

                                                 114.

         The National Settlement does not relate to, nor place any limitations upon, the claims

asserted by Plaintiffs against Defendant GOLDLINE LABS .

                                                 115.

         Defendant GOLDLINE LABS may be served with a copy of summons and complaint

through the Georgia Secretary of State and/or at its principal place of business located at 4400

Biscayne Boulevard, Miami, Florida 33137 .

                                                 116.

         Defendant GOLDLINE LABS is subject to the jurisdiction and venue of this court.

                                                  117 .

         Defendant, ZENITH GOLDLINE PHARMACEUTICALS, INC . (hereinafter "Zenith"),

maintains its principal place of business at 4400 Biscayne Boulevard, Miami, Florida 33137.

Defendant Zenith is incorporated under the laws of the State of Florida .    At all times material

hereto, Defendant Zenith was in the business of promoting, marketing, developing, selling and/or

distributing the pharmaceutical drugs phentermine hydrochloride, fenfluramine hydrochloride

and/or dexfenfluramine hydrochloride through interstate commerce and in the State of Georgia,

and otherwise did business in Georgia related to this cause. Defendant Zenith is not registered

with the Georgia Secretary of State as an entity properly qualified to transact business within the

State.

                                                 118.



                                                _ ;2_
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 78 of 225




       The National Settlement does not relate to, nor place any limitations upon, the claims

asserted by Plaintiffs against Defendant Zenith .

                                                 119.

       Defendant Zenith may be served with a copy of summons and complaint through the

Georgia Secretary of State and/or at its principal place of business located at 4400 Biscayne

Boulevard, Miami, Florida 33137 .

                                                 120.

        Defendant Zenith is subject to the jurisdiction and venue of this court.

                                                 121 .

       Defendant ROBERT L. SCOTT (hereinafter Defendant Scott or "AHP/WYETH Defendant"

is a citizen of the State of Georgia residing at 660 St . Regis Lane, Alpharetta, Fulton County,

State of Georgia .    At all times relevant to the allegations set forth under this Complaint

Defendant Scott was employed by Defendant Wyeth-Ayerst, its predecessor in interest, Lederle,

and/or Defendant AHP/WYETH .

                                                 122.

        Defendant Scott assisted Wyeth-Ayerst, Lederle and AHP/WYETH, as well as the other

Defendants, in the promotion, marketing, and sale of fenfluramine (Pondimin), dexfenfluramine

(Redux), and phentermine throughout portions of the United States, including but not limited to,

the state(s) in which Plaintiffs obtained or ingested the subject drug products .

                                                 123 .

        Defendant Scott affirmatively undertook to provide materially false and misleading

information relating to the safety and efficacy of fenfluramine (Pondimin), dexfenfluramine

(Redux), and phentermine to various state medical boards, state pharmacy boards, and state

                                                -33-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 79 of 225
                                                                         f


regulatory entities for the specific purpose of increasing the availability and sale of the subject

drug products to Plaintiffs and the general public by lobbying for the removal of restrictions on

the   consumption    and   sale   of fenfluramine   (Pondimin),    dexfenfluramine        (Redux),   and

phentermine in the subject states .

                                                124.

        Defendant Scott, in his capacity as State Government Affairs Manager for various

defendants, was responsible for obtaining of government approval for the pharmaceutical drugs

phentermine hydrochloride, fenfluramine hydrochloride and/or dexfenfluramine hydrochloride

so as to permit their distribution, sale and consumption in the United States of America .

                                                125.

        Defendant Scott was also involved in a conspiracy with the named Defendants to conceal

certain information relating to the dangers associated with the subject drug products from the

consuming public, including but not limited to Plaintiffs .

                                                126 .

        Defendant Scott may be served with a copy of summons and complaint at his residence

located at 660 St. Regis Lane, Alpharetta, Fulton County, State of Georgia 30022.

                                                127.

        Defendant Scott is subject to the jurisdiction and venue of this court.

                                                 128.

        Defendant    JOHN    ("JACK")    A.   MoLNAR      (hereinafter       "Defendant    Molnar"    or

"AHP/WYETH Defendant") is a citizen of the State of Georgia residing at 740 Winston Drive,

Lawrenceville, Gwinnett County, State of Georgia . At all times relevant to the allegations set




                                                -34-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 80 of 225
                                                                       f

forth under this Complaint, Defendant Molnar was employed by Defendant Wyeth-Ayerst, its

predecessor in interest, Lederle, and/or Defendant AHP/WYETH .

                                                 129 .

        Defendant Molnar assisted Wyeth-Ayerst, Lederle and AHP/WYETH, as well as the

other Defendants, in the promotion, marketing, and sale of fenfluramine (Pondimin),

dexfenfluramine (Redux), and phentermine throughout portions of the United States, including

but not limited to, the state(s) in which Plaintiffs obtained or ingested the subject drug products .

                                                 130 .

        Defendant Molnar affirmatively undertook to provide materially false and misleading

information relating to the safety and efficacy of fenfluramine (Pondimin), dexfenfluramine

(Redux), and phentermine to various state medical boards, state pharmacy boards, and state

regulatory entities for the specific purpose of increasing the availability and sale of the subject

drug products to Plaintiffs and the general public by lobbying for the removal of restrictions on

the   consumption    and   sale   of fenfluramine    (Pondimin),    dexfenfluramine    (Redux),    and

phentermine in the subject states .

                                                 131 .

        Prior to May 20, 1997, all Tennessee physicians (including KATHLEEN RANSDELL,

NORMA JEAN ROBERTS and MINNIE FOX's prescribing physicians) were precluded by

law from prescribing Pondimin, Redux, and phentermine to their patients .

                                                 132.

        On May 20, 1997, Tennessee State Senate Bill No. 1343, which lifted the ban on

prescribing of Pondimin,       Redux, and phentermine        by Tennessee physicians (including




                                                -35-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 81 of 225
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KATHLEEN RANSDELL, NORMA JEAN ROBERTS and D1INNIE FOX's prescribing

physicians), was signed into law by Tennessee Governor Don Sunquist.

                                               133.

        In addition to lifting the ban on prescribing of Pondimin, Redux, and phentermine by

Tennessee physicians, Tennessee State Senate Bill No. 1343 also effectively prevented the

Tennessee Board of Medical Examiners from promulgating rules to limit physicians' (including

KATHLEEN RANSDELL, NORMA JEAN ROBERTS and MINNIE FOX's prescribing

physicians) abilities to prescribe Pondimin, Redux, and phentermine, except where the patient

being treated for obesity was under eighteen (18) years of age.

                                               134.

        Prior to the passage of Tennessee State Senate Bill No. 1343, Defendant Molnar

petitioned the Tennessee Board of Medical Examiners and the Tennessee legislature to give

Tennessee physicians (including KATHLEEN RANSDELL, NORMA JEAN ROBERTS and

MINNIE FOX's prescribing physicians) the ability to prescribe Pondimin, Redux, and

phentermine .

                                               135 .

        Defendant Molnar's efforts to have the ban on prescribing Pondimin, Redux, and

phentermine in Tennessee lifted were successful with the enactment of Tennessee State Senate

Bill 1343 .

                                               136.

        According to a May 28, 1997 Wyeth memorandum, the passage of the Tennessee State

Senate Bill lifting the ban on prescribing of Pondimin, Redux, and phentermine by Tennessee

physicians (including KATHLEEN RANSDELL, NORMA JEAN ROBERTS and MINNIE

                                              -36-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 82 of 225




FOX's prescribing physicians), was possible only through the excellent work and efforts of

Defendant Molnar and one other individual, with assistance from Wyeth's Tennessee sales force.

                                                137.

       The passage of Tennessee State Senate Bill No. 1343 was the direct result of material

misrepresentations made by Defendant Molar to Tennessee legislators, physicians, and citizens

relating to the safety and efficacy of Pondimin, Redux, and phentermine.

                                                138 .

       But for the passage of Tennessee State Senate Bill No. 1343, Plaintiffs KATHLEEN

RANSDELL, NORMA JEAN ROBERTS, MINNIE FOX and possibly other Plaintiffs in this

action, would never have been prescribed Pondimin, Redux, and/or phentermine .

                                                139.

       Defendant Molnar was further responsible for obtaining governmental approval for the

pharmaceutical drugs phentermine hydrochloride, fenfluramine hydrochloride (Pondimin) and/or

dexfenfluramine hydrochloride (Redux) so as to permit their distribution, sale and consumption

in the United States of America.

                                                140.

       Defendant Molnar was also involved in a conspiracy with the named Defendants to

conceal certain information relating to the dangers associated with the subject drug products

from the consuming public, including but not limited to Plaintiffs .

                                                141 .

       Defendant Molnar may be served with a copy of summons and complaint at his residence

located at 740 Winston Drive, Lawrenceville, Gwinnett County, State of Georgia 30044 .

                                                142.

                                               -37-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 83 of 225
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       Defendant Molnar is subject to the jurisdiction and venue of this court.




                                                143 .

Defendant Steven Kaiser (hereinafter "Defendant Kaiser", "Sales Director Defendant", or

"AHP/WYETH Defendant") is a citizen of the State of Georgia residing at 595 Danas Ridge

Drive, Roswell, Fulton County, State of Georgia .       At all times material hereto, this Defendant

was in the business of promoting, marketing, developing, selling and/or distributing the

pharmaceutical drugs phentermine, fenfluramine and/or dexfenfluramine in the States of

Georgia, Tennessee, and Florida, as well as other states in the southeastern United States . This

Defendant was responsible for and participated in the dissemination of false and misleading

information,   including   but   not   limited to   safety   and   associated   risks,   regarding   the

pharmaceutical drugs phentermine, fenfluramine and/or dexfenfluramine to physicians in the

States of Georgia, Tennessee, and Florida, as well as other states in the southeastern United

States, including the physician(s) of Plaintiffs WILLIAM BROWN, CHERYL CRADDOCK,

GEORGE LEWIS, TRACY FOINTNO, MICHAEL MEAD, SYLVIA FITE, WILMA

PARHAM, CARITA MYRICK, LILLIAN IDLETT, ANGELA WHITFIELD, SYLVIA

BROWN, BRENDA WORLEY, ELAINE DAVIDSON, PATRICIA GRANIERO, JOHN

LANDWEHR. BEVERLY DAVIS, PAMEAL TAYLER, KATHY BARKER, CLADYS

HACKNEY, LINDA WHITE, WANDA CARTER, PATRICIA FULLER, KATHLEEN

RANSDELL, NORMA JEAN ROBERTS and MINNIE FOX. Said Plaintiffs' physician(s)

relied upon this Defendant's false and misleading representations in prescribing phentermine,

fenfluramine and/or dexfenfluramine to each Plaintiff, as well as other patients . This Defendant

was also involved in a conspiracy to conceal certain information relating to the dangers

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          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 84 of 225
                            f


associated with the subject drug products from the consuming public, including but not limited to

Plaintiffs .

                                                 144 .

         Defendant Kaiser was also involved in a conspiracy to conceal certain information

relating to the dangers associated with the subject drug products from the consuming public,

including but not limited to Plaintiffs .

                                                 145 .

         Defendant Steven Kaiser may be served with a copy of summons and complaint at 595

Danas Ridge Drive, Roswell, Fulton County, State of Georgia 30075.

                                                 146.

         Defendant Kaiser is subject to the jurisdiction and venue of this court.

                                                 147 .

         Defendants JOHN DoE Nos . 1-5 are five separate persons, firms and/or corporations, who

are believed to be citizens of the State of Georgia whose identities are otherwise unknown at this

time.     At all times material hereto, said Defendants were in the business of promoting,

marketing, developing, selling and/or distributing the pharmaceutical drugs phentermine,

fenfluramine and/or dexfenfluramine .       The John Doe Defendants were also involved in a

conspiracy to conceal certain information relating to the dangers associated with the subject drug

products from the consuming public, including but not limited to, Plaintiffs .

                                                 148 .

         Once the identities and whereabouts of each John Doe Defendant is established, said

Defendants will be served with a copy of summons and complaint as provided by law.

                                                 149.

                                                -39-
                         t                                          t
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 85 of 225




       The John Doe Defendants are subject to the jurisdiction and venue of this court.




                                 GENERAL ALLEGATIONS

                                               150.

       The drugs, fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine were

widely sold, distributed, promoted and advertised by the named Defendants, and various

fictitious party Defendants, as effective weight control products. Defendants sold and distributed

the subject drugs in Georgia as well as other states and placed said drugs into the stream of

commerce knowing that they would enter the state(s) in which Plaintiffs resided and be

consumed therein .

                                               151 .

       Fenfluramine was one of the drugs prescribed in combination and promoted and referred

to as "fen/phen ." The AHP/WYETH Defendants marketed fenfluramine under the trade name,

Pondimin.   In doing so, the AHP/WYETH Defendants actively encouraged, and/or failed to

effectively discourage, the combined use of fenfluramine because they knew that the combined

use would increase sales of fenfluramine.

                                               152.

       The named Defendants, as well as the fictitious party Defendants, directly or indirectly,

made, created, manufactured, assembled, designed,         sterilized, tested, evaluated, labeled,

supplied, packaged, marketed, advertised, warranted, distributed and/or          sold   the   drugs

fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine . These same Defendants

assisted in, and had control over, the design, assembly, packaging, labeling, marketing,




                                               40-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 86 of 225




advertising, manufacturing distribution and sale of the drugs fenfluramine (Pondimin),

dexfenfluramine (Redux), and phentermine .



                                               153.

        At all times material hereto, all Defendants, including the fictitious party Defendants,

either knew or should have known that the drugs fentluramine (Pondimin), dexfenfluramine

(Redux), and phentermine had been related to and associated with severe and life threatening

complications .

                                               154.

        In 1965, the diet drug Aminorex was introduced in Europe. Aminorex was touted as a

wonder weight loss drug that worked by increasing brain serotonin and inhibiting reuptake of

serotonin .   However, by 1967 evidence began to surface that the ingestion of Aminorex was

associated with pulmonary hypertension . Over the next six years, an Aminorex epidemic raged

in Europe. There was a ten-fold increase in primary pulmonary hypertension cases. Half of the

patients died within ten years and the rest of the patients suffered significant oxygen deprivation

and are debilitated for the remainder of their lives . Aminorex was removed from the European

market in 1972. The AHP/WYETH Defendants knew, or should have known, of the European

experience with Aminorex and how it would relate to AHP/WYETH's drugs Pondimin and

Redux three (3) decades later.

                                               155 .

        In 1973, Pondimin was introduced into the United States market.            Pondimin is a

fenfluramine drug and is in the same family of drugs as Aminorex, and is very similar to

Aminorex. Pondimin was touted as a wonder weight loss drug that worked by increasing brain

                                                41-
          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 87 of 225




serotonin and inhibiting reuptake of serotonin.        However, because the drug when used alone

made users lethargic and tired, sales of Pondimin languished .



                                                156.

          In the year 1990, the Food and Drug Administration (FDA) approved fenfluramine for

use as a weight reduction drug for the short-term medical management of obesity . Since that

time, fenfluramine has been increasingly prescribed and used in combination with the drug

phentermine to maximize weight loss . This combination is commonly known as "fen-phen."

                                                157.

          The AHP/WYETH         Defendants actively encouraged, and/or failed       to   effectively

discourage, the combined use of fenfluramine and phentermine because they knew that the

combined use would increase sales of fenfluramine .

                                                158.

          The "phen" portion of "fen-phen" consists of phentermine, an amphetamine which helps

the body burn calories faster and which serves to counteract the drowsiness caused by the "fen"

portion of the dosage consisting of fenfluramine, a drug which affected the serotonin levels in the

brain .   Despite the fact that the concomitant use of fenfluramine and phentermine was never

approved by the FDA, the subject drugs were widely prescribed for use in combination with each

other and/or with dexfenfluramine in place of fenfluramine, as promoters of weight loss.

                                               159.

          Dexfenfluramine is the d-isomer of fenfluramine, containing essentially the same active

ingredient as fenfluramine . The AHP/WYETH Defendants marketed dexfenfluramine under the

trade name Redux.

                                               _q2_
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 88 of 225




                                                160.

       The AHP/WYETH Defendants have known the serious side effects of fenfluramine

and/or dexfenfluramine fur a substantial period of time .      These side effects were known or

should have been known to all Defendants at the time that they marketed the drugs to the public

based on, among other things, medical evidence of dangerous and potentially fatal side effects

from the use of the drugs in Europe and elsewhere, as detailed below.       Defendants did not,

however, conduct adequate testing to establish the safety of the drugs before marketing them.

Rather, the Defendants aggressively marketed the drugs and promoted their use, both

individually and in combination with other drugs, while downplaying evidence of the serious and

potentially fatal side effects that consumers of these drugs could face.

                                                161 .

        Defendants undertook a willful wanton and reckless course of action and marketing

strategy which included advertising and promotional campaigns to aggressively promote and sell

the subject drugs by falsely misleading potential users about the products, by suppressing

material facts, and by failing to warn users about the serious health effects which Defendants

knew or should have known could result from the use of the subject drugs.

                                                162 .

       This advertising campaign on the whole, through its affirmative misrepresentations and

omissions, falsely and fraudulently sought to create the impression and to convey to Plaintiffs

and others on whom Plaintiffs would rely, that the use of either fenfluramine or dexfenfluramine

alone or in combination with phentermine as "fen-phen" was safe and had fewer adverse health

                                                 43-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 89 of 225
                           E


and side effects than was actually known to Defendants at the time they made these

representations .

                                                163 .

        Phentermine,    fenfluramine    and   dexfenfluramine   were   aggressively   marketed   by

Defendants, often by encouraging unapproved off-label combination use of the products .

                                                164.

        Defendants, as manufacturers and distributors, or agents thereof, knew of and recklessly

encouraged the prevalence of off-label combination use of their drugs and failed to warn

physicians and consumers that the combination drug regimen was not FDA approved, was not

recommended and had not been systematically tested by appropriate clinical trials or follow-up

reporting of adverse effects .

                                                 165.

        Defendants undertook a promotional campaign that included the placement of numerous

articles in scientific, medical and general interest magazines extolling the virtues of fenfluramine

combined with phentermine in order to induce widespread use of the product.           Many of these

articles either cited or reported the results of studies that were funded by the AHP/WYETH

Defendants.    Thus, the AHP/WYETH Defendants actively encouraged, or failed to effectively

discourage, combinations of these drugs.

                                                166.

        Defendants actively encouraged, or failed to effectively discourage, combinations of

these drugs by employing and/or contracting with commission based salespersons to promote the

widespread prescribing of fenfluramine and/or the combination of fenfluramine and phentermine

to patients that were not clinically obese.
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 90 of 225




                                                167.
       The marketing program as a whole, by affirmative misrepresentations and omissions,

falsely and fraudulently sought to create the image and impression that the use of fenfluramine,

both individually and/or in combination with phentermine, was safe for human use, had fewer

side effects and adverse reactions than other methods of weight loss, constituted a convenient,

safe form of weight loss and would not interfere with daily life.

                                                168 .

        Defendants purposefully downplayed and understated the health hazards and risks

associated with fenfluramine and/or dexfenfluramine .

                                                169.

        Defendants falsely and fraudulently concealed relevant information from doctors and

potential fenfluramine and/or dexfenflucamine users regarding the safety of fenfluramine and/or

dexfenfluramine.

                                                170.

        In particular, the AHP/WYETH Defendants' marketing efforts as well as their product

inserts, falsely, fraudulently and negligently misrepresented a number of facts regarding

fenfluramine and/or dexfenfluramine, including the following:

        (1)    The presence of adequate testing of fenfluramine and the presence of

               adequate testing of any combination use of the product with phentermine;




                                                45-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 91 of 225
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       (2)     Fenfluramine and/or dexfenfluramine's efficacy including but not limited

               to the severity, frequency and discomfort of side effects and adverse health

               effects caused by the drugs; and

        (3)    The relative risks associated with the drugs including the prevalence of

               pulmonary hypertension and primary pulmonary hypertension .




                                               171 .

       On October 3,      1981, Dr.    1.G . Douglas published Pulmonary Hypertension and

Fenfluramine in the British Medical Journal . On January 25, 1986 an article entitled Irreversible

Pulmonary Hypertension after Treatment with Fenfluramine, was published in the British

Medical Journal .    The AHP/WYETH Defendants knew, or should have known, of the British

Medical Journal articles and how those articles related to their drug Pondimin a decade later.

                                               172 .

       In 1984, Dr. Michael Weintraub published A Double-Blind Clinical Trial in Weight

Control: Use of FenJluramine and Phentermine Alone and in Combination in the Archives of

Internal Medicine.   Dr. Weintraub's study was supported by A.H . Robins (which was later

acquired by AHP/WYETH) . Despite noting some adverse effects associated with fenfluramine,

Dr. Weintraub entirely failed to examine the long-term safety of fenfluramine . Instead, the study

focused on the short-term effectiveness of the drugs used individually, and in combination .

                                               173 .

       In 1992, Dr. Weintraub published a series of articles in Clinical Pharmacological

Therapies, in which he reported his research regarding the long term use of fenfluramine and



                                                  46-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 92 of 225




phentermine for weight control . Dr. Weintraub's research was supported by the AHP/WYETH

Defendants.




                                                174.

        Dr. Weintraub's research assumed the safety of fenfluramine, and did not examine the

short-term or long-term safety of the drug.      Further, the AHP/WYETH Defendants failed to

conduct or fund any studies or research regarding the long-term safety of the fenfluramine drug,

Pondimin . Nevertheless, the AHP/WYETH Defendants did promote to physicians and the public

Dr. Weintraub's conclusion that long term combination use of fentluramine and phentermine

was effective for the management of obesity .

                                                175 .

        By 1993, the AHP/WYETH Defendants labeling for Pondimin indicated that there were

only 4 reported cases of pulmonary hypertension reported in association with the drug. Yet, that

same year, Dr. Francois Brenot published Primary Pulmonary Hypertension and Fen./luramine

Use, in the British Heart Journal .      Dr. Brenot identified 25 cases of primary pulmonary

hypertension   associated   with   the   use   of fenfluramine   and/or   dexfenfluramine .   The

AHP/WYETH Defendants knew or should have known of the Brenot article.               AHP/WYETH

should have known by at least 1993 that Pondimin was defective and unreasonably dangerous.

AHPIWYETH should have known by at least 1993 that AHP/WYETH's labeling of Pondimin

was false .

                                                176.

        On June 24, 1994, AHP/WYETH Safety Surveillance Monitor, Amy Myers, wrote a

memo to AHP Medical Monitor, Fred Wilson, and indicated that AHP/WYETH's database

                                                 47 -
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 93 of 225




contained 37 cases of primary pulmonary hypertension associated with Pondimui .       Further, in

February 1994, the preliminary results of the International Primary Pulmonary Hypertension

study (IPPH Study") entitled "Appetite Suppressants and the Risk of Primary Pulmonary

Hypertension" was released and available to the AHP/WYETH Defendants .           The preliminary

results of the IPPH Study confirmed the association between fenfluramine and dexfentluramine,

and pulmonary hypertension and primary pulmonary hypertension .               The AHP/WYETH

Defendants concealed the number of cases of primary pulmonary hypertension associated with

Pondimin that the AHP/WYETH Defendants knew existed in order to continue to market

Pondimin for profit .

                                              177 .

        On June 15, 1995 AHP/WYETH Defendants' James Ottinger, reported to Joseph Bathish

the   status of the     European Committee on     Proprietary    Medicinal   Product's ("CPMP")

pharmacovigilance discussion wherein the CPMP working party concluded that a causal

relationship between anorectic agents, like fenfluramine and/or dexfenfluramine, and the

occurrence of primary pulmonary hypertension had been established .

                                              178 .

        The August 26, 1996 issue of the New England Journal of Medicine reported the final

results of IPPH Study, which had been preliminarily released in February 1994. The IPPH Study

concluded that fenfluramine-based anorexigens, such as fenfluramine and dexfenfluramine,

increased the risk of PPH by a multiple of more than 23 times.

                                              179.

        The AHP/WYETH Defendants were aware of the result of the IPPH study by at least

February 1994 .    Nevertheless, the AHP/WYETH Defendants failed to apprise the public or

                                             -48-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 94 of 225




physicians that the risk of contracting PH or PPH was many, many multiples of that previously

reported by the AHP in their literature . Even after the Brenot article and the preliminary release

of the IPPH Study the AHP/WYETH Defendants failed to remove Pondimin from the market

when the AHP/WYETH Defendants knew of the extreme danger, causal relationship and

substantial risk of harm associated with the use AHP's drug Pondimin.

                                                  180 .

        Even prior to their knowledge of the IPPH Study, the manufacturers and distributors of

the subject drugs knew about the risks of PPH associated with using the subject drugs from

experience with and subsequent banning of such drugs in various countries in Europe .

Nevertheless, Defendants failed to apprise Plaintiffs, the public at large, or physicians of these

material facts and risks .

                                                  181 .

        The AHP/WYETH Defendants continued to promote Pondimin after learning of the

extreme danger associated with it.         The AHP/WYETH Defendants continued to promote

Pondimin knowing the drug had no beneficial use . The AHP/WYETH Defendants labeling on

the drug was totally inadequate to alert prescribing physicians and patients of the actual PH or

PPH danger and risk associated with its fenfluramine drug, Pondimin .         The AHP/WYETH

Defendants knew that danger and that risk.

                                                  182.

        Even after they knew of the danger the AHP/WYETH Defendants did not remove

Pondimin from the market and did not do any further testing of the drug.              Instead, the

AHP/WYETH Defendants continued to market the drug to prescribing physicians like the

physicians that prescribed the diet drugs to the Plaintiffs in this case.

                                                  49-
          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 95 of 225




                                                 183 .

          Further, in 1996 the AHP/WYETH Defendants introduced their dexfenfluramine drug,

Redux into the U.S. market despite the fact that the AHP/WYETH Defendants knew of the

danger and risks of primary pulmonary hypertension associated with Pondimin.

                                                 184.

          The AHP/WYETH Defendants did not adequately or appropriately disclose fenfluramine

and/or dexfentluramine information or related drug information to physicians in the United

States.     Instead   the    AHP/WYETH      Defendants    fraudulently   concealed   the    pulmonary

hypertension (PH) or primary pulmonary hypertension (PPH) danger they knew of from

physicians .   As a result, physicians have over-prescribed fenfluramine and/or dexfenfluramine

drugs, Pondimin and Redtix, to patients who were grossly under-informed regarding the risk of

PH or PPH associated with the drugs .

                                                 185.

          Although the FDA approved phentertnine and fenfluramine separately, the FDA never

approved the drugs for combined use. The AHP/WYETH Defendants knew of and encouraged

the prevalence of off-label combined use of their drugs, and failed to adequately and

appropriately wam physicians and consumers that the combination drug regimen was not FDA

approved, was hazardous due to the presence of fenfluramine, was not recommended and had not

been systematically tested by appropriate clinical trials . Further, the AHP/WYETH Defendants

fraudulently    concealed,    destroyed   and   removed   written   evidence   and/or      intentionally

misrepresented evidence supporting the association between PH and/or PPH with fenfluramine

and/or dexfenfluramine .




                                                  50-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 96 of 225




                                               186.

       The AHP/WYETH Defendants failed to fully and adequately warn doctors, the public

and/or the Plaintiffs about the risk of pulmonary hypertension and primary pulmonary

hypertension from Pondimin and Redux.

                                               187 .

       At all times relevant to this cause, Defendants also knew or should have known of many

other studies, regulatory actions and concerns, incidences of injury and/or death, concerns about

the subject drugs, safety among scientists, researchers, regulators and other knowledgeable

professionals, the dangers of drug combinations, meetings among pharmaceutical industry

officers, executives or employees (including Defendants), internal memos and reports of health

concerns regarding the subject drugs, the desire of Defendants to stop or delay regulatory action

regarding the subject drugs, the lack of sufficient safety studies before and during marketing of

the subject drugs, the contents of Defendants' own files, plans and reports, the danger of the off-

label use of medications, the desire of Defendants to maximize profits despite safety concerns,

safety concerns about the drugs which could block or change FDA approval, regulatory actions,

reports of injury and concerns about the subject drugs in Europe, case reports of pulmonary

hypertension, regulatory efforts to make changes in the warning and labels required on these

products and the plans and actions of Defendants to fight such changes (including supplying

regulators with false or misleading information), warning labels on the products designed so that

they would be overlooked by physicians and users such as Plaintiffs, statements by medical

professionals regarding safety concerns for the subject drugs, the fact that phentermine is an

MOAT drug which would be contra-indicated for usage with fenfluramine and dexfenfluramine,

                                              -51-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 97 of 225
                           i                                          f

prevalent usage of unsafe combinations of the subject drugs (as promoted by Defendants) and

adverse effects reported therefrom, the failure of Defendants to report incidences of PPH

resulting from the use of the subject drugs to regulators and health care professionals, false

information provided by sales representatives and others concerned with advertising and

promoting the subject drugs, efforts to derail regulatory review and oversight of the subject

drugs, the identification of groups most at risk of injury, the misrepresentation and concealment

of reports regarding adverse health effect of the subject drugs by Defendants from regulators and

health care professionals, and many other material facts regarding the subject drugs and which

would have shown the danger and adverse health effect of using the subject drugs. Nevertheless,

Defendants did suppress, misrepresent and failed to inform Plaintiffs, the public at large, or

physicians of these material facts and risks, and did encourage and promote unsafe usage by

Plaintiffs and others.

                                                188 .

         Defendants, having undertaken the manufacture, sale, marketing, distribution and

promotion of the diet drugs described herein owed a duty to provide Plaintiffs, physicians, state

regulators and others upon whom it was known, or should have known, by Defendants that

Plaintiffs would rely, accurate and complete information regarding the subject drug products .

Nevertheless, Defendants misrepresented these facts, and failed to inform and did conceal from

Plaintiffs, the public at large, and physicians of the material facts and risks of using the subject

drugs.

                                                189 .

         Defendants fraudulently represented to Plaintiffs, Plaintiffs' physicians, state regulators

and others upon whom it was known, or should have been known that each Plaintiff would rely,

                                               -52-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 98 of 225




that the subject drugs were safe and effective, that the benefits of taking the subject drugs

outweighed any risks and misrepresented and concealed safety and effectiveness information

regarding its products including but not limited to the propensity to cause serious physical harm

when used alone and in combination . The continuous and ongoing course of action constituting

fraud and misrepresentation upon Plaintiffs started as early as 1993, if not earlier, and continued

through repeated acts and non-disclosure every year since then, in the State(s) in which the

Plaintiffs reside, throughout the United States, and elsewhere.

                                                  190 .

        Defendants' fraudulent misrepresentations took the form of, among other forms, express

and implied statements, publicly disseminated misinformation, misinformation provided to state

regulatory agencies, inadequate, incomplete and misleading warnings about the subject products,

failure to disclose important safety and injury information regarding the products while having a

duty to disclose to Plaintiffs and others such information, and elaborate marketing, promotional,

and advertising activities designed to conceal and mislead regarding the safety of the subject

products.

                                                  191 .

        The subject drug products were in fact unsafe, and the use of the subject drug products

posed a risk of injury and death that outweighed the purported benefits of their use, such that

injury was in fact caused to Plaintiffs and others .

                                                  192 .

        Defendants failed to adequately warn Plaintiffs and those whom they knew Plaintiffs

would rely of the hazards associated with the use of the subject diet drug products and conspired



                                                  53-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 99 of 225




to conceal and did conceal this knowledge from Plaintiffs and others . As a result of this failure to

warn, Plaintiffs were caused to suffer the injuries and damages hereinafter set forth.

                                                 193.

        Plaintiffs    were prescribed    and/or ingested the drugs fenfluramine           (Pondimin),

dexfentluramine (Redux), and/or phentermine for weight loss and suffered injury thereby .

                                                 194.

       Although Defendants knew or should have known that dangerous risks were associated

with the    use      of fenfluramine   (Pondimin),   dexfenfluramine   (Redux),   and    phentermine,

Defendants proceeded to or permitted the same to be advertised, promoted, distributed and sold

without adequate warnings of the serious side effects and dangerous risks . Defendants knew of

and encouraged the prevalence of off-label combination use of their drugs and failed to warn

physicians and consumers that the combination drug regimen was not FDA approved, was not

recommended and had not been tested by appropriate clinical trials .

                                                 195.

        The drugs fenfluramine, dexfenfluramine and phentermine were defective and

unreasonably dangerous when they left the possession of Defendants in that, among other ways:

       (1) The subject drugs caused injury to the user far beyond any warned, noticed, expected

        or reasonable side effect or adverse reaction and when placed in the stream of commerce

        they contained unreasonably dangerous defects subjecting Plaintiffs to risks from

       expected or known usage, including bodily injury and death, which exceeded the benefits

       of the subject drugs;

       (2) When placed in the stream of commerce the subject drugs were defective in design

        and formulation, making use of the drugs more dangerous than an ordinary consumer

                                                _5q_
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 100 of 225




       would expect and more dangerous than other risks associated with obesity and weight

       loss;

       (3) The subject drugs contained insufficient and/or ineffective warnings to alert

      consumers and users to the risks of injury and death by PPH ;

       (4) The subject drugs were insufficiently tested (singularly or in combination) ;

       (5) There were insufficient instructions on the proper use of the subject drugs;

       (6) There was misleading advertising and promotion concerning the safety and benefits of

       using the subject drugs;

       (7) There were inadequate post-marketing warnings or instructions because, after

       Defendants knew or should have known of the significant risks previously described,

       Defendants failed to provide adequate warnings to users and consumers, and/or their

       physicians, and continued to promote the sale and use of the subject drugs; and the

       subject drugs had not been materially altered or modified prior to the use of said drugs by

       Plaintiffs .

       (8) Defendants were in the business of distributing and selling the products made the

       basis of this lawsuit .    Defendants sold and/or distributed these products in a defective

       condition that was unreasonably dangerous to the user or ultimate consumer of this

       product.       Each product was expected to and did reach the user and consumer Plaintiffs

       without substantial change in the condition at which it was sold.

                                                 196.

       As a direct and legal result of the defective condition of the drugs fenfluramine

(Pondimin), dexfenfluramine (Redux), and phentermine, Plaintiffs have sustained and will

continue to sustain serious and permanent injuries, physical pain and suffering, impairment,

                                                - 55-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 101 of 225




disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life past and

future ; time in life that could have been spent doing things other than going to doctors,

physically suffering, and undergoing medical monitoring; loss of earnings and loss of the ability

to earn money in the past and the future; expense of hospitalization, medical and nursing care

and treatment and medical monitoring in the past and in the future; fear and mental anguish

concerning future medical problems associated with their injuries.

                                                  197.

        Defendant Scott, Defendant Molnar, and certain John Doe Defendants each reside and

work in the State of Georgia. Said Defendants worked for or on behalf of the Manufacturing and

Distributing Defendants herein in the State of Georgia, and elsewhere throughout the United

States, at times relevant to this cause, and each actively and personally participated in the

marketing, distribution, promotion and advertising in each state that the subject diet drugs were

ultimately used by Plaintiffs, resulting in injury to Plaintiffs.

                                                  198.

        The tortious actions and misdeeds of Defendants as alleged herein are ongoing and at all

times relevant hereto were ongoing and continuous and constituted ongoing and continuous torts .




                  COUNT I (STRICT LIABILITY-DEFECTIVE PRODUCT)

                                                  199.

        Plaintiffs adopt and re-alleges each paragraph above, as if fully set forth herein .

                                                  200.

        The allegations set forth under Count I apply only to the Manufacturer Defendants as

identified hereinabove.

                                                 -56-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 102 of 225
                             f

                                                 zoo.
        The fenfluramine (Pondimin), dexfenfluramine (Redux ), and phentermine drugs which

were designed, developed, researched, manufactured, and/or supplied by the Manufacturer

Defendants were not merchantable nor reasonably suited to their intended use due to design

defects in the subject drugs .

                                                 202 .

        The risk of severe and life threatening complications and other side effects associated

with use of the subject diet drugs constituted dangers and risks which were inherent in the design

of the drugs that served to outweigh any utility the drugs may have had.

                                                 203 .

        The Manufacturer Defendants, individually and collectively, knew, or should have

known, that fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine were, and are,

dangerously defective products that posed an unacceptable risk unknown to, and unknowable by,

the consuming public .

                                                 204.

        Plaintiffs have suffered injury and have incurred damages as a direct and proximate result

of the design defects existing in regard to fenfluramine (Pondimin), dexfenfluramine (Redux),

and phentermine causing Defendants to be liable to Plaintiffs under the doctrine of strict liability

due to the defective nature of the subject drug products .

                   COUNT II (STRICT LIABILITY FAILURE TO WARN)

                                                 205 .

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 206.

                                                _57_
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 103 of 225
                            l


       The allegations set forth under Count II apply only to the Manufacturer Defendants as

identified hereinabove.

                                                 207.

        At   the   time   the    Manufacturer     Defendants     placed   fenfluramine   (Pondimin),

dexfentluramine (Redux), and phentermine into the stream of commerce for sale or consumption

by Plaintiffs, said Manufacturer Defendants failed to accompany said inherently dangerous

products with sufficient warnings to advise doctors or consumers of the health risks associated

with the subject drugs.




                                                 208 .

        To the extent that any warning was provided by the Manufacturer Defendants with the

subject drug products, the warning was defective as it did not accurately reflect the true dangers

associated with the defective drug products and did not accurately serve to warn physicians or

consumers of:

        (a) the true risks of injury associated with the products ;

        (b) the symptoms of such injuries ;

        (c) the scope of such injuries ; or

        (d) the seventy of the known risks associated with these products .

                                                  209.

        As a direct and proximate result of the Manufacturer Defendants' failure to provide

adequate warnings with the subject drug products, Plaintiffs have suffered injury and damages

for which they are entitled to recover .



                                                 -58-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 104 of 225




                   COUNT 111 (STRICT LIABILITY FAILURE TO TEST)

                                                 210.

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 211 .

        The allegations set forth under Count III apply only to the Manufacturer Defendants as

identified hereinabove.

                                                 212 .

        The Manufacturer Defendants failed to perform adequate testing of the subject drug

products prior to placing said products in the stream of commerce, in that adequate testing would

have shown that fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine each

posed a substantial and serious risk of harm to consumers of the drugs which were not accurately

disclosed .

                                                 213 .

        As a direct and proximate result of the Manufacturer Defendants' breach of their duty to

adequately test the subject drug products, Plaintiffs have suffered injury and damages for which

they are entitled to recover.

                                  COUNT IV (NEGLIGENCE)

                                                 214.

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 215 .

        At all times material hereto, each Defendant owed a duty to Plaintiffs to exercise

reasonable care in the design, manufacture, testing, processing, advertising, marketing,



                                                -59-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 105 of 225
                                                                         f

promotion, labeling, assembling, packaging, distributing and selling of the subject diet drug

products .

                                                 216.

        Defendants,    individually    and    collectively,   were    negligent   in   their   actions,

misrepresentations, and omissions toward Plaintiffs.




                                                 217.

        Defendants were negligent in their design, manufacture, processing, testing, advertising,

marketing, promotion, labeling, assembling, packaging, distributing and/or selling the subject

drugs which they knew were unreasonably dangerous and carved with them significant side

effects . Such negligent acts include, but are not limited to the following :




                                                  60-
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 106 of 225




(1) Defendants acted negligently in designing, manufacturing, processing, advertising,

marketing, promotion, testing, labeling, assembling, packaging, distributing and/or

selling the drugs which they knew, or through the exercise of reasonable diligence should

have known, were dangerous or unreasonably dangerous and carried with them

significant side effects ;

(2) Defendants acted negligently in failing to include adequate warnings with the drugs

that would alert consumers and physicians to the potential risks and serious side effects of

the drugs ;

(3) Defendants acted negligently in failing to adequately and properly test the drugs

before placing the drugs on the market ;

(4) Defendants acted negligently in failing to conduct sufficient testing on the drugs that,

if properly performed, would have shown that the drugs had serious side effects ;

(5) Defendants acted negligently in failing to warn Plaintiffs that use of the drugs should

be accompanied by a professional examination and regularly scheduled follow-up

examinations so that primary pulmonary hypertension (PPH) could be avoided and/or

detected early;

(6) Defendants acted negligently in failing to warn Plaintiffs that use of the drugs carried

a risk of temporary or permanent disability due to primary pulmonary hypertension

(PPH) while at the same time promoting dangerous use of the drugs alone and in

combination ;

(7) Defendants acted negligently in failing to warn Plaintiffs that use of the drugs carried

a risk that heart transplant and lung transplant might become necessary to repair damages

caused by the drugs; and

                                       -61-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 107 of 225




       (3) Defendants acted negligently in failing to provide post-marketing warnings or

       instructions after Defendants knew or should have known of the significant risks of

       pulmonary and/or cardiovascular injury from the use of the drugs.

                                                218 .

       Defendants knew or should have known that the drugs caused unreasonably dangerous

risks and serious side effects of which Plaintiffs would not be aware . Defendants nevertheless

manufactured, packaged, advertised, marketed, promoted, sold and distributed the subject diet

drug products in a negligent manner knowing that there were safer methods and products for

weight loss and/or weight control.

                                                219.

       As a direct and proximate result of the negligence of Defendants, Plaintiffs have

sustained, and will continue to sustain in the future, serious and permanent injuries ; physical pain

and suffering ; impairment ; disability ; disfigurement ; mental anguish ; loss of capacity for the

enjoyment of life past and future; time in life that could have been spent doing things other than

going to doctors ; physically suffering, and undergoing medical monitoring; loss of earnings; loss

of the ability to earn money in the past and the future ; expense of hospitalization ; medical and

nursing care and treatment and medical monitoring in the past and in the future; fear and mental

anguish concerning future medical problems associated with their injuries, and as otherwise set

forth under this Complaint .

                          COUNT V (BREACH OF WARRANTIES)

                                                220.

       Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .




                                               -62-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 108 of 225




                                                   zz1 .
        When the Manufacturer Defendants and the John Doe Defendants placed the subject

drugs into the stream of commerce, they knew of the use for which the drugs were intended (as

diet aids and weight loss medications), and expressly and impliedly warranted the products to be

of merchantable quality and to be safe and fit for such use .

                                                   222.

            Plaintiffs reasonably relied upon the expertise, skill, judgment and knowledge of the

Manufacturer Defendants and the John Doe Defendants and upon the express and/or implied

warranty that the drugs were of merchantable quality and fit for use for weight loss and/or weight

control .

                                                   223.

            The drugs were not of merchantable quality and were not safe or fit for their intended use

because the products were, and are, unreasonably dangerous and unfit for the ordinary purposes

for which they were used, in that they caused injury to Plaintiffs and others far beyond any

acceptable or warned side effect . Said drug products were unduly dangerous in expected use and

did cause undue injury to Plaintiffs .

                                                   224.

            As a direct and proximate result of the Manufacturer Defendants' and the John Doe

Defendants' breach of both implied and expressed warranties, Plaintiffs has suffered injuries and

sustained damages .

                                                   225 .



                                                  -63-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 109 of 225




       As a direct and proximate result of the breach of warranty by the Manufacturer

Defendants and the John Doe Defendants, Plaintiffs have sustained and will continue to sustain

serious and permanent injuries; physical pain and suffering ; mental pain and suffering ;

impairment; disability ; disfigurement ; mental anguish ; loss of capacity for the enjoyment of life

past and future; time in fife that could have been spent doing things other than going to doctors ;

physically suffering, and undergoing medical monitoring; loss of earnings and loss of the ability

to earn money in the past and the future; expense of hospitalization, medical and nursing care

and treatment and medical monitoring in the past and in the future; fear and mental anguish

concerning future medical problems including but not limited to those associated with her

injuries; and as otherwise set forth under this Complaint .

                     COUNT VI (FRAUD AND MISREPRESENTATION)

                                                 226.

        Plaintiffs adopt and re-allege each paragraph above as if fully set forth herein .

                                                 227.

        All Defendants, including Defendant Scott, Defendant Molnar, and the John Doe

Defendants, knew or should have known that the material representations they were making

regarding the safety and efficacy of the subject diet drug products were false, and made such

misrepresentations with the intent or purpose that Plaintiffs, Plaintiffs' physicians, state medical

boards, state pharmacy boards, state regulators, and others would rely upon them, leading to the

ingestion and use of the subject drugs by Plaintiffs .

                                                 228.




                                                -64-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 110 of 225




         At the time of Defendants' fraudulent misrepresentations and omissions, Plaintiffs were

unaware of the falsity of the statements being made, reasonably believed such statements to be

true, and acted in reasonable reliance upon such statements.

                                                  229.

         Defendants breached their duty to disclose to Plaintiffs (including those duties

established under 21 C.F.R §§ 1 .21 ; 99.101 ; 201 .56 ; 201 .57 ; 310303 ; 314 .70 ; 314 .80 ; & 314 .81

as well as under other laws of this State and others) by willfully and recklessly providing false,

incomplete, and misleading information regarding the subject drug products, and Defendants

acted with deliberate intent to deceive and mislead Plaintiffs, and those who Defendants knew or

should have known each Plaintiffs would rely upon in ingesting and using of the subject diet

drugs.

                                                  230.

         Plaintiffs reasonably relied upon these inaccurate and fraudulent misrepresentations, and

relied upon the absence of adverse safety information about the drugs which Defendants did

suppress, conceal, or fail to disclose, and suffered damage and injury as a result thereof.

                                                  231 .

         As a direct and proximate result of Defendants' willful, fraudulent and intentional

misrepresentations, made with the intent to deceive Plaintiffs and others, Plaintiffs have suffered

injury and damages ; physical pain and suffering ; mental pain and suffering ; impairment;

disability ; disfigurement ; mental anguish; loss of capacity for the enjoyment of life past and

future ; time in life that could have been spent doing things other than going to doctors ;

physically suffering, and undergoing medical monitoring; loss of earnings and loss of the ability

to earn money in the past and the future ; expense of hospitalization, medical and nursing care

                                                 _(5_
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 111 of 225




and treatment and medical monitoring in the past and in the future; fear and mental anguish

concerning future medical problems including but not limited to those associated with their

injuries; and as otherwise set forth under this Complaint .




         COUNT VII (NEGLIGENT AND RECKLESS MISREPRESENTATION)

                                                 232.

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein.

                                                 233.

        Defendants negligently and recklessly represented to Plaintiffs, Plaintiffs' physicians,

state medical boards, state pharmacy boards, state regulators and other persons and professionals

on whom it was known by Defendants that Plaintiffs would rely, as well as the public at large,

that the subject diet drug products were safe to ingest and that the utility of these products

outweighed any risk in use for the intended purpose of weight loss and/or weight control . Also,

by negligently failing to disclose to Plaintiffs, and others for the benefit of Plaintiffs, important

safety and injury information, thereby suppressing material facts about the drugs, while having a

duty to disclose such information, which duty arose from their actions of making, marketing,

lobbying in support of, promoting, distributing and selling pharmaceutical products to Plaintiffs

and others, Defendants further led Plaintiffs to rely upon the safety of the product in its use .

                                                 234.

        The false representations of Defendants were negligently and recklessly made, in that the

subject drug products in fact caused injury, were unsafe, and the benefits of their use were far

outweighed by the risk associated with use thereof. Defendants, individually and collectively,

committed acts of negligent misrepresentation and negligent concealment by suppressing

                                                -66-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 112 of 225




material facts relating to the dangers and injuries associated with, and caused by, the use of the

subject drugs.

                                                235.

        Defendants knew or should have known that their representations were false . Defendants

made such false, negligent and/or reckless representations with the intent or purpose that

Plaintiffs and Plaintiffs' physicians would rely upon such representations, leading to the use of

the subject drugs by Plaintiffs .

                                                236 .

        As a direct and proximate result of Defendants' negligent and reckless misrepresentations

or concealment of facts, upon which Plaintiffs reasonably relied, Plaintiffs have suffered injury

and sustained damages for which Defendants are liable .

                                                237.

        In undertaking to disseminate the negligent and reckless misrepresentations set forth

above, Defendants intended to cause the deregulation, removal of restrictions on sale, and

otherwise make the subject diet drug products readily available to Plaintiffs and the general

public for purchase and/or use of the subject drug products solely to facilitate economic gain by

Defendants .     As a direct result of the negligent and reckless misrepresentation of Defendants,

Plaintiffs have sustained and will continue to sustain serious and permanent injuries; physical

pain and suffering ; mental pain and suffering ; impairment ; disability ; disfigurement ; mental

anguish ; loss of capacity for the enjoyment of life past and future ; time in life that could have

been spent doing things other than going to doctors ; physically suffering, and undergoing

medical monitoring; loss of earnings and loss of the ability to earn money in the past and the

future; expense of hospitalization, medical and nursing care and treatment and medical

                                                 67-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 113 of 225




monitoring in the past and in the future ; fear and mental anguish concerning future medical

problems including but not limited to those associated with their injuries ; and as otherwise set

forth under this Complaint .

   COUNT VIII (CONSPIRACY TO DEFRAUD AND FRAUDULENTLY CONCEAL)

                                                 238.

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 239.

        All Defendants, including Defendant Scott, Defendant Molnar, as well as the John Doe

Defendants, entered into a conspiracy to suppress and fraudulently misrepresent material

information that they were under a duty to disclose to Plaintiffs . In undertaking such conspiracy,

Defendants purposely failed to properly inform consumers, including Plaintiffs, of the health

risks associated with these products as known by Defendants.                Defendants entered this

conspiracy that included those acts previously described concerning various studies and reports

which were not disclosed to the consuming public, and the other specific allegations regarding

fraud and misrepresentation made hereinabove.

                                                 240.

        Defendants conspired together to commit the ton of fraud and misrepresentation upon

Plaintiffs, in the same manner as contained in the allegations of fraud, concealment and

misrepresentation stated above, knowing that same would lead to increased sales of said products

and personal gain to each Defendant with a proportionate increased incidence and risk of injury

and death to Plaintiffs .




                                                  68-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 114 of 225
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                                                241 .

       Each Defendant herein participated in combination in the conspiracy to defraud, conceal

and misrepresent, which conspiracy had an unlawful, oppressive, and immoral purpose (to

increase profits by increasing incidences and risks of death and injury) and/or achieved its

purpose by     unlawful,     oppressive and   immoral   means (the   suppression   and   fraudulent

misrepresentation of material facts regarding important safety and health information which

Defendants had a duty to disclose and disseminate under applicable state and federal law) and

did commit overt acts in furtherance of the conspiracy, which was a legal cause of actual injury

and damage to Plaintiffs .

                                                242.

       As a result of the conspiracy, Defendants made fraudulent misrepresentations to Plaintiffs

and others as set forth above, and important safety and injury information was concealed from

and misrepresented to Plaintiffs, and others upon whom Plaintiffs relied, with the intent that

Plaintiffs would rely upon the misrepresentations and absence of concealed information, as more

specifically set forth above.

                                                243.

       As a result of the conspiracy, Plaintiffs relied upon the misrepresentations of fact as

specifically stated above, and did rely upon the absence of important safety and injury

information, and as a result was injured and suffered serious and permanent injuries; physical

pain and suffering ; mental pain and suffering ; impairment; disability ; disfigurement ; mental

anguish ; loss of capacity for the enjoyment of life past and future ; time in life that could have

been spent doing things other than going to doctors ; physically suffering, and undergoing

medical monitoring ; loss of earnings and loss of the ability to earn money in the past and the

                                               -69-
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 115 of 225




future ; expense of hospitalization, medical and nursing care and treatment and medical

monitoring in the past and in the future ; fear and mental anguish concerning future medical

problems including but not limited to those :associated with her injuries ; and as otherwise set

forth under this Complaint .

                    COUNT IX (JOHN DOE DEFENDANT LIABILITY)

                                                244.

       Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 245 .

       The John Doe Defendants listed in this Complaint, whose identities at this time are

unknown, are also liable to Plaintiff in strict liability, negligence, breach of expressed and

implied warranty, fraud and misrepresentation, negligent and reckless misrepresentation, and

conspiracy to defraud and fraudulently conceal, as well as those other actions pled in this

Complaint .

                                                 246 .

        As a direct and proximate of the aforementioned illegal and tortious acts, Plaintiffs were

injured and suffered damages including, but not limited to: (permanent and ongoing into the

future) injury to Plaintiffs' hearts and other physical injuries; physical pain and suffering ; mental

pain and suffering ; impairment; disability ; disfigurement ; mental anguish ; loss of capacity for the

enjoyment of life past and future; time in life that could have been spent doing things other than

going to doctors ; physically suffering, and undergoing medical monitoring; loss of earnings and

loss of the ability to earn money in the past and the future ; expense of hospitalization, medical

and nursing care and treatment and medical monitoring in the past and in the future ; fear and




                                                -70-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 116 of 225




mental anguish concerning future medical problems including but not limited to those associated

with her injuries ; and as otherwise set forth under this Complaint.



                COUNT X (SALES DIRECTOR DEFENDANT LIABILITY)

                                                 247 .

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 248.

        The Sales Director Defendants, including those named as parties as well as those

qualifying as John Doe Defendants, are also liable to Plaintiffs in negligence, fraud and

misrepresentation, negligent and reckless misrepresentation, and conspiracy to defraud and

fraudulently conceal, as well as those other actions pled in this Complaint other than strict

liability and breach of expressed and implied warranty.

                                                 249 .

        Those positive tortious and overt acts by the Sales Director Defendants were committed

in their individual and representative capacity and include, but are not limited to, the following :

the Sales Director Defendants failed to convey adequate warnings to Plaintiffs through the

prescribing physicians; the Sales Director Defendants were in the business of marketing,

promoting, selling and/or distributing the unreasonably dangerous subject drug which has caused

harm to Plaintiffs ; the Sales Director Defendants negligently distributed, marketed, advertised

and/or promoted the unreasonably dangerous subject drug; the Sales Director Defendants made

negligent misrepresentations regarding the safety and efficacy of the unreasonably dangerous

subject drug; the Sales Director Defendants negligently failed to provide sufficient instructions to

each Plaintiff and/or their prescribing physician(s) regarding the use of the subject drug; and the

                                                -71-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 117 of 225




Sales Director Defendants acted negligently in their hiring, supervision and retention of the sales

representatives they oversaw in that said Defendants knew or should have known that the field

sales forces members acting under their control were providing materially false and inaccurate

information to Plaintiffs' physicians, and others upon whom Plaintiff relied, relating to the safety

and efficacy of the subject drug product.

                                                250.

        As a direct and proximate result of such unlawful and tortious acts, Plaintiffs were

injured and suffered damages including, but not limited to: (permanent and ongoing into the

future) injury to each Plaintiffrs gastrointestinal system and other physical injuries, physical pain

and suffering, impairment, disability, disfigurement, mental anguish, loss of capacity for the

enjoyment of life past and future ; time in life that could have been spent doing things other than

going to doctors, physically suffering, and undergoing medical monitoring; loss of earnings and

loss of the ability to earn money in the past and the future; expense of hospitalization, medical

and nursing care and treatment and medical monitoring in the past and in the future ; fear and

mental anguish concerning future medical problems as otherwise set forth under this Complaint .




                      COUNT XI (JOINT AND SEVERAL LIABILITY)

                                                251 .

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein.

                                                252.

        By virtue of their individual and collective acts and omissions, Defendants are jointly and

severally liable to Plaintiffs as such acts and omissions have proximately caused Plaintiffs to

suffer a single indivisible injury for which each Defendant is responsible.

                                                -72-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 118 of 225




                                COUNT XII (PL,arxTIFF's DAnfnces)

                                                 253 .

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 254.

        As a result of the individual, combined and concurring acts and omissions of Defendants

as set forth herein above, each above-named Defendant, caused or contributed to cause the

following injuries to Plaintiffs :

        (1) Plaintiffs have been caused to suffer physical injury, past, present and future pain and

        suffering, disability, impairment, lost capacity to enjoy life, mental anguish, and lost

        earnings in an amount to be proven at trial;

        (2) Plaintiffs have been caused to incur medical expenses and will in the future incur

        medical expenses an amount to be proven at trial;

        (3) Plaintiffs have been caused to undergo medical monitoring and will be required to

        undergo medical monitoring for the rest of Plaintiffs' lives an amount to be proven at

        trial ; and

        (4) Plaintiffs have been caused to suffer past, present and future fear and mental anguish

        concerning their present and future medical problems including but not limited to those

        associated with her injuries in an amount to be proven at trial .

                              COUNT XIV (PUNITIVE DAMAGES)

                                                 255.

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein.




                                                -73-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 119 of 225




                                                 256 .

       The conduct of each Defendant, as set forth herein above was intentional, willful,

wanton, oppressive, malicious, and reckless, evidencing such an entire want of care as to raise

the presumption of a conscious indifference to the consequences in that each Defendant acted

only out of self interest and personal gain.     Such conduct evidences a specific intent to cause

harm to Plaintiffs as provided under O.C.G .A . § 51-12-5.1 .        Accordingly, punitive damages

should be imposed against each Defendant (other than the AHP/WYETH Defendants) pursuant

O.C.G.A . § 51-12-S .1 and other applicable laws, to punish and deter each Defendant from

repeating or continuing such unlawful conduct.




WHEREFORE, Plaintiffs pray:

       (1)     That process issue according to law ;

       (2)     That each Defendant be served with a copy of Plaintiffs= Complaint and show

               causewhy the prayers for relief requested by each Plaintiff herein should not be

               granted ;

       (3)     That Plaintiffs be granted a trial by jury in this matter ;

       (4)     That the Court enter a judgment against each Defendant, jointly and severally, for

               all general and compensatory damages allowable to Plaintiffs under the terms of

               the National Settlement, to the extent it applies;

       (5)     That the Court enter a judgment against each Defendant, jointly and severally, for

               all special damages allowable to Plaintiffs under the terms of the National

               Settlement, to the extent it applies ;

       (6)     That the Court enter a judgment against each Defendant (other than the

                                                  74-
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 120 of 225




      AHP/WYETH Defendants) serving to award Plaintiffs punitive damages under the

      provisions of O.C .G .A . § 51-12-5.1 ;

(7) That the Court enter a judgment against each Defendant, jointly and severally, for all

      other relief sought by Plaintiffs under this Complaint in a manner consistent with the

      National Settlement, to the extent that it applies ;

(S)     That the costs of this action be cast upon Defendants ; and

(9)       That the Court grant Plaintiffs such further relief which the Court deems just and

          appropriate .




Respectfully submitted this 23`" day of June, 2003 .



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                                           _75_
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 121 of 225




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                                  76-
     Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 122 of 225




                1N THE STATE COURT OF FULTON COUNTY
                          STATE OF GEORGIA

RICHARD BROWN; MARY C. BROWN ; SANDRA JANSEN)
LAMARA MORRIS ; JAMES MORRIS ;                    )
CHERYL CRADDOCK ; CHRISTOPHER CRADDOCK ;          )
JOSEPH BANIEWICZ ; LINDA WILSON ;                 )
WILLIAM WILSON ; CHRISTINA BURCH;                 )
NANCY BROCK ; DENNIS BROCK; GEORGE LEWIS ;        ) CIVIL ACTION FILE
KATHLEEN RANSDELL ; LEWIS A. RANSDELL ;           ) NO. 2003 V5052187
GLORIA HUBER ; DONALD F. HUBER;                   )
THERESA PERFETTO ; SHANON KEENAN ;                )
ERIC KEENAN; TRACY FOINTNO ;                      )
ARZELLA WHITE ; MICHAEL MEAD; IRIS MEAD;          )
SYLVIA FITE ; WILLIAM L. FITE ;                   )
WILMA PARHAM; AMOROS ALEXANDER PARHAM;            )
CARITA MYRICK ; LILLIAN IDLETT ; EUGENE IDLETT ; )
ANGELA WHITFIELD ; MAX WHITFIELD ;               )
 KATHLEEN KNEZICH ; DEBORAH JONES ;              )
SUSAN THURNHERR ; LARRY THURNHERR ;              )
CHERYL BESEDICK ; REBECCA BOYETTE ;              )
CYNTHIA EDWARDS ;                                )
SYLVIA BROWN ; BRENDA WORLEY; JAMES WORLEY ; )
ELAINE DAVIDSON ; EDWARD DAVIDSON ;
PATRICIA GRANIERO; DONALD GRANIERO ;             )
GILLIAN PAWLICK; HELEN MOORE;                    )
MONIQUE MARCOUX ; ROCK MARCOUX ;                 )
SHIELA HAROLD ; CHARLES HAROLD ; LESA THOMAS ;
GARY THOMAS;                                     )
LUTHER PHILLIP CARTER; KAREN MOSLEY CARTER; )
HELEN BLANQUE; JOHN BLANQUE;MICHELLE CHICK;)
JOHN LANDWEHR ; DONNA LANDWEHR ;                 )
BEVERLY DAMS; JOEL ROSENBLATT;                   )
PAMELA TAYLOR ; KATHY BARKER ;       KEITH BARKER;
GLADYS HACKNEY ; LINDA WHITE ; WANDA CARTER; )
MARCEL CARTER; FLORENCE WILSON ;                 )
RONALD WILSON ; BARBARA STADLER;             )
KENNETH STADLER; CAROL CANNAROZZO ;          )
VICTOR CANNAROZZO Jr .; ANGELA GUAGLIANO;    )
NORMA JEAN ROBERTS; EARL SCOTT;              )
MARVELLE EDELIN; RHONDA TRACEY ;             )
FRANCIS CLARK; BARBARA HARTNETT ;            )
SALLY ROGALA ; PATRICIA FULLER ;             )
JOANN ABRAM; MARY SUGGS;
LEON SUGGS ; TAMMY FRYMAN ; RANDOLPH FRYMAN ; )
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 123 of 225




MINNIE FOX; KIMBERLY GREEN; JAMES PASTONIK ;
YVONNE RUTTERS; THOMAS RUTTERS;               )
DEBORAH GOOD; DONALD W. GOOD; ANETTE KELLY; )
MARILYN THOMPSON ; ALLEN NESTOR ; BLEN GARY ; )
and GENA WILSON                               )

      Plaintiffs,                                  )

VS.                                                )

WYETH, INC ., f/Wa AMERICAN HOME                   )
PRODUCTS CORPORATION ;                             )
WYETH PHARMACEUTICALS, INC f/k/a                   )
WYETH-AYERST PHARMACEUTICALS,                      )
INC ., a Division of American Home Products        )
Corporation ; INDEVUS                              )
PHARMACEUTICALS, INC ., f/k/a                      )
INTERNEURON PHARMACEUTICALS, INC .;                )
MEDEVA PHARMACEUTICALS, INC .;                     )
FISONS PHARMACEUTICALS ; CELLTECH                  )
PHARMACEUTICALS, INC .; GOLDLINE                   )
LABORATORIES, INC.; ZENITH-GOLDLINE                )
PHARMACEUTICALS, INC .;                            )
ROBERT L. SCOTT, a citizen of the State of         )
Georgia ; JOHN A. MOLNAR, a citizen of the         )
State of Georgia ; STEVEN KAISER a citizen of      )
the State of Georgia ; and JOHN DOE NOS.           )
1 B5,                                              )

      Defendants.                                  )




               AMENDED AND RECAST COMPLAINT FOR DAMAGES


      COME NOW, Plaintiffs, RICHARD BROWN, MARY C. BROWN, SANDRA JANSEN,

LAMARA MORRIS, JAMES MORRIS, CHERYL CRADDOCK, CHRISTOPHER

CRADDOCK,JOSEPH BANIEWICZ, LINDA WILSON, WILLIAM WILSON, CHRISTINA

BURCH, NANCY BROCK, DENNIS BROCK, GEORGE LEWIS, KATHLEEN RANSDELL,

LEWIS A . RANDSDELL, GLORIA HUBER, DONALD F. HUBER, THERESA PERFETTO,
    Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 124 of 225
                   1


SHANON KEENAN, ERIC KEENAN, TRACY FOINTINO, ARZELLA WHITE, MICHAEL

MEAD, IRIS MEAD, SYLVIA FITE, WILLIAM L. FITE, WILMA PARHAM, AMOROS

ALEXANDER PARHAM, CARITA MYRICK, LILLIAN IDLETT, EUGENE IDLETT,

ANGELA WHITFIELD, MAX WHITFIELD, KATHLEEN KNEZICH, DEBORAH JONES,

SUSAN THURNHERR, LARRY THURNHERR, CHERYL BESEDICK, REBECCA

BOYETTE, CYNTHIA EDWARDS, SYLVIA BROWN, BRENDA WORLEY, JAMES

WORLEY, ELAINE DAVIDSON, EDWARD DAVIDSON, PATRICIA GRANIERO,

DONALD GRANIERO, GILLIAN PAWLICK, HELEN MOORE, MONIQUE MARCOUX,

ROCK MARCOUX, SHIELA HAROLD, CHARLES HAROLD, LESA THOMAS, GARY

THOMAS, LUTHER PHILLIP CARTER, KAREN MOSLEY CARTER, HELEN

BLANQUE, JOHN BLANQUE, MICHELLE CHICK, JOHN LANDWEHR, DONNA

LANDWEHR, BEVERLY DAMS, JOEL ROSENBLATT, PAMELA TAYLOR, KATHY

BARKER, KEITH BARKER, GLADYS HACKNEY, LINDA WHITE, WANDA CARTER,

MARCEL CARTER, FLORENCE WILSON, RONALD WILSON, BARBARA STADLER,

KENNETH STADLER, CAROL CANNAROZZO, VICTOR CANNAROZZO, Jr., ANGELA

GUAGLIANO, NORMA JEAN ROBERTS, EARL SCOTT, MARVELLE EDELIN,

RHONDA TRACEY, FRANCIS CLARK, BARBARA HARTNETT, SALLY ROGALA,

PATRICIA FULLER, JOANN ABRAM, MARY SUGGS, LEON SUGGS, TAMMY

FRYMAN, RANDOLPH FRYMAN, MINNIE FOX, KIMBERLY GREEN, JAMES

PASTONIK, YVONNE BUTTERS, THOMAS BUTTERS, DEBORAH GOOD, DONALD W.

GOOD, ANETTE KELLY, MARILYN THOMPSON, ALLEN NESTOR, BLEN GARY, and




                                   3-
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 125 of 225
                           f

GENA WILSON in the matter above captioned and files this .amended and Recast Complaint

against Defendants as follows :

                                         INTRODUCTION

                                                  I.

        Plaintiff RICHARD BROWN is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valvular regurgitation which required surgical intervention as a result ofhis

ingestion, consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or

phentermine.

                                                  2.

        Plaintiff MARY C. BROWN is a citizen and resident of the State of Georgia, and has at all

times relevant hereto been married to Plaintiff Richard Brown.

                                                  3.

        Plaintiff SANDRA JANSEN is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentemune .

                                                  4.

        Plaintiff LAMARA MORRIS, is a citizen and resident of the State of Maryland suffering from

heart valve damage and/or valwlarregurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine.

                                                  5.

        Plaintiff JAMES MORRIS is a citizen and resident of the State of Maryland, and has at all

times relevant hereto been married to Plaintiff Lamas Morris.


                                                  4-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 126 of 225
                           f


                                                 6.

       Plaintiff CHERYL CRADDOCK is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .

                                                 7.

       Plaintiff CHRISTOPHER CRADDOCK is a citizen and resident of the State of Georgia, and

has at all times relevant hereto been married to Plaintiff Cheryl Craddock .

                                                 8.

        Plaintiff JOSEPH BANIEWICZ is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of his ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                 9.

        Plaintiff LINDA WILSON is a citizen and resident of the State of Maryland suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                 10.

        Plaintiff WILLIAM WILSON is a citizen and resident of the State of Maryland, and has at all

time relevant hereto been married to Plaintiff Linda Wilson .

                                                 11 .

       Plaintiff CHRISTINA BURCH is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine .


                                                  5-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 127 of 225




                                                  1z .
        Plaintiff NANCY BROCK is a citizen and resident of the State of North Carolina suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondimin(g), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                  13 .

        Plaintiff DENNIS BROCK is a citizen and resident of the State of North Carolina, and has at

all times relevant hereto been married to Plaintiff Nancy I. Brock .

                                                  14 .

        Plaintiff GEORGE LEWIS is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of his ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine .

                                                  15 .

        Plaintiff KATHLEEN RANSDELL is a citizen and resident of the State of Tennessee

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine.

                                                  16 .

        Plaintiff LEWIS A. RANSDELL is a citizen and resident of the State of Tennessee, and has at

all times relevant hereto been married to Plaintiff Kathleen J . Ransdell.

                                                  17 .

        Plaintiff GLORIA HUBER is a citizen and resident of the State of Louisiana suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming)), dexfenfluramine (ReduxT"'), and/or phentermine.


                                                 -6-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 128 of 225
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                                                 is.
       Plaintiff DONALD F. HUBER is a citizen and resident of the State of Louisiana, and has at all

times relevant hereto been married to Plaintiff Gloria Huber.

                                                 19.

        Plaintiff THEREA PERFETTO is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                20.

        Plaintiff SHANON KEENAN is a citizen and resident of the State of Indiana who is suffering

from heart valve damage and/or valwlar regurgitation which required surgical intervention as a result

of her ingestion, consumption and use of fenfluramine (Pondimin(g), dexfenfluramine (Reduxr"'),

and/or phentermine.

                                                21 .

       Plaintiff ERIC KEENAN is a citizen and resident of the State of Indiana, and has at all times

relevant hereto been married to Plaintiff Shanon Keenan.

                                             22 .
       Plaintiff TRACY FOINTINO is a citizen and resident of the State of Georgia who is suffering


from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Yondimint), dexfentluramine (Kedux' "'), and/or phentermine .

                                                23

       Plaintiff ARZELLA WHITE is a citizen and resident of the Commonwealth of Kentucky

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,




                                                -7-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 129 of 225
                           f


consumption and use of fenfluramine (Pondimin(g)), dexfenfluramine (RedtixT'"), and/or phentermine.



                                                 24 .

       Plaintiff MICHAEL MEAD is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fentluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .

                                                 25.

       Plaintiff IRIS MEAD is a citizen and resident of the State of Georgia, and has at all times

relevant hereto been married to Plaintiff Michael Mead.

                                                 26 .

       Plaintiff SYLVIA F1TE is a citizen and resident of the State of Georgia suffering from heart

valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                 27 .

        Plaintiff WILLIAM L. FITS is a citizen and resident of the State of Georgia, and has at all

times relevant hereto been marred to Plaintiff Sylvia C. Fite .

                                                 28 .

        Plaintiff W1LMA PARf1AM is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.

                                                 29 .




                                                  8-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 130 of 225




        Plaintiff AMOROS ALEXANDER PARfIAM is a citizen and resident of the State of

Georgia, and has at all times relevant hereto been married to Plaintiff Wilma J. Parham.

                                                  30 .

        Plaintiff CARITA MYRICK is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine.

                                                  31 .

        Plaintiff LILLIAN IDLETT is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine.

                                                  32.

        Plaintiff EUGENE IDLETT is a citizen and resident of the State of Georgia, and has at all

times relevant hereto been married to Plaintiff Lillian Idlett.

                                                  33 .

        Plaintiff ANGELA WHITFIELD is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfentluramine (ReduxT"'), and/or phentermine .

                                                  34.

        Plaintiff MAX WHITFIELD is a citizen and resident of the State of Georgia, and has at all

times relevant hereto been married to Plaintiff Angela Whitfield .

                                                  35 .




                                                  -9-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 131 of 225




       Plaintiff KATHLEEN KNFZICH is a citizen and resident of the State of New York suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'^), and/or phentermine .

                                                 36.

       Plaintiff DEBORAH JONES is a citizen and resident of the State of Ohio suffering from heart

valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondimin(ID), dexfenfluramine (ReduxTM), and/or phentermine .

                                                 37 .

       Plaintiff SUSAN THURNHERR is a citizen and resident of the State of New York suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (PondiminS), dexfenfluramine (ReduxTM), and/or phentermine .

                                                 38.

       Plaintiff LARRY THURNHERR is a citizen and resident of the State of New York, and has at

all times relevant hereto been married to Plaintiff Susan Thurnherr .

                                                 39.

       Plaintiff CHERYL BESEDICK is a citizen and resident of the State of Pennsylvania who is

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenflurdmine (Pondimin(&), dexfentluramine (Redux T"'), and/or phentemvne .

                                                 40.

       Plaintiff REBECCA BOYETTE is a citizen and resident of the State of Pennsylvania who is

suffering from heart valve damage and/or valvular regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondimin(k), dexfenfluramine (Redux T'"), and/or phentermine.


                                                 10-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 132 of 225




                                                 at .
       Plaintiff CYNTHIA EDWARDS is a citizen and resident of the District of Columbia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (PondiminO), dexfenfluramine (ReduxTM), and/or phentermine.

                                                 42 .

        Plaintiff SYLVIA BROWN is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.

                                                 43 .

        Plaintiff BRENDA WORLEY is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondimin@), dexfenfluramine (ReduxT'"), and/or phentermine .

                                                 44.

        Plaintiff JAMES WORLEY is a citizen and resident of the State of Georgia, and has at all

times relevant hereto been married to Plaintiff Brenda Worley .

                                                 45 .

        Plaintiff ELAINE DAVIDSON is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentertnine .

                                                 46.

        Plaintiff EDWARD DAVIDSON is a citizen and resident of the State of Georgia, and has at

all times relevant hereto been married to Plaintiff Elaine Davidson .


                                                -11-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 133 of 225




                                                 47.

        Plaintiff PATRICIA GRANIERO is a citizen and resident of the State of Georgia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondimin@), dexfenfluramine (ReduxT"'), and/or phentemune.

                                                 48.

        Plaintiff DONALD GRANIERO is a citizen and resident of the State of Georgia, and has at all

times relevant hereto been married to Plaintiff Patricia Graniero .

                                                 49.

        Plaintiff GILLIAN PAWLICK is a citizen and resident of the State of New York suffering

from heart valve damage and/or valvular regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfentluramine (ReduxTM), and/or phentermine .

                                                  50 .

        Plaintiff HELEN MOORS is a citizen and resident of the District of Columbia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.

                                                  51 .

        Plaintiff MONIQUE MARCOUX is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (PondiminO), dexfenfluramine (ReduxT"'), and/or phentermine.

                                                  52 .

        Plaintiff ROCK MARCOi1X is a citizen and resident of the State of Maryland, and has at all

times relevant hereto been married to Plaintiff Monique Marcoux .


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      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 134 of 225
                                                                        E
                                                 53 .

        Plaintiff SHEILA HAROLD is a citizen and resident of the State of Maryland suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT^"), and/or phentermine.

                                                 54 .

        Plaintiff CHARLES HAROLD is a citizen and resident of the State of Maryland, and has at all

times relevant hereto been married to Plaintiff Sheila Harold .

                                                 55 .

        Plaintiff LESA THOMAS is a citizen and resident of the State of Louisiana suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (PondiminO), dexfenfluramine (ReduxT"'), and/or phentertnine .

                                                 56 .

        Plaintiff GARY THOMAS is a citizen and resident of the State of Louisiana, and has at all

times relevant hereto been married to Plaintiff Lesa Thomas.

                                                 57 .

        Plaintiff LUTHER PHILLIP CARTER is a citizen and resident of the State of North Carolina

suffering from heart valve damage and/or valwlar regurgitation as a result of his ingestion,

consumption and use of fenflurantine (PondiminS), dexfenfluramine (ReduxT"'), and/or phentermine.

                                                 58 .

        Plaintiff KAREN MOSLEY CARTER is a citizen and resident of the State of North Carolina,

and has at all times relevant hereto been married to Plaintiff Phillip Luther Carter.

                                                 59 .


                                                  13-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 135 of 225




       Plaintiff HELEN BLANQUE is a citizen and resident of the State of Louisiana suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phenterntine .

                                                60.

        Plaintiff JOHN BLANQUE is a citizen and resident of the State of Louisiana, and has at all

times relevant hereto been married to Plaintiff Helen Blanque .

                                                61 .

        Plaintiff MICHELLE CHICK is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenflurarrtine (Pondimin&), dexfenfluramine (ReduxTM), and/or phentermine .

                                                62.

        Plaintiff JOHN LANDWEHR is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfentluramine (ReduxTM), and/or phentermine .

                                                63 .

        Plaintiff DONNA LANDW EHR is a citizen and resident of the State of Geogia, and has at all

times relevant hereto been married to Plaintiff John Landwehr.

                                                64 .

        Plaintiff BEVERLY DAVIS is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine .

                                                65 .


                                               -14-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 136 of 225




       PlaintiffJOSEPH ROSENBLATT is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondimin~OO ), dexfenfluramine (ReduxT"'), and/or phentermine.

                                                66.

        Plaintiff PAMELA TAYLOR is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (PondiminO), dexfenfluramine (ReduxTM), and/or phentermine .

                                                67 .

        Plaintiff KATHY BARKER is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                68 .

        Plaintiff KEITH BARKER is a citizen and resident of the State of Georgia, and has at all

times relevant hereto been married to Plaintiff Kathy Barker .

                                                69 .

        Plaintiff GLADYS HACKNEY is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondimin(g)), dexfenfluramine (ReduxTM), and/or phentermine .

                                                70 .

        Plaintiff LINDA WHITE is a citizen and resident of the State of Georgia suffering from heart

valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondimin(ft dexfenfluramine (ReduxT"'), and/or phentermine.


                                               -15-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 137 of 225




                                                 71 .

       Plaintiff WANDA CARTER is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                 72 .

       Plaintiff MARCEL CARTER is a citizen and resident of the State of Georgia, and has at all

times relevant hereto been marred to Plaintiff Wanda Carter .

                                                 73 .

       Plaintiff FLORENCE WILSON is a citizen and resident of the State of New York suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondimin&), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                 74.

       Plaintiff RONALD WILSON is a citizen and resident of the State of New York, and has at all

times relevant hereto been married to Plaintiff Florence Wilson .

                                                 75.

       Plaintiff BARBARA STADLER is a citizen and resident of the State of New York suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondimint), dexfenfluramine (ReduxT'"), and/or phentermine .

                                                 76.

        Plaintiff KENNETH STADLER is a citizen and resident of the State of New York, and has at

all times relevant hereto been married to Plaintiff Barbara Stadler.

                                                 77.


                                                  16-
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 138 of 225
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       Plaintiff CAROL CP.NNAROZZO is a citizen and resident of die State of New York suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fentluramine (PondiminO), dexfentluramine (ReduxT'"), and/or phentermine.

                                                78.

       Plaintiff VICTOR C.ANNAROZZO 1r. is a citizen and resident of the State of New York, and

has at all times relevant hereto been marred to Plaintiff Carol Cannarozzo .

                                                79.

       Plaintiff ANGELA GUAGLIANO is a citizen and resident of the State of New York suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondimin(k), dexfenflurunine (ReduxTM), and/or phentermine .

                                                80.

       Plaintiff NORMA JEAN ROBERTS is a citizen and resident of the State of Tennessee

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondimin(&), dexfentluramine (ReduXT"'), and/or phentermine.

                                                81 .

       Plaintiff EARL SCOTT is a citizen and resident of the Commonwealth of Virginia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.

                                                82 .

       Plaintiff MARVELLE EDELIN is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine.


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       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 139 of 225




                                                83 .

       Plaintiff RHONDA TRACEY is a citizen and resident of the State of Maryland suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .

                                                84 .

       Plaintiff FRANCIS CLARK is a citizen and resident of the State of Maryland suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .

                                                85 .

       Plaintiff BARBARA HARTNETT is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fentluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine .

                                                86 .

       Plaintiff SALLY ROGALA is a citizen and resident of the State of Maryland suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine.

                                                87 .

       Plaintiff PATRICIA FULLER is a citizen and resident of the State of Georgia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (PondiminO), dexfenfluramine (RedwcTM), and/or phentermine .

                                                88 .




                                               - 18-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 140 of 225




       Plaintiff JOANN ABRAM is a citizen and resident of the State of Louisiana suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiminft dexfenfluramine (ReduxT"'), and/or phentermine.

                                                89.

       Plaintiff MARY SUGGS is a citizen and resident of the State of North Carolina suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine.

                                                90.

       Plaintiff LEON SUGGS is a citizen and resident of the State of North Carolina, and has at all

times relevant hereto been marred to Plaintiff Mary Suggs .




                                                91 .

        Plaintiff TAMMY FRYIvIAN is a citizen and resident of the Commonwealth of Kentucky

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                92.

       Plaintiff RANDOLPH FRY[v1AN is a citizen and resident of the Commonwealth of Kentucky,

and has at all times relevant hereto been married to Plaintiff Tammy L. Fryman .

                                                93.

        Plaintiff MINNIE FOX is a citizen and resident of the State of Tennessee suffering from heart

valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine.


                                                 19-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 141 of 225




                                                 94 .

       Plaintiff KIMBERLY GREEN is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondimin3n), dexfenfluramine (ReduxT'"), and/or phentermine.

                                                 95 .

       Plaintiff JAMES PASTONIK is a citizen and resident of the Commonwealth of Virginia, and

has at all times relevant hereto been marred to Plaintiff Kim Green .

                                                 96.

       Plaintiff YVONNE RUTTERS is a citizen and resident of the State of West Virginia suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT"'), and/or phentermine .

                                                 97.

        Plaintiff THOMAS RUTTERS is a citizen and resident of the State of West Virginia, and has

at all times relevant hereto been married to Plaintiff Yvonne Rutters .

                                                 98.

        Plaintiff DEBORAH GOOD is a citizen and resident of the State of Maryland suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfenfluramine (ReduxTM), and/or phentermine.

                                                 99.

        Plaintiff DONALD W. GOOD is a citizen and resident of the State of Maryland, and has at all

times relevant hereto been married to Plaintiff Deborah L. Good .

                                                 100.


                                                -20-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 142 of 225
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         Plaintiff ANNETTE KELLY is a citizen and resident of the State of Maryland suffering from

heart valve damage and/or valvular regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiminft dexfenfluramine (ReduxT'"), and/or phentermine .

                                                  101 .

         Plaintiff MARILYN THOMPSON is a citizen and resident of the State of Maryland suffering

from heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and

use of fenfluramine (Pondiming), dexfenfluramine (ReduxT'"), and/or phentermine.

                                                  102.

         Plaintiff ALLEN NESTOR is a citizen and resident of the Commonwealth of Virginia

suffering from heart valve damage and/or valwlar regurgitation as a result of her ingestion,

consumption and use of fenfluramine (Pondiming), dexfenflurai»ine (ReduxT"'), and/or phentermine .

                                                  103.

         Plaintiff BLEN GARY is a citizen and resident of the District of Columbia suffering from

heart valve damage and/or valwlar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (Pondiming), dexfentluramine (ReduxT"'), and/or phentermine .

                                                  104.

         Plaintiff GENA WILSON is a citizen and resident of the State of Maryland suffering from

'- -   valve
       valve damage anwor vaivuiar regurgitation as a result of her ingestion, consumption and use of

fenfluramine (PondiminO), dexfenfluramine (ReduxT'"), and/or phentermine.

                                                  105.

         Each named Plaintiff, by virtue of certain defined damage to their heart incurred as a result of

their ingestion, consumption and use of fenfluramine (Pondiming), dexfenfluramine (Reduxr"'),


                                                   21-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 143 of 225
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and/or phentermine, is properly classified as a Brown class member ( Brown v. American Home

Products, et al ., U.S.D.C. E.D.Pa . Civil Action File No. 99-20593) holding claims which may be

properly opted out of the Nationwide Class Action Settlement Agreement With American Home

Products Corporation (hereinafter "National Settlement") under the terms and conditions of Pre-trial

Order No. 1415 entered in Multi District Litigation Proceeding 1203, pending in the United States

District Court for the Eastern District of Pennsylvania .

                                                          106.

         The injuries that are the subject of this Complaint were first diagnosed by echocardiograms

performed subsequent to September 30, 1999.

                                                          107.

         Each Plaintiff suffers from injury to their mitral and/or aortic valve that has been established as

being FDA Positive or greater by a board certified cardiologist .

                                                          108.

         Each named Plaintiff timely and properly filed an Intermediate and/or Back-End opt-out forth

with the Claims Administrator in compliance with the terms and conditions of the National

Settlement.

                                                          109.

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entitled to pursue the present action against the "AHP/WYETH Defendants" as defined herein

below.

                                                          110 .




                                                          22-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 144 of 225
                            f                                            f

        This action has been brought by each named Plaintiff for the purpose of recovering damages

for the personal injuries and damages they sustained as the result of their ingestion, consumption and

use of _fenfluramine (Pendimin~R,), dex :en :luramire (itzduxT'"), and/or phentermine . Defendants are

liable to Plaintiffs for their individual and collective acts, omissions, and involvement in developing,

testing, evaluating, securing govemment approval for, manufacturing, distributing, advertising,

conspiring to promote, monitoring and/or selling said drug compounds despite Defendants'

knowledge of the unreasonable risk of death and bodily injury associated with the use of said drugs

which was knowingly and purposely concealed by Defendants from the Plaintiffs, the Plaintiffs'

doctors, and others.

                                                 111 .

        Each named Plaintiff seeks to recover only those damages permitted under the terms and

conditions of the National Settlement in relation to the "AHP/WYETH Defendants ."

                                                 112.

        Each named Plaintiff seeks to recover all damages permitted under law against all other

Defendants in this action (i.e. all Defendants other than the "AHP/WYETH Defendants").

                                                 113 .

        The injuries sustained by Plaintiffs were the result of the acts and omissions of Defendants

committed both inside and outside the State of Georgia
                                                     .~ .




                                                 114.

        As a direct and proximate result of Defendants' purposeful concealment of the dangers

associated with the use of fentluramine, dexfenflutamine and phentermine, Plaintiffs have only

recently discovered and learned that that they wire injured and damaged by Defendants' misconduct.


                                                  23
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 145 of 225
                           t                                             f

Plaintiffs were prevented from discovering, and could not have discovered, their injuries and damages

earlier because of Defendants' fraudulent misrepresentations, conspiracy and concealment of facts and

information relating to the subject drugs as more specifically alleged below .

                                                 115.

       The Honorable Louis Bechde, formerly of the District Court for the Eastern District of

Pennsylvania made the following findings in his Order approving the Nationwide Class Action

Settlement with American Home Products in MDL Proceeding 1203 (In Re: Diet Drugs) :

       "The instant class has a great deal of cohesion in that the class was basically exposed

       to one substance, manufactured by one defendant over a relatively short period of

       time and suffers or is at risk of suffering one particular type of injury ." (PTO 1415 at

       p. 46)



       "Each class member's claims allege a common defect in the diet drugs and a common course

       of conduct by AHP with regard to developing and marketing those diet drugs." (PTO 1415 at

       p. 43)

       "[T]he court finds that common issues that pre-existed this settlement - -          involving a

       common product, defendant, and course of conduct - - when considered in light of the

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        1415 at p . 43)

       "Although there are some individual differences among class members, the common

       class-wide focus of AHP's knowledge and conduct predominate such that judicial

       efficiency will be improved through the class mechanism as opposed to relitigating the


                                                 24-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 146 of 225
                             f


        same issues in a series of individual cases . . .the class here involves a single defendant

        with essentially a single diet drug product ." (PTO 1415 at p. 42)



See Pretrial Order 1415 (MDL Proceeding 1203), 2000 WL 1222042 (E .D. Pa. August 8, 2000)

                                                   116 .

        The Honorable Harvey Bartle of the District Court for the Eastern District of Pennsylvania

made the following findings in his Order approving the joinder of multiple intermediate and back-end

opt out plaintiffs in single complaints in MDL Proceeding 1203 (In Re: Diet Drugs) :

        "We do not think that the joinder of multiple intermediate and back-end opt-out

        plaintiffs adversely affects the intentions or goals of the parties to the Settlement

        Agreement . Each such plaintiff in a joint trial is limited to compensatory damages,

        and each must prove his or her own individual claim. We are confident that in these

        circumstances, the appropriate limiting instructions to the jury will protect Wyeth

        from the dangers related to res judicata, collateral estoppel, issue preclusion and claim

        preclusion .

        In addition, we cannot ignore the interests ofjudicial economy which are at the heart

        of procedural rules allowing multiple joinder. They generally have the effect of saving

        the court=s time and reducing the parties' costs . They also allow cases, particularly in

        overburdened jurisdictions, to move to trial more quickly than if a blanket rule existed

        requiring each person's case to be instituted and tried separately ."

        See Pretrial Order 2627 (MDL 1203) at p. 3 (A copy of PTO 2627 is attached hereto as

Exhibit "A") .



                                                   25-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 147 of 225
                             (                                              f

                                                    117.

        The Honorable Penny Brown Reynolds of the State Court of Fulton County, Georgia recently

held not only that the claims of two (2) individuals alleging injuries as a result of their ingestion of diet

drugs were properly joined under O.C.G.A. § 9-11-20, but that said claims were properly joined for

trial as well . (See November 27, 2002 Order attached hereto as Exhibit "B").

                                                    118 .

        On December 6, 2002, the Honorable Penny Brown Reynolds of the State Court of Fulton

County, Georgia denied Defendants' Motion for Reconsideration of her November 27, 2002 Order

(Exhibit "B" attached hereto), and denied Defendant's request for a Certificate of Immediate Review .

(See December 6, 2002 Order attached hereto as Exhibit "C").

                                                    119.




                                                     26-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 148 of 225
                                f

        In Alexander v. Fulton County, 207 Fad 1303 (11 th Cir. 2000), the Eleventh Circuit Court of

Appeals discussed Federal Rule of Civil Procedure 20, the permissive joinder rule on which O.C .G.A.

§ 9-I 1-20 is teased . In .Alexander , eighteen plaintiffs sued a defendant for discriminatory practices .

Following discovery, the defendants moved to sever the plaintiffs' claims on the grounds that the

multiple claims would confuse the jury and unfairly prejudice the defendant . The district court denied

the motion . The Eleventh Circuit affirmed on appeal, noting that "the central purpose of Rule 20 is to

promote trial convenience and expedite the resolution of disputes, thereby eliminating unnecessary

lawsuits ." Id. at 1323 . The Court held that, even though each plaintiff had a different claim and

sought different relief, all of the plaintiffs' claims were "based on the same series of discriminatory

transactions by the same decision-maker in the same department during the same short time frame."

Id. at 1324 .

                                                  120.

        Plaintiffs claims are properly joined in this action under O .C.G.A. § 9-11-20, as they have

asserted rights to relief in respect of or arising out of the same transaction, occurrence, or series of

transactions or occurrences, and have alleged that multiple questions of law and fact common to all of

them will arise in this action. Further, judgment may be given for one of more of the plaintiffs

according to their respective rights to relief and against one or more of the defendant according to

their respective liabilities.

                                            DEFENDANTS

                                                  121 .

        Defendant, WYETH, INC . (formerly known as AMERICAN HOME PRODUCTS CORPORATION)

(,hereinafter ".AHP/WYETH" or "A}iP/WYETH Defendant," or "Manufacturer Defendant"), has its


                                                   27-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 149 of 225
                               f


principal place of business at 5 Giralda Farms, Madison, New Jersey . AHP/WYETH is incorporated

under the laws of the State of Delaware . At all times relevant hereto, AHP,rINYETH (itself and as a

successor :c A. H . Rebus Company
                          ; was and has been in the business of promoting, marketing,

distributing,   manufacturing and/or           selling the       pharmaceutical      drugs     fenfluramine       and/or

dexfenfluramine.      At all times relevant to this action, AHP/WYETH developed, manufactured,

promoted, marketed, distributed and/or sold the aforementioned drugs through interstate commerce

and in the State of Georgia, and otherwise did business in Georgia related to this cause .

                                                         122 .

        On March 11, ZOOZ AMERICAN HOME PRODUCTS CORPORATION changed its name to "Wvsn i"

Or "WYETH, INC ."


                                                         123 .

        Defendant AHP/WYETH may be served with a copy of summons and complaint through its

registered agent for service of process, Prentice-Hall Corp System, Inc . at 4345 Timmy Carter Blvd.,

Norcross, Gwinnett County, State of Georgia, 30093.

                                                         124.

        Defendant AHP/VJYETH is subject to the jurisdiction and venue of this court.

                                                         125 .

                                          . .. ., ~
        Defendant WyFrN PHARMACEUTICALS , ~Ur     . . ~;.
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Wyeth-Ayerst Pharmaceuticals, Inc .) (hereinafter "WYETH PHARMACEUTICALS" or "AHP/WYETH

Defendant" or "Manufacturer Defendant"), has its principal place of business at 555 Lancaster

Avenue, St. Davids, Pennsylvania 19087 . To the extent that WvE'n1 PHARMACEUTICALS does not

maintain its principal place of business at said address, it maintains its principal place of business at


                                                          28-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 150 of 225




500 Arcola Road, Collegeville, Pennsylvania 19426. WYETH PHARMACEUTICALS is incorporated

under the laws of the State of Delaware . At all times relevant hereto, WYETH PHARMACEUTICALS was

in the business of promoting, marketing, distributing, manufacturing and/or selling the pharmaceutical

drugs fenfluramine and /or dexfenfluramine .         At all times relevant to this action WYETH

PHARMACEUTICALS developed, manufactured, promoted, marketed, distributed and/or sold the

aforementioned drugs through interstate commerce and in the State of Georgia, and otherwise did

business in Georgia related to this cause.

                                                  126.

       On March 11, 2002 WverH-Avertsi PHARMACEUTICALS, INC . changed its name to "Wve'rH

PHARMACUETICALS ."


                                                  127.

       Defendant WYETH PHARMACEUTICALS may be served with a copy of summons and complaint

through the Georgia Secretary of State and/or at its principal place of business, 555 Lancaster

Avenue, St. Davids, Pennsylvania 19087 .

                                                 128.

       Defendant WYETH PHARMACEUTICALS is subject to the jurisdiction and venue of this court.

                                                 129.

       Defendantt~INl_lF_VI_1$P_H_A_R_MA(_'F_ .1_ITi_(_'AI $ IN(' lfnrr,,,,Pr1,y known as INTERN Ft~IDCITT


PHARMACEUTICALS, INC.) (hereinafter "9NTERNEURON" or "Manufacturer Defendant"), has

its principal place of business at One Ledgemont Center, 99 Hayden Avenue, Lexington,

Massachusetts . Defendant Intemeuron is incorporated under the laws of the State of Delaware . At

a!1 times relevant hereto, intemeuron was engaged in the business of manufacturing, distributing,


                                                 -29-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 151 of 225




promoting, marketing, and/or selling the pharmaceutical dexfenfluramine. At all times relevant hereto,

Interneuron developed, manufactured, promoted, marketed, and/or sold its products through

interstate commerce and in the State of Georgia, and otherwise did business in Georgia related to this

cause. Defendant Intemeuron is not registered with the Georgia Secretary of State as an entity

properly qualified to transact business within the State .

                                                  130.

        On April 2, 2002 INTFRNEURON PHARMACEUTICALS, INC . changed its name to

"INDEWS PHARMACEUTICALS."

                                                  131 .

        The National Settlement does not relate to, nor place any limitations upon, the claims asserted

by Plaintiffs against Defendant Intemeuron .

                                                  132 .

        Defendant Intemeuron may be served with a copy of summons and complaint, through the

Georgia Secretary of State and/or at its principal place of business, One Ledgemont Center, Suite

200, 99 Hayden Avenue, Lexington, Massachusetts, 02173.

                                                  133 .

        Defendant Interneuron is subject to the jurisdiction and venue of this court.

                                                  134.

        Defendant, MEDEVA PHARMACEUTICALS, INC. (hereinafter "MEDEVA" or

"Manufacturer Defendant'), is a corporation previously having its principal place of business at 14801

Sovereign Road, Ft. Worth, Texas . Defendant MEDEVA is incorporated under the laws of the State

of Texas.   Prior to the filing of the present action, MEDEVA entered into a series of mergers,


                                                 -30-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 152 of 225
                            f


including a merger with            CELLTECH     PHARMACEUTICALS,             INC.        CELLTECH

PHARMACEUTICALS, INC . currently serves as successor in interest MEDEVA. At all times

relevant hereto, MEDEVA was engaged in the business of manufacturing, distributing, promoting,

marketing, and/or selling the pharmaceutical phentermine. At all times relevant hereto, MEDEVA

developed, manufactured, promoted, marketed, and/or sold its products through interstate commerce

and in the State of Georgia, and otherwise did business in Georgia related to this cause.

                                                 135 .

        The National Settlement does not relate to, nor place any limitations upon, the claims asserted

by Plaintiffs against Defendant MEDEVA .

                                                 136.

        Defendant MEDEVA may be served with a copy of summons and complaint by service upon

its   successor   in   interest,   CELLTECH      PHARMACEUTICALS,              INC .     CELLTECH

PHARMACEUTICALS, INC .'s registered agent for service of process is C.T. Corporation System,

1201 Peachtree Street, Atlanta, Fulton County, State of Georgia, 30361 .

                                                 137.

        Defendant MEDEVA is subject to the jurisdiction and venue of this court .

                                                 138 .

        Defendant, FISONS CORPORATION (hereinafter "FISONS" or "Manufacturer Defendant"),

has its principal place of business at 755 Jefferson Road, Rochester, NY. Defendant FISONS is

incorporated under the laws of the State of Delaware . At all times relevant hereto, FISONS

manufactured, marketed, promoted, distributed and/or sold the pharmaceutical phentermine in




                                                -31-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 153 of 225




interstate commerce and in the State of Georgia, and otherwise did business in Georgia related to this

cause.

                                                  139.

         The National Settlement does not relate to, nor place any limitations upon, the claims asserted

by Plaintiffs against Defendant FISONS .

                                                  140.

         Defendant FISONS may be served with a copy of summons and complaint by service upon its

registered agent for service of process C.T. Corporation System, 101 Federal Street, Boston,

Massachusetts 02110 .

                                                  141 .

         Defendant FISONS is subject to the jurisdiction and venue of this court.

                                                  142

         Defendant, CELLTECH PHARMACEUTICALS, INC. (hereinafter "CELLTECH" or

"Manufacturer Defendant"), has its principal place of business at 755 Jefferson Road, Rochester, NY

14603 . Defendant CELLTECH is incorporated under the laws of the State of Delaware . Prior to the

filing of the present action, CELLTECH entered into a series of mergers and acquisitions, as a result

of which, it now serves as the successor in interest to Defendant MEDE V A . Defendant CELLTECH

is liable to Plaintiffs for the obligations and liabilities of Defendant MEDEVA as their successor in

interest.

                                                  143 .

         The National Settlement does not relate to, nor place any limitations upon, the claims asserted

by Plaintiffs against Defendant CELLTECH .


                                                 -32-
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 154 of 225




                                                   144.

        Defendant CELLTECH may be served with a copy of summons and complaint through its

registered agent for service of process, C .T . Corporation System at 1201 Peachtree Street, Atlanta,

Fulton County, State of Georgia, 30361 .

                                                   145 .

        Defendant CELLTECH is subject to the jurisdiction and venue of this court.

                                                   146.

        Defendant, GOLDLINE LABORATORIES, INC. (hereinafter "GOLDLINE LABS"),

maintains its principal place of business at 4400 Biscayne Boulevard, Miami, Florida 33137 .

Defendant GOLDLINE LABS is incorporated under the laws of the State of Florida . At all times

material hereto, Defendant GOLDLINE LABS was in the business of promoting, marketing,

developing, selling and/or distributing the pharmaceutical drugs phentermine hydrochloride,

fenfluramine hydrochloride and/or dexfenfluramine hydrochloride through interstate commerce and in

the State of Georgia, and otherwise did business in Georgia related to this cause. Defendant

GOLDLINE LABS is not registered with the Georgia Secretary of State as an entity properly

qualified to transact business within the State.

                                                   147.

        The National Settlement does not relate to, nor place any limitations upon, the claims asserted

by Plaintiffs against Defendant GOLDLINE LABS .

                                                   148 .




                                                   -33-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 155 of 225
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        Defendant GOLDLINE LABS may be served with a copy of summons and complaint through

the Georgia Secretary of State and/or at its principal place of business located at 4400 Biscayne

Boulevard, Miami. Florida 33137 .

                                                 149.

        Defendant GOLDLINE LABS is subject to the jurisdiction and venue of this court.

                                                   150.

        Defendant, ZENITH GOLDLWE PHARMACEUTICALS, INC. (hereinafter "Zenith"),

maintains its principal place of business at 4400 Biscayne Boulevard, Miami, Florida 33137 .

Defendant Zenith is incorporated under the laws of the State of Florida . At all times material hereto,

Defendant Zenith was in the business of promoting, marketing, developing, selling and/or distributing

the   pharmaceutical    drugs   phentermine hydrochloride,      fenfluramine   hydrochloride    and/or

dexfenfluraniine hydrochloride through interstate commerce and in the State of Georgia, and

otherwise did business in Georgia related to this cause. Defendant Zenith is not registered with the

Georgia Secretary of State as an entity properly qualified to transact business within the State .

                                                 151 .

        The National Settlement does not relate to, nor place any limitations upon, the claims asserted

by Plaintiffs against Defendant Zenith .

                                                 152.

        Defendant Zenith may be served with a copy of summons and complaint through the Georgia

Secretary of State and/or at its principal place of business located at 4400 Biscayne Boulevard,

Miami, Florida 33137.

                                                 153.


                                                -34-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 156 of 225




        Defendant Zenith is subject to the jurisdiction and venue of this court .

                                                  154 .

        Defendant ROBERT L . SCOTT !herein2fter defendant Scott or "AHP/VJYETH Defendant" is a

citizen of the State of Georgia residing at 660 St. Regis Lane, Alpharetta, Fulton County, State of

Georgia . At all times relevant to the allegations set forth under this Complaint Defendant Scott was

employed by Defendant Wyeth-Ayerst, its predecessor in interest, Lederle, and/or Defendant

AHP/WYETH .

                                                  155.

        Defendant Scott assisted Wyeth-Ayerst, Lederle and AHP/WYETH, as well as the other

Defendants, in the promotion, marketing, and sale of fenfluramine (Pondimin), dexfenfluramine

(Redux), and phentermine throughout portions of the United States, including but not limited to, the

state(s) in which Plaintiffs obtained or ingested the subject drug products .

                                                   156.

        Defendant Scott affirmatively undertook to provide materially false and misleading

information relating to the safety and efficacy of fenfluramine (Pondimin), dexfenfluramine (Redux),

and phentermine to various state medical boards, state pharmacy boards, and state regulatory entities

for the specific purpose of increasing the availability and sale of the subject drug products to Plaintiffs

and the general public by lobbying for the removal of restrictions on the consumption and sale of

fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine in the subject states.

                                                   157 .

        Defendant Scott, in his capacity as State Government Affairs Manager for various defendants,

was responsible for obtaining of government approval for the pharmaceutical drugs phentermine


                                                  -35-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 157 of 225




hydrochloride, fentluramine hydrochloride and/or dexfenfluramine hydrochloride so as to permit then

distribution, sale and consumption in the United States of America .

                                                 158 .

        Defendant Scott was also involved in a conspiracy with the named Defendants to conceal

certain information relating to the dangers associated with the subject drug products from the

consuming public, including but not limited to Plaintiffs.

                                                 159.

        Defendant Scott may be served with a copy of summons and complaint at his residence

located at 660 St . Regis Lane, Alpharetta, Fulton County, State of Georgia 30022.

                                                 160.

        Defendant Scott is subject to the jurisdiction and venue of this court .

                                                 161 .

        Defendant JOHN ("JACK") A. MOLNAR (hereinafter "Defendant Molnar" or "AHP/WYETH

Defendant") is a citizen of the State of Georgia residing at 740 Winston Drive, Lawrenceville,

Gwinnett County, State of Georgia . At all times relevant to the allegations set forth under this

Complaint, Defendant Molnar was employed by Defendant Wyeth-Ayerst, its predecessor in interest,

Lederle, and/or Defendant AHP/WYETH .

                                                 162.

        Defendant Molnar assisted Wyeth-Ayerst, Lederle and AHP/WYETH, as well as the other

Defendants, in the promotion, marketing, and sale of fenfluramine (Pondimin), dexfenfluramine

(Redux), and phentermine throughout portions of the United States, including but not limited to, the

state(s) in which Plaintiffs obtained or ingested the subject drug products .


                                                  36-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 158 of 225
                             f


                                                   163 .

        Defendant Molnar affirmatively undertook to provide materially false and misleading

information relative to the safety and efficacy of fenfluramine (Pondimin), dexfenfluramine (Redux),

and phentermine to various state medical boards, state pharmacy boards, and state regulatory entities

for the specific purpose of increasing the availability and sale of the subject drug products to Plaintiffs

and the general public by lobbying for the removal of restrictions on the consumption and sale of

fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine in the subject states .

                                                   164 .

        Prior to May 20,         1997, all Tennessee physicians (including Plaintiff KATHLEEN

RANSDELL, NOftMA JEAN ROBERTS, and MINNIE FOX's prescribing physicians) were

precluded by law from prescribing Pondimin, Redux, and phentermine to their patients .

                                                   165 .

        On May 20, 1997, Tennessee State Senate Bill No. 1343, which lifted the ban on prescrib ing

of Pondimin, Redux, and phentermine by Tennessee physicians (including KATHLEEN RANSDELL,

NORMA JEAN ROBERTS, and MINNIE FOX's prescribing physicians), was signed into law by

Tennessee Governor Don Sunquist .

                                                   166.

        In addition to lifting the ban on prescribing of Pondimin, Redux, and phentermine by

Tennessee physicians, Tennessee State Senate Bill No. 1343 also effectively prevented the Tennessee

Board of Medical Examiners from promulgating rules to limit physicians' (including KATHLEEN

RANSDELL, NORMA JEAN ROBERTS, and MINNIE FOX's prescribing physicians) abilities to




                                                    37-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 159 of 225




prescribe Pondimin, Redux, and phentermine, except where the patient being treated for obesity was

under eighteen (18) years of age.

                                               167 .

       Prior to the passage of Tennessee State Senate Bill No. 1343, Defendant Molnar petitioned

the Tennessee Board of Medical Examiners and the Tennessee legislature to give Tennessee

physicians (including KATHLEEN RANSDELL, NORMA JEAN ROBERTS, and MINNIE FOX's

prescribing physicians) the ability to prescribe Pondimin, Redux, and phentermine .

                                               168 .

       Defendant Molnar's efforts to have the ban on prescribing Pondimin, Redux, and phentermine

in Tennessee lifted were successful with the enactment of Tennessee State Senate Bill 1343 .

                                               169.

       According to a May 28, 1997 Wyeth memorandum, the passage of the Tennessee State

Senate Bill lifting the ban on prescribing of Pondimin, Redux, and phentermine by Tennessee

physicians (including KATHLEEN RANSDELL, NORMA JEAN ROBERTS, and MINNIE FOX's

prescribing physicians), was possible only through the excellent work and efforts of Defendant

Molnar and one other individual, with assistance from Wyeth's Tennessee sales force.

                                               170.

       The passage of Tennessee State Senate Bill No. 1343 was the direct result of material

misrepresentations made by Defendant Molar to Tennessee legislators, physicians, and citizens

relating to the safety and efficacy of Pondimin, Redux, and phentermine.

                                               171 .




                                               -38-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 160 of 225




        But for the passage of Tennessee State Senate Bill No. 1343, Plaintiffs KATHLEEN

RANSDELL, NORMA JEAN ROBERTS, and M1NN1E FOX, and possibly other Plaintiffs in this

action, would never have been prescribed Pondimin, Redux, and/or phentermine .

                                                 172.

        Defendant Molnar was further responsible for obtaining governmental approval for the

pharmaceutical drugs phentermine hydrochloride, fenfluramine hydrochloride (Pondimin) and/or

dexfenfluramine hydrochloride (Redux) so as to permit their distribution, sale and consumption in the

United States of America .

                                                  173.

        Defendant Molnar was also involved in a conspiracy with the named Defendants to conceal

certain information relating to the dangers associated with the subject drug products from the

consuming public, including but not limited to Plaintiffs .

                                                 174.

        Defendant Molnar may be served with a copy of summons and complaint at his residence

located at 740 Winston Drive, Lawrenceville, Gwinnett County, State of Georgia 30044 .

                                                  175.

        Defendant Molnar is subject to the jurisdiction and venue of this court .

                                                  176.

Defendant Steven Kaiser (hereinafter "Defendant Kaiser", "Sales Director Defendant", or

"AHP/WYETH Defendant") is a citizen of the State of Georgia residing at 595 Danas Ridge Drive,

Roswell, Fulton County, State of Georgia. At all times material hereto, this Defendant was in the

business of promoting, marketing, developing. selling and/or distributing the pharmaceutical drugs


                                                  39-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 161 of 225




phentermine, fenfluramine and/or dexfenfluramine in the States of Georgia, Tennessee, and Florida, as

well as other states in the southeastern United States . This Defendant was responsible for and

participated in the dissemination of false and misleading information, including but not limited to

safety and associated risks, regarding the pharmaceutical drugs phentermine, fenfluramine and/or

dexfenfluramine to physicians in the States of Georgia, Tennessee, and Florida, as well as other states

in the southeastern United States, including the physician(s) of Plaintiffs RICHARD BROWN,

CHERYL CRADDOCK, GEORGE LEWIS, KATHLEEN RANSDELL, TRACY FOINTINO,

MICHAEL MEAD, SYLVIA F1TE, WILMA PAR-HAM, CARITA MYRICK, LILLIAN IDLETT,

ANGELA WHITFIELD, SYLVIA BROWN, BRENDA WORLEY, ELAINE DAVIDSON,

PATRICIA GRANIERO,IOHN LANDWEHR, BEVERLY DAVIS, PAMELA TAYLOR, KATHY

BARKER, GLADYS HACKNEY, LINDA WHITE, WANDA CARTER, NORMA JEAN

ROBERTS, PATRICIA FULLER, and MINNIE FOX. Said Plaintiffs' physician(s) relied upon this

Defendant's false and misleading representations in prescribing phentertnine, fenfluramine and/or

dexfenfluramine to each Plaintiff, as well as other patients . This Defendant was also involved in a

conspiracy to conceal certain information relating to the dangers associated with the subject drug

products from the consuming public, including but not limited to Plaintiffs .

                                                 177.

         Defendant Kaiser was also involved in a conspiracy to conceal certain information relating to

the dangers associated with the subject drug products from the consuming public, including but not

limited to Plaintiffs .

                                                 178 .




                                                  4U -
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 162 of 225




        Defendant Steven Kaiser may be served with a copy of summons and complaint at 595 Danas

Ridge Drive, Roswell, Fulton County, State of Georgia 30075 .

                                                     179

        Defendant Kaiser is subject to the jurisdiction and venue of this court.

                                                    180

        Defendants JotiN DoE Nos . 1-5 are five separate persons, firms and/or corporations, who are

believed to be citizens of the State of Georgia whose identities are otherwise unknown at this time.

At all times material hereto, said Defendants were in the business of promoting, marketing,

developing, selling and/or distributing the pharmaceutical drugs phentertnine, fenfluramine and/or

dexfenfluramine . The John Doe Defendants were also involved in a conspiracy to conceal certain

information relating to the dangers associated with the subject drug products from the consuming

public, including but not limited to, Plaintiffs.

                                                     181

        Once the identities and whereabouts of each John Doe Defendant is established, said

Defendants will be served with a copy of summons and complaint as provided by law.

                                                    182

        The John Doe Defendants are subject to the jurisdiction and venue of this court.

                                    GENERAL ALLEGATIONS

                                                    183

        The drugs, fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine were widely

sold, distributed, promoted and advertised by the named Defendants, and various fictitious party

Defendants, as effective weight control products. Defendants sold and distributed the subject drugs


                                                    -41 -
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 163 of 225
                            E

in Georgia as well as other states and placed said drugs into the stream of commerce knowing that

they would enter the state(s) in which Plaintiffs resided and be consumed therein.

                                                 184

        Fenfluramine was one of the drugs prescribed in combination and promoted and referred to as

"fen/phen ." The AFIP/WYETH Defendants marketed fenfluramine under the trade name, Pondimin .

In doing so, the AHP/WYETH Defendants actively encouraged, and/or failed to effectively

discourage, the combined use of fenfluramine because they knew that the combined use would

increase sales of fenfluramine .

                                                 185

        The named Defendants, as well as the fictitious party Defendants, directly or indirectly, made,

created, manufactured, assembled, designed, sterilized, tested, evaluated, labeled, supplied, packaged,

marketed, advertised, warranted, distributed and/or sold the drugs fenfluramine (Pondimin),

dexfenfluramine (Redux), and phentemune. These same Defendants assisted in, and had control over,

the design, assembly, packaging, labeling, marketing, advertising, manufacturing distribution and sale

of the drugs fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine.

                                                 186

        At all times material hereto, all Defendants, including the fictitious party Defendants, either

knew or should have known that the drugs fenfluramine (Pondimin), dexfenfluramine (Redux), and

phentermine had been related to and associated with severe and life threatening complications.

                                                 187

        In 1965, the diet drug Aminorex was introduced in Europe . Aminorex was touted as a

wonder weight loss drug that worked by increasing brain serotonin and inhibiting reuptake of


                                                -42-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 164 of 225




serotonin .   However, by 1967 evidence began to surface that the ingestion of Aminorex was

associated with pulmonary hypertension. Over the next six years, an Aminorex epidemic raged in

Europe. There was a ten-fold increase in primary pulmonary hypertension cases. Half of the patients

died within ten years and the rest of the patients suffered significant oxygen deprivation and are

debilitated for the remainder of their lives . Aminorex was removed from the European market in

1972. The AHP/W YETH Defendants knew, or should have known, of the European experience with

Aminorex and how it would relate to AHP/WYETH's drugs Pondimin and Redux three (3) decades

later.

                                                 188

         In 1973, Pondimin was introduced into the United States market . Pondimin is a fenfluramine

drug and is in the same family of drugs as Aminorex, and is very similar to Aminorex. Pondimin was

touted as a wonder weight loss drug that w otked by increasing brain serotonin and inhibiting reuptake

of serotonin . However, because the drug when used alone made users lethargic and tired, sales of

Pondimin languished.

                                                 189

         In the year 1990, the Food and Drug Administration (FDA) approved fenfluramine for use as

a weight reduction drug for the short-term medical management of obesity. Since that time,

fenfluramine has been increasingly prescribed and used in combination with the drug phentermine to

maximize weight loss. This combination is commonly known as "fen-phen ."

                                                 190




                                                 43 -
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 165 of 225
                            f                                          t

        The AHPA1'YETH Defendants actively encouraged, and/or failed to effectively discourage,

the combined use of fenfluramine and phentermine because they knew that the combined use would

increase sales of fenfluramine .

                                                 191

        The "phen" portion of "fen-phen" consists of phentermine, an amphetamine which helps the

body bum calories faster and which serves to counteract the drowsiness caused by the "fen" portion

of the dosage consisting of fenfluramine, a drug which affected the serotonin levels in the brain .

Despite the fact that the concomitant use of fenfluramine and phentermine was never approved by the

FDA, the subject drugs were widely prescribed for use in combination with each other and/or with

dexfenfliiramine in place of fenfluramine, as promoters of weight loss.

                                                 192

        Dexfenfluiamine is the d-isomer of fenfluramine, containing essentially the same active

ingredient as fenflurdmine. The AHP/WYETH Defendants marketed dexfenfluramine under the trade

name Redux.

                                                 193

        The AHP/WYETH Defendants have known the serious side effects of fenfluraniine and/or

dexfenfluramine for a substantial period of time. These side effects were known or should have been

known to all Defendants at the time that they marketed the drugs to the public based on, among other

things, medical evidence of dangerous and potentially fatal side effects from the use of the drugs in

Europe and elsewhere, as detailed below. Defendants did not, however, conduct adequate testing to

establish the safety of the drugs before marketing them.      Rather, the Defendants aggressively

marketed the drugs and promoted their use, both individually and in combination with other drugs,


                                               -44-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 166 of 225
                          f


while downplaying evidence of the serious and potentially fatal side effects that consumers of these

drugs could face .

                                                  194

        Defendants undertook a willful wanton and reckless course of action and marketing strategy

which included advertising and promotional campaigns to aggressively promote and sell the subject

drugs by falsely misleading potential users about the products, by suppressing material facts, and by

failing to warn users about the serious health effects which Defendants knew or should have known

could result from the use of the subject drugs.

                                                  195

        This advertising campaign on the whole, through its affirmative misrepresentations and

omissions, falsely and fraudulently sought to create the impression and to convey to Plaintiffs and

others on whom Plaintiffs would rely, that the use of either fenfluramine or dexfenfluramine alone or

in combination with phentemiine as "fen-phen" was safe and had fewer adverse health and side effects

than was actually known to Defendants at the time they made these representations .

                                                  196

        Phentermine, fenfluramine and dexfenfluramine were aggressively marketed by Defendants,

often by encouraging unapproved off-label combination use of the products .

                                                  197

        Defendants, as manufacturers and distributors, or agents thereof, knew of and recklessly

encouraged the prevalence of off-label combination use of their drugs and failed to warn physicians

and consumers that the combination drug regimen was not FDA approved, was not recommended




                                                  45 -
            Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 167 of 225
                              f

and had not been systematically tested by appropriate clinical trials or follow-up reporting of adverse

effects .

                                                   198

            Defendants undertook a promotional campaign that included the placement of numerous

articles in scientific, medical and general interest magazines extolling the virtues of fenfluramine

combined with phentermine in order to induce widespread use of the product . Many of these articles

either cited or reported the results of studies that were funded by the AHP/WYETH Defendants.

Thus, the AHP/WYETH Defendants actively encouraged, or failed to effectively discourage,

combinations of these drugs.

                                                   199

            Defendants actively encouraged, or failed to effectively discourage, combinations of these

drugs by employing and/or contracting with commission based salespersons to promote the

widespread prescribing of fenfluramine and/or the combination of fenfluramine and phentermine to

patients that were not clinically obese.

                                                   200

            The marketing program as a whole, by affirmative misrepresentations and omissions, falsely

and fraudulently sought to create the image and impression that the use of fenfluramine, both

individually and/or in combination with nhentermine, was safe for human use, had fewer side effects

and adverse reactions than other methods of weight loss, constituted a convenient, safe form of

weight loss and would not interfere with daily life.

                                                   201




                                                  -46-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 168 of 225




       Defendants purposefully downplayed and understated the health hazards and risks associated

with fenfluramine and/or dexfenfluramine.

                                                202

       Defendants falsely and fraudulently concealed relevant information from doctors and potential

fenfluramine and/or dexfenfluramine users regarding the safety of fenfluramine                   and/or

dexfenfluramine .

                                                203

        In particular, the AHP/WYETH Defendants' marketing efforts as well as their product inserts,

falsely, fraudulently and negligently misrepresented a number of facts regarding fenfluramine and/or

dexfenfluramine, including the following :

        (1)    The presence of adequate testing of fenfluramine and the presence of adequate

               testing of any combination use of the product with phentermine ;

        (2)    Fenfluramine and/or dexfenfluramine's efficacy including but not limited to the

               severity, frequency and discomfort of side effects and adverse health effects

               caused by the drugs; and

        (3)    The relative risks associated with the drugs including the prevalence of

               pulmonary hypertension and primary pulmonary hypertension.

                                                204

        On October 3, 1981, Dr. 1.G . Douglas published Pulmonary Hvpertension and FenJluramine

in the British Medical Journal . On January 25, 1986 an article entitled Irreversible Pulmonary

Hypertension after Treatment with Fen/lurnmine, was published in the British Medical Journal .     The




                                               -47-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 169 of 225




AHP/W YETH Defendants knew, or should have known, of the British Medical Journal articles and

how those articles related to their drug Pondimin a decade later.

                                                 205

        In 1984, Dr. Michael Weintraub publishedA Double-Blind Clinical Trial in Weight Control:

Use of Fenfluramine and Phentermine Alone and in Combination in the Archives of Internal

Medicine .   Dr. Weintraub's study was supported by A .H . Robins (which was later acquired by

AHP/WYETH) . Despite noting some adverse effects associated with fenfluramine, Dr. Weintraub

entirely failed to examine the long-term safety of fenfluramine . Instead, the study focused on the

short-term effectiveness of the drugs used individually, and in combination .

                                                 206

        In 1992, Dr. Weintraub published a series of articles in Clinical Pharmacological Therapies, in

which he reported his research regarding the long term use of fenfluramine and phentermine for

weight control . Dr. Weintraub's research was supported by the AHPiWYETH Defendants.

                                                207.

        Dr. Weintraub's research assumed the safety of fenfluramine, and did not examine the short-

term or long-term safety of the drug. Further, the AHP/WYETH Defendants failed to conduct or

fund any studies or research regarding the long-term safety of the fenfluramine drug, Pondimin.

Nevertheless, the AHP/WYETH Defendants did promote to physicians and the public Dr.

Weintraub's conclusion that long term combination use of fenflwamine and phentermine was effective

for the management of obesity.

                                                 208 .




                                                -48-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 170 of 225




        By 1993, the AHP/W'YETH Defendants labeling for Pondimin indicated that there were only

4 reported cases of pulmonary hypertension reported in association with the drug. Yet, that same

year, Dr. Francois Brenot published Primary PuLnonai-v Htipertension and Feitflul-amine Use, in the

British Heart Journal . Dr. Brenot identified 25 cases of primary pulmonary hypertension associated

with the use of fen tluramine and/or dexfenfluramine . The AHP/WYETH Defendants knew or should

have known of the Brenot article. AHP/W YETH should have known by at least 1993 that Pondimin

was defective and unreasonably dangerous . AHP/WYETH should have known by at least 1993 that

AHP/WYETH's labeling of Pondimin was false .

                                                209.

        On June 24, 1994, AHP/WYETH Safety Surveillance Monitor, Amy Myers, wrote a memo to

AHP Medical Monitor, Fred Wilson, and indicated that AHP/WYETH's database contained 37 cases

of primary pulmonary hypertension associated with Pondimin.        Further, in February 1994, the

preliminary results of the International Primary Pulmonary Hypertension study ("IPPH Study")

entitled "Appetite Suppressants and the Risk of Primary Pulmonary Hypertension" was released and

available to the AHP/WYETH Defendants. The preliminary results of the IPPH Study confirmed the

association between fenfluramine and dexfenfluramine, and pulmonary hypertension and primary

pulmonary hypertension. The AHP/WYETH Defendants concealed the number of cases of primary

pulmonary hypertension associated with Pondimin that the AHP/WYETH Defendants knew existed in

order to continue to market Pondimin for profit .

                                                210

       On June 15, 1995 AHP/WYETH Defendants' James Ottinger, reported to Joseph Bathish the

status of the European Committee on Proprietary Medicinal Product's ("CPMP") phartnacovigilance


                                               -49-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 171 of 225




discussion wherein the CPMP working party concluded that a causal relationship between anorectic

agents, like fenfluramine and/or dexfenfluraniine, and the occurrence of primary pulmonary

hypertension had been established .




                                             -50-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 172 of 225




                                                  z1i
       The August 26, 1996 issue of the New England Journal of Medicine reported the final results

of IPPH Study, which had been preliminarily released in February 1994. The IPPH Study concluded

that fenfluramine-based anorexigens, such as fenfluramine and dexfenfluramine, increased the risk of

PPH by a multiple of more than 23 times.

                                                  212

        The AHP/WYETH Defendants were aware of the result of the IPPH study by at least

February 1994 . Nevertheless, the AHP/WYETH Defendants failed to apprise the public or physicians

that the risk of contracting PH or PPH was many, many multiples of that previously reported by the

AHP in their literature. Even after the Brenot article and the preliminary release of the 1PPH Study

the AHP/WYETH Defendants failed to remove Pondimin from the market when the AHP/WYETH

Defendants knew of the extreme danger, causal relationship and substantial risk of harm associated

with the use AHP's drug Pondimin.

                                                  213

        Even prior to their knowledge of the IPPH Study, the manufacturers and distributors of the

subject drugs knew about the risks of PPH associated with using the subject drugs from experience

with and subsequent banning of such drugs in various countries in Europe . Nevertheless, Defendants

failed to apprise Plaintiffs, the public at large, or physicians of these material facts and risks.

                                                  214

        The AHP/WYETH Defendants continued to promote Pondimin after learning of the extreme

danger associated with it. The AHP/WYETH Defendants continued to promote Pondimin knowing

the drug had no beneficial use . The AHP/WYETH Defendants labeling on the drug was totally


                                                  -51-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 173 of 225




inadequate to alert prescribing physicians and patients of the actual PH or PPH danger and risk

associated with its fenfluramine drug, Pondimin . The AHP/WYETH Defendants knew that danger

and that risk .

                                                 215

         Even after they knew of the danger the AHP/WYETH Defendants did not remove Pondimin

from the market and did not do any further testing of the drug .        Instead, the AHP/WYETH

Defendants continued to market the drug to prescribing physicians like the physicians that prescribed

the diet drugs to the Plaintiffs in this case.

                                                 216 .

         Further, in 1996 the AHP/WYETH Defendants introduced their dexfenfluramine drug, Redux

into the U.S. market despite the fact that the AHP/WYETH Defendants knew of the danger and risks

of primary pulmonary hypertension associated with Pondimin .

                                                 217.

         The AHP/WYETH Defendants did not adequately or appropriately disclose fenfluramine

and/or dexfenfluramine information or related drug information to physicians in the United States .

Instead the AHP/WYETH Defendants fraudulently concealed the pulmonary hypertension (PH) or

primary pulmonary hypertension (PPH) danger they knew of from physicians . As a result, physicians

have over-prescribed fenfluramine and/or dexfenfluramine drugs, Pondimin and Redux, to patients

who were grossly under-informed regarding the risk of PH or PPH associated with the drugs.




                                                 218.


                                                 -52-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 174 of 225




        Although the FDA approved phentermine and fenfluramine separately, the FDA never

approved the drugs for combined use. The AHP/WYETH Defendants knew of and encouraged the

prevalence of off-label combined use of their drues, and failed to adequately and appropriately warn

physicians and consumers that the combination drug regimen was not FDA approved, was hazardous

due to the presence of fenfluramine, was not recommended and had not been systematically tested by

appropriate clinical trials . Further, the AHP/WYETH Defendants fraudulently concealed, destroyed

and removed written evidence and/or intentionally misrepresented evidence supporting the association

between PH and/or PPH with fenfluramine and/or dexfenfluramine .

                                                 219.

        The AHP/WYETH Defendants failed to fully and adequately warn doctors, the public and/or

the Plaintiffs about the risk of pulmonary hypertension and primary pulmonary hypertension from

Pondimin and Redux.

                                                 220 .

        At all times relevant to this cause, Defendants also knew or should have known of many other

studies, regulatory actions and concerns, incidences of injury and/or death, concerns about the subject

drugs, safety among scientists, researchers, regulators and other knowledgeable professionals, the

dangers of drug combinations, meetings among pharmaceutical industry officers, executives or

employees (including Defendants), internal memos and reports of health concerns regarding the

subject drugs, the desire of Defendants to stop or delay regulatory action regarding the subject drugs,

the lack of sufficient safety studies before and during marketing of the subject drugs, the contents of

Defendants' own files, plans and reports, the danger of the off label use of medications, the desire of

Defendants to maximize profits despite safety concerns, safety concerns about the drugs which could



                                                -53-
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 175 of 225




block or change FDA approval, regulatory actions, reports of injury and concerns about the subject

drugs in Europe, case reports of pulmonary hypertension, regulatory efforts to make changes in the

warning and labels required on these products and the plans and actions of Defendants to fight such

changes (including supplying regulators with false or misleading information), warning labels on the

products designed so that they would be overlooked by physicians and users such as Plaintiffs,

statements by medical professionals regarding safety concerns for the subject drugs, the fact that

phentermine is an MOA1 drug which would be contra-indicated for usage with fenfluramine and

dexfenfluramine, prevalent usage of unsafe combinations of the subject drugs (as promoted by

Defendants) and adverse effects reported therefrom, the failure of Defendants to report incidences of

PPH resulting from the use of the subject drugs to regulators and health care professionals, false

information provided by sales representatives and others concerned with advertising and promoting

the subject drugs, efforts to derail regulatory review and oversight of the subject drugs, the

identification of groups most at risk of injury, the misrepresentation and concealment of reports

regarding adverse health effect of the subject drugs by Defendants from regulators and health care

professionals, and many other material facts regarding the subject drugs and which would have shown

the danger and adverse health effect of using the subject drugs . Nevertheless, Defendants did

suppress, misrepresent and failed to inform Plaintiffs, the public at large, or physicians of these

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                                        -- ae and promote unsafe usage by Plaintiffs and others.

                                                221 .

        Defendants, having undertaken the manufacture, sale, marketing, distribution and promotion

of the diet drugs described herein owed a duty to provide Plaintiffs, physicians, state regulators and

others upon whom it was known, or should have known, by Defendants that Plaintiffs would rely,


                                                -54-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 176 of 225




accurate and complete information regarding the subject drug products. Nevertheless, Defendants

misrepresented these facts, and failed to inform and did conceal from Plaintiffs, the public at large,

and physicians of the material facts and risks of using the subject drugs.

                                                 222 .

        Defendants fraudulently represented to Plaintiffs, Plaintiffs' physicians, state regulators and

others upon whom it was known, or should have been known that each Plaintiff would rely, that the

subject drugs were safe and effective, that the benefits of taking the subject drugs outweighed any

risks and misrepresented and concealed safety and effectiveness information regarding its products

including but not limited to the propensity to cause serious physical harm when used alone and in

combination . The continuous and ongoing course of action constituting fraud and misrepresentation

upon Plaintiffs started as early as 1993, if not earlier, and continued through repeated acts and non-

disclosure every year since then, in the State(s) in which the Plaintiffs reside, throughout the United

States, and elsewhere.

                                                 223.

        Defendants' fraudulent misrepresentations took the form of, among other forms, express and

implied statements, publicly disseminated misinformation, misinformation provided to state regulatory

agencies, inadequate, incomplete and misleading warnings about the subject products, failure to

disclose important safety and injury information regarding the products while having a duty to

disclose to Plaintiffs and others such information, and elaborate marketing, promotional, and

advertising activities designed to conceal and mislead regarding the safety of the subject products .

                                                 224.




                                                 -55-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 177 of 225




        The subject drug products were in fact unsafe, and the use of the subject drug products posed

a risk of injury and death that outweighed the purported benefits of their use, such that injury was in

fact caused to Plaintiffs and others .

                                                 225.

        Defendants failed to adequately wam Plaintiffs and those whom they knew Plaintiffs would

rely of the hazards associated with the use of the subject diet drug products and conspired to conceal

and did conceal this knowledge from Plaintiffs and others. As a result of this failure to wam, Plaintiffs

were caused to suffer the injuries and damages hereinafter set forth .

                                                  226.

        Plaintiffs were prescribed and/or ingested the drugs fenfluramine (Pondimin), dexfenfluraniine

(Redux), and/or phentermine for weight loss and suffered injury thereby .

                                                  227 .

        Although Defendants knew or should have known that dangerous risks were associated with

the use of fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine, Defendants

proceeded to or permitted the same to be advertised, promoted, distributed and sold without

adequate warnings of the serious side effects and dangerous risks . Defendants knew of and

encouraged the prevalence of off-label combination use of their drugs and failed to warn physicians

and consumers that the combination drug regimen was not FDA approved, was not recommended

and had not been tested by appropriate clinical trials .




                                                 -56-
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 178 of 225
                          f


                                                22s .
       The drugs fenfluramine, dexfenfluramine and phentertnine were defective and unreasonably

dangerous when they left the possession of Defendants in that, among ether ways :

       (4)    The subject drugs caused injury to the user far beyond any warned, noticed, expected

              or reasonable side effect or adverse reaction and when placed in the stream of

              commerce they contained unreasonably dangerous defects subjecting Plaintiffs to risks

               from expected or known usage, including bodily injury and death, which exceeded the

               benefits of the subject drugs;

       (5)     When placed in the stream of commerce the subject drugs were defective in design

               and formulation, making use of the drugs more dangerous than an ordinary consumer

               would expect and more dangerous than other risks associated with obesity and weight

               loss;

       (6)     The subject drugs contained insufficient and/or ineffective warnings to alert

               consumers and users to the risks of injury and death by PPH ;

       (7)     The subject drugs were insufficiently tested (singularly or in combination) ;

       (8)     There were insufficient instructions on the proper use of the subject drugs;

       (f)     There was misleading advertising and promotion concerning the safety and benefits of

               usiniz the subject drugs:

       (7)     There were inadequate post-marketing warnings or instructions because, after

               Defendants knew or should have known of the significant risks previously described,

               Defendants failed to provide adequate warnings to users and consumers, and/or their

               physicians, and continued to promote the sale and use of the subject drugs; and the


                                                -57-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 179 of 225




                subject drugs had not been materially altered or modified prior to the use of said drugs

                by Plaintiffs .

        (R)     Defendants were in the business of distributing and selling the products made the basis

                of this lawsuit.   Defendants sold and/or distributed these products in a defective

                condition that was unreasonably dangerous to the user or ultimate consumer of this

                product.     Each product was expected to and did reach the user and consumer

                Plaintiffs without substantial change in the condition at which it was sold .

                                                  229.

        As a direct and legal result of the defective condition of the drugs fenfluramine (Pondimin),

dexfentluramine (Redux), and phentermine, Plaintiffs have sustained and will continue to sustain

serious and permanent injuries, physical pain and suffering, impairment, disability, disfigurement,

mental anguish, loss of capacity for the enjoyment of life past and future ; time in life that could have

been spent doing things other than going to doctors, physically suffering, and undergoing medical

monitoring ; loss of earnings and loss of the ability to earn money in the past and the future ; expense

of hospitalization, medical and nursing care and treatment and medical monitoring in the past and in

the future ; fear and mental anguish concerning future medical problems associated with their injuries .

                                                  230

        Defendant Scott, Defendant Molnar, and certain John Doe Defendants each reside and work

in the State of Georgia. Said Defendants worked for or on behalf of the Manufacturing and

Distributing Defendants herein in the State of Georgia, and elsewhere throughout the United States,

at times relevant to this cause, and each actively and personally participated in the marketing,




                                                 -58-
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 180 of 225
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distribution, promotion and advertising in each state that the subject diet drugs were ultimately used

by Plaintiffs, resulting in injury to Plaintiffs.

                                                    231

         The tortious actions and misdeeds of Defendants as alleged herein are ongoing and at all times

relevant hereto were ongoing and continuous and constituted ongoing and continuous torts.

                   COUNT 1 (STRICT LIABILITY-DEFECTIVE PRODUCT)

                                                    232

         Plaintiffs adopt and re-alleges each paragraph above, as if fully set forth herein .

                                                    233

         The allegations set forth under Count 1 apply only to the Manufacturer Defendants as

identified hereinabove.

                                                    234

         The fenfluramine (Pondimin), dexfenfluramine (Redux ), and phentermine drugs which were

designed, developed, researched, manufactured, and/or supplied by the Manufacturer Defendants

were not merchantable nor reasonably suited to their intended use due to design defects in the subject

drugs.

                                                    235

         The risk of severe and life threatening complications and other side effects associated with use

of the subject diet drugs constituted dangers and risks which were inherent in the design of the drugs

that served to outweigh any utility the drugs may have had.

                                                    236.
          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 181 of 225




          The Manufacturer Defendants, individually and collectively, knew, or should have known, that

fenfluramine (Pondimin), dexfenfluramine (Redux), and phentertnine were, and are, dangerously

defective products that posed an unacceptable risk unknown to, and unknowable by, the consuming

public.

                                                   237 .

          Plaintiffs have suffered injury and have incurred damages as a direct and proximate result of

the design defects existing in regard to fenfluramine (Pondimin), dexfenfluramine (Redux), and

phentermine causing Defendants to be liable to Plaintiffs under the doctrine of strict liability due to

the defective nature of the subject drug products.

                     COUNT Il (STRICT LIABILITY FAILURE TO WARM

                                                   238 .

          Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                   239.

          The allegations set forth under Count II apply only to the Manufacturer Defendants as

identified hereinabove.

                                                   240.

          At the time the Manufacturer Defendants placed fenfluramine (Pondimin), dexfenfluramine

(Redux), and phentertnine into the stream of commerce for sale or consumption by Plaintiffs, said

Manufacturer Defendants failed to accompany said inherently dangerous products with sufficient

warnings to advise doctors or consumers of the health risks associated with the subject drugs.




                                                    60-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 182 of 225




                                                 Z41 .

        To the extent that any warning was provided by the Manufacturer Defendants with the subject

drug products, the warning was defective as it did net accurately reflect the true dangers associated

with the defective drug products and did not accurately serve to warn physicians or consumers of:

        (a) the true risks of injury associated with the products ;

        (b) the symptoms of such injuries ;

        (c) the scope of such injuries; or

        (d) the seventy of the known risks associated with these products .

                                                  242 .

        As a direct and proximate result of the Manufacturer Defendants' failure to provide adequate

warnings with the subject drug products, Plaintiffs have suffered injury and damages for which they

are entitled to recover .

                    COUNT Ill (STRICT LIABILITY FAILURE TO TEST)

                                                  243 .

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                  244.

        The allegations set forth under Count III apply only to the Manufacturer Defendants as

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                                                  245.

        The Manufacturer Defendants failed to perform adequate testing of the subject drug products

prior to placing said products in the stream ofcommerce, in that adequate testing would have shown




                                                 -61-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 183 of 225




that fenfluramine (Pondimin), dexfenfluramine (Redux), and phentermine each posed a substantial and

serious risk of harm to consumers of the drugs which were not accurately disclosed.

                                                 246.

        As a direct and proximate result of the Manufacturer Defendants' breach of their duty to

adequately test the subject drug products, Plaintiffs have suffered injury and damages for which they

are entitled to recover.

                                    COUNT IV (NEGLIGENCE)

                                                 247 .

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 248.

        At all times material hereto, each Defendant owed a duty to Plaintiffs to exercise reasonable

care in the design, manufacture, testing, processing, advertising, marketing, promotion, labeling,

assembling, packaging, distributing and selling of the subject diet drug products.

                                                 249.

        Defendants, individually and collectively, were negligent in their actions, misrepresentations,

and omissions toward Plaintiffs .

                                                 250.

        L~Fnlyntg qrPrr_ nPOlioent in_ their design . manufacture, processing, testing, advertising,
                            =--o---

marketing, promotion, labeling, assembling, packaging, distributing and/or selling the subject drugs

which they knew were unreasonably dangerous and carried with them significant side effects. Such

negligent acts include, but are not limited to the following:




                                                 -62-
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 184 of 225




(1)   Defendants acted negligently in designing, manufacturing, processing, advertising,

      marketing, promotion, testing, labeling, assembling, packaging, distributing and/or

      selling the drugs which they knew, or through the exercise of reasonable diligence

      should have known, were dangerous or unreasonably dangerous and carried with

      them significant side effects ;

(1)   Defendants acted negligently in failing to include adequate warnings with the drugs

      that would alert consumers and physicians to the potential risks and serious side

      effects of the drugs;

(2)   Defendants acted negligently in failing to adequately and properly test the drugs

      before placing the drugs on the market ;

(3)   Defendants acted negligently in failing to conduct sufficient testing on the drugs that,

      if properly performed, would have shown that the drugs had serious side effects ;

(4)   Defendants acted negligently in failing to warn Plaintiffs that use of the drugs should

      be accompanied by a professional examination and regularly scheduled follow-up

      examinations so that primary pulmonary hypertension (PPH) could be avoided and/or

      detected early;

(5)   Defendants acted negligently in failing to warn Plaintiffs that use of the drugs carried a

      risk of temporary or permanent disability due to primary pulmonary hypertension

      (PPH) while at the same time promoting dangerous use of the drugs alone and in

      combination ;

(6)   Defendants acted negligently in failing to warn Plaintiffs that use of the drugs carried a

      risk that heart transplant and lung transplant might become necessary to repair


                                        -63-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 185 of 225




                damages caused by the drugs; and

       (h)      Defendants acted negligently in failing to provide post-marketing warnings or

                instructions after Defendants knew or should have known of the significant risks of

                pulmonary and/or cardiovascular injury from the use of the drugs.

                                                  251 .

       Defendants knew or should have known that the drugs caused unreasonably dangerous risks

and serious side effects of which Plaintiffs would not be aware.              Defendants nevertheless

manufactured, packaged, advertised, marketed, promoted, sold and distributed the subject diet drug

products in a negligent manner knowing that there were safer methods and products for weight loss

and/or weight control .

                                                  252 .

        As a direct and proximate result of the negligence of Defendants, Plaintiffs have sustained, and

will continue to sustain in the future, serious and permanent injuries ; physical pain and suffering ;

impairment; disability ; disfigurement ; mental anguish ; loss of capacity for the enjoyment of life past

and future; time in life that could have been spent doing things other than going to doctors ; physically

suffering, and undergoing medical monitoring; loss of earnings ; loss of the ability to earn money in the

past and the future ; expense of hospitalization ; medical and nursing care and treatment and medical

monitoring in the past and in the future ; fear and mental anguish concerning future medical problems

associated with their injuries, and as otherwise set forth under this Complaint.

                           COUNT V (BREACH OF WARRANTIES)

                                                  253 .

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .


                                                 -64-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 186 of 225
                           E

                                                 254.

        When the Manufacturer Defendants and the John Doe Defendants placed the subject drugs

into the stream of commerce ; they knew of the use for which the drugs were intended (as diet aids

and weight loss medications), and expressly and impliedly warranted the products to be of

merchantable quality and to be safe and fit for such use .

                                                 255.

        Plaintiffs reasonably relied upon the expertise, skill, judgment and knowledge of the

Manufacturer Defendants and the John Doe Defendants and upon the express and/or implied warranty

that the drugs were of merchantable quality and fit for use for weight loss and/or weight control .

                                                 256.

        The drugs were not of merchantable quality and were not safe or ft for their intended use

because the products were, and are, unreasonably dangerous and unfit for the ordinary purposes for

which they were used, in that they caused injury to Plaintiffs and others far beyond any acceptable or

warned side effect . Said drug products were unduly dangerous in expected use and did cause undue

injury to Plaintiffs.

                                                 257 .

        As a direct and proximate result of the Manufacturer Defendants' and the John Doe

Defendants' breach of both implied and expressed warranties, Plaintiffs has suffered injuries and

sustained damages .




                                                 25$ .


                                                  65 -
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 187 of 225




        As a direct and proximate result of the breach of warranty by the Manufacturer Defendants

and the John Doe Defendants, Plaintiffs have sustained and will continue to sustain serious and

permanent injuries : physical pain and suffering ; mental pain and suffering ; impairment disability ;

disfigurement ; mental anguish ; loss of capacity for the enjoyment of life past and future ; time in life

that could have been spent doing things other than going to doctors ; physically suffering, and

undergoing medical monitoring; loss of earnings and loss of the ability to earn money in the past and

the future; expense of hospitalization, medical and nursing care and treatment and medical monitoring

in the past and in the future; fear and mental anguish concerning future medical problems including

but not limited to those associated with her injuries; and as otherwise set forth under this Complaint .

                        COUNT VI (FRAUD AND MISREPRESENTATION)

                                                  259.

        Plaintiffs adopt and re-allege each paragraph above as if fully set forth herein.

                                                  260.

        All Defendants, including Defendant Scott, Defendant Molnar, and the John Doe Defendants,

knew or should have known that the material representations they were making regarding the safety

and efficacy of the subject diet drug products were false, and made such misrepresentations with the

intent or purpose that Plaintiffs, Plaintiffs' physicians, state medical boards, state pharmacy boards,

state regulators, and others would rely upon them, leading to the ingestion and use of the subject

drugs by Plaintiffs .




                                                  261 .


                                                  -66-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 188 of 225




        At the time of Defendants' fraudulent misrepresentations and omissions, Plaintiffs were

unaware of the falsity of the statements being made, reasonably believed such statements to be true,

and acted in seasonable reliance upon such statements .

                                                   262.

        Defendants breached their duty to disclose to Plaintiffs (including those duties established

under 21 C.F.R §§ 1 .21 ; 99 .101 ; 201 .56; 201 .57; 310.303 ; 314.70; 314.80 ; & 314.81 as well as under

other laws of this State and others) by willfully and recklessly providing false, incomplete, and

misleading information regarding the subject drug products, and Defendants acted with deliberate

intent to deceive and mislead Plaintiffs, and those who Defendants knew or should have known each

Plaintiffs would rely upon in ingesting and using of the subject diet drugs .

                                                   263.

        Plaintiffs reasonably relied upon these inaccurate and fraudulent misrepresentations, and relied

upon the absence of adverse safety information about the drugs which Defendants did suppress,

conceal, or fail to disclose, and suffered damage and injury as a result thereof.

                                                   264.

        As a direct and proximate result of Defendants' willful, fraudulent and intentional

misrepresentations, made with the intent to deceive Plaintiffs and others, Plaintiffs have suffered

;_n_j~~ry and d__m__ages ; physical pain and suffering; mental gain and suffering; impairment ; disability ;

disfigurement ; mental anguish ; loss of capacity for the enjoyment of life past and future ; time in life

that could have been spent doing things other than going to doctors ; physically suffering, and

undergoing medical monitoring ; loss of earnings and loss of the ability to earn money in the past and

;he future ; expense of hospitalization, medical and nursing care and treatment and medical monitoring


                                                   -67-
                            c
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 189 of 225




in the past and in the future ; fear and mental anguish concerning future medical problems including

but nut limited to those associated with their injuries ; and as otherwise set forth under this Complaint.

          COUNT VII (NEGLIGENT AND RECKLESS MISREPRESENTATION)

                                                  265.

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                  266.

        Defendants negligently and recklessly represented to Plaintiffs, Plaintiffs' physicians, state

medical boards, state pharmacy boards, state regulators and other persons and professionals on whom

it was known by Defendants that Plaintiffs would rely, as well as the public at large, that the subject

diet drug products were safe to ingest and that the utility of these products outweighed any risk in use

for the intended purpose of weight loss and/or weight control . Also, by negligently failing to disclose

to Plaintiffs, and others for the benefit of Plaintiffs, important safety and injury information, thereby

suppressing material facts about the drugs, while having a duty to disclose such information, which

duty arose from their actions of making, marketing, lobbying in support of, promoting, distributing

and selling pharmaceutical products to Plaintiffs and others, Defendants further led Plaintiffs to rely

upon the safety of the product in its use.

                                                  267 .

                                    C ~o ~nl?nfc ~vt_['r r1P
        1 he false representations va                     .o_OI140]LYIV and   recklessly made, in that the

subject drug products in fact caused injury, were unsafe, and the benefits of their use were far

outweighed by the risk associated with use thereof. Defendants, individually and collectively,

committed acts of negligent misrepresentation and negligent concealment by suppressing material

facts relating to the dangers and injuries associated with, and caused by, the use of the subject drugs .


                                                  -68-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 190 of 225




                                                  268 .

         Defendants knew or should have known that their representations were false. Defendants

made such false, negligent and/or reckless representations with the intent or purpose that Plaintiffs

and Plaintiffs' physicians would rely upon such representations, leading to the use of the subject drugs

by Plaintiffs .

                                                  269.

         As a direct and proximate result of Defendants' negligent and reckless misrepresentations or

concealment of facts, upon which Plaintiffs reasonably relied, Plaintiffs have suffered injury and

sustained damages for which Defendants are liable .

                                                  270.

         In undertaking to disseminate the negligent and reckless misrepresentations set forth above,

Defendants intended to cause the deregulation, removal of restrictions on sale, and otherwise make

the subject diet drug products readily available to Plaintiffs and the general public for purchase and/or

use of the subject drug products solely to facilitate economic gain by Defendants . As a direct result

of the negligent and reckless misrepresentation of Defendants, Plaintiffs have sustained and will

continue to sustain serious and permanent injuries ; physical pain and suffering ; mental pain and

suffering ; impairment ; disability ; disfigurement ; mental anguish ; loss of capacity for the enjoyment of

life oast and future : time in life that could have been spent doing things other than going to doctors ;

physically suffering, and undergoing medical monitoring ; loss of earnings and loss of the ability to

earn money in the past and the future ; expense of hospitalization, medical and nursing care and

treatment and medical monitoring in the past and in the future ; fear and mental anguish concerning




                                                    69-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 191 of 225




future medical problems including but not limited to those associated with their injuries; and as

otherwise set forth under this Complaint.

    COUNT VIII (CONSPIRACY TO DEFRAUD AND FRAUDULENTLY CONCEAL)

                                                  271 .

         Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein.

                                                  272 .

         All Defendants, including Defendant Scott, Defendant Molnar, as well as the John Doe

Defendants, entered into a conspiracy to suppress and fraudulently misrepresent material information

that they were under a duty to disclose to Plaintiffs. In undertaking such conspiracy, Defendants

purposely failed to properly inform consumers, including Plaintiffs, of the health risks associated with

these products as known by Defendants. Defendants entered this conspiracy that included those acts

previously described concerning various studies and reports which were not disclosed to the

consuming public, and the other specific allegations regarding fraud and misrepresentation made

hereinabove.

                                                  273 .

         Defendants conspired together to commit the tort of fraud and misrepresentation upon

Plaintiffs, in the same manner as contained in the allegations of fraud, concealment and

misrepresentation stated above, knowing that same would lead to increased sales of said products and

personal gain to each Defendant with a proportionate increased incidence and risk of injury and death

to Plaintiffs .




                                                   70-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 192 of 225




                                                  274 .

        Each Defendant herein participated in combination in the conspiracy to defraud, conceal and

misrepresent, which conspiracy had an unlawful, oppressive, and immoral purpose (to increase profits

by increasing incidences and risks of death and injury) and/or achieved its purpose by unlawful,

oppressive and immoral means (the suppression and fraudulent misrepresentation of material facts

regarding important safety and health information which Defendants had a duty to disclose and

disseminate under applicable state and federal law) and did commit overt acts in furtherance of the

conspiracy, which was a legal cause of actual injury and damage to Plaintiffs.

                                                  275 .

        As a result of the conspiracy, Defendants made fraudulent misrepresentations to Plaintiffs and

others as set forth above, and important safety and injury information was concealed from and

misrepresented to Plaintiffs, and others upon whom Plaintiffs relied, with the intent that Plaintiffs

would rely upon the misrepresentations and absence of concealed information, as more specifically set

forth above.

                                                  276.

        As a result of the conspiracy, Plaintiffs relied upon the misrepresentations of fact as

specifically stated above, and did rely upon the absence of important safety and injury information,

and as a result was injured and suffered serious and permanent injuries ; physical pain and suffering ;

mental pain and suffering ; impairment ; disability ; disfigurement; mental anguish ; loss of capacity for

the enjoyment of life past and future ; time in life that could have been spent doing things other than

going to doctors ; physically suffering, and undergoing medical monitoring ; loss of earnings and loss

of the ability to earn money in the past and the fiture ; expense of hospitalization, medical and nursing


                                                 -71 -
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 193 of 225




care and treatment and medical monitoring in the past and in the future ; fear and mental anguish

concerning future medical problems including but not limited to those associated with her injuries; and

as otherwise set forth under this Complaint .

                      COUNT IX (JOHN DOE DEFENDANT LIABILITY)

                                                   277 .

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                   278 .

        The John Doe Defendants listed in this Complaint, whose identities at this time are unknown,

are also liable to Plaintiff in strict liability, negligence, breach of expressed and implied warranty,

fraud and misrepresentation, negligent and reckless misrepresentation, and conspiracy to defraud and

fraudulently conceal, as well as those other actions pled in this Complaint.

                                                   279.

        As a direct and proximate of the aforementioned illegal and toRious acts, Plaintiffs were

injured and suffered damages including, but not limited to: (permanent and ongoing into the future)

injury to Plaintiffs' hearts and other physical injuries; physical pain and suffering ; mental pain and

suffering ; impairment ; disability ; disfigurement ; mental anguish ; loss of capacity for the enjoyment of

life past and future ; time in life that could have been spent doing things other than going to doctors ;

physically suffering, and undergoing medical monitoring; loss of earnings and loss of the ability to

earn money in the past and the future; expense of hospitalization, medical and nursing care and

treatment and medical monitoring in the past and in the future ; fear and mental anguish concerning

future medical problems including but not limited to those associated with her injuries; and as

otherwise set forth under this Complaint .


                                                    72-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 194 of 225
                                f                                                   f

                    COUNT X (SALES DIRECTOR DEFENDANT LIABILITY)

                                                               280

        Plaintiffs adopt and :e-allege each paragraph above, as if fully set forth herein .

                                                              281 .

        The Sales Director Defendants, including those named as parties as well as those qualifying as

John Doe Defendants, are also liable to Plaintiffs in negligence, fraud and misrepresentation, negligent

and reckless misrepresentation, and conspiracy to defraud and fraudulently conceal, as well as those

other actions pled in this Complaint other than strict liability and breach of expressed and implied

warranty .

                                                              282 .

        Those positive tortious and overt acts by the Sales Director Defendants were committed in

their individual and representative capacity and include, but are not limited to, the following : the

Sales Director Defendants failed to convey adequate warnings to Plaintiffs through the prescribing

physicians; the Sales Director Defendants were in the business of marketing, promoting, selling and/or

distributing the unreasonably dangerous subject drug which has caused harm to Plaintiffs; the Sales

Director Defendants negligently distributed, marketed, advertised and/or promoted the unreasonably

dangerous subject drug; the Sales Director Defendants made negligent misrepresentations regarding

tII,P C?FPW   _*,d Pffr_=r_y of fFIP   11_flrCT$(1T19F1IV   dangerous subject drug ; the Sales Director Defendants

negligently failed to provide sufficient instructions to each Plaintiff and/or their prescribing

physician(s) regarding the use of the subject drug ; and the Sales Director Defendants acted

negligently in their hiring, supervision and retention of the sales representatives they oversaw in that

said Defendants knew or should have known that the field sales forces members acting under their


                                                                73 -
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 195 of 225




control were providing materially false and inaccurate information to Plaintiffs' physicians, and others

upon whom Plaintiff relied, relating to the safety and efficacy of the subject drug product.

                                                 7_$3 .

        As a direct and proximate result of such unlawful and tortious acts, Plaintiffs were injured and

suffered damages including, but not limited to: (permanent and ongoing into the future) injury to each

Plaintiffs gastrointestinal system and other physical injuries, physical pain and suffering, impairment,

disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life past and future ;

time in life that could have been spent doing things other than going to doctors, physically suffering,

and undergoing medical monitoring; loss of earnings and loss of the ability to earn money in the past

and the future ; expense of hospitalization, medical and nursing care and treatment and medical

monitoring in the past and in the future ; fear and mental anguish concerning future medical problems

as otherwise set forth under this Complaint.

                       COUNT XI (JOINT AND SEVERAL LIABILITY)

                                                 284.

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                 285.

        By virtue of their individual and collective acts and omissions, Defendants are jointly and

severally liable to Plaintiffs as such acts and omissions have proximately caused Plaintiffs to suffer a

single indivisible injury for which each Defendant is responsible .




                                                 -74-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 196 of 225
                               (                                          f

                                   COUNT XII (PLAINTIFF'S DAMAGES)


                                                   286.

         Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                   287 .

         As a result of the individual, combined and concurring acts and omissions of Defendants as set

forth herein above, each above-named Defendant, caused or contributed to cause the following

injuries to Plaintiffs :

         (1)      Plaintiffs have been caused to suffer physical injury, past, present and future pain and

                  suffering, disability, impairment, lost capacity to enjoy life, mental anguish, and lost

                  earnings in an amount to be proven at trial ;

         (2)      Plaintiffs have been caused to incur medical expenses and will in the future incur

                  medical expenses an amount to be proven at trial;

         (3)      Plaintiffs have been caused to undergo medical monitoring and will be required to

                  undergo medical monitoring for the rest of Plaintiffs' lives an amount to be proven at

                  trial; and

         (4)      Plaintiffs have been caused to suffer past, present and future fear and mental anguish

                  concerning their present and future medical problems including but not limited to

                  those associated with her injuries in an amount to be proven at trial .




                                   COUNT Mill (LOSS OF CONSTORTIUM)

                                                       288.

         Plaintiffs adopt and re-allege each paragraph above, as if filly set forth herein.


                                                  -75-
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 197 of 225




                                                    289.

       At all times material to this lawsuit, the ingesting Plaintiffs and their respective Spousal

                                                                                        married
Plaintiffs were marred, 'lived, aid continue to live as husband and wife . They were so
                                                                                          included
and living together at all times complained of herein and had a marital relationship that

all elements of consortium .

                                                     290.

        Prior to the ingestion of Pondimin and phentermine and/or Redux, each ingesting Plaintiff

                                                                                       well as
provided substantial services, care and assistance to his or her respective spouse, as

security, companionship, guidance, kindly offices and advice, income and support.

                                                     291 .

        As a direct and proximate result of negligence of the Defendants as alleged herein

                                                                                       suffered and
Plaintiffs were injured as set forth above and Plaintiffs spouses as named herein have

                                                                                               of
will continue to suffer a loss of their spouses consortium including but not limited to a loss

                                                                                           income
 services, care and assistance, society, companionship, comfort, guidance, kindly offices,

 and support.

                                                 292 .

         As a direct and proximate result of Defendants' willful and wanton disregard of, and

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                       IWII~ ..-       ~f
                                       - thp        , - - and of Plaintiffs. Plaintiffs' spouses
                                          - general mblic                                 -      have


 suffered a loss of consortium, entitling them to compensatory and punitive damages .




                                                  -76-
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 198 of 225
                           f

                               COUNT XIV (PUNITIVE DAMAGES)

                                                  293.

        Plaintiffs adopt and re-allege each paragraph above, as if fully set forth herein .

                                                  294.

       The conduct of each Defendant, as set forth herein above was intentional, willful, wanton,

oppressive, malicious, and reckless, evidencing such an entire want of care as to raise the presumption

of a conscious indifference to the consequences in that each Defendant acted only out of self interest

and personal gain. Such conduct evidences a specific intent to cause harm to Plaintiffs as provided

under O.C .G .A. § 51-12-S .1 .   Accordingly, punitive damages should be imposed against each

Defendant (other than the AHP/WYETH Defendants) pursuant O .C.G.A. § 51-12-S .1 and other

applicable laws, to punish and deter each Defendant from repeating or continuing such unlawful

conduct .




WHEREFORE, Plaintiffs pray:

        (1)     That process issue according to law;

        (2)     That each Defendant be served with a copy of Plaintiffs= Complaint and show cause

                why the prayers for relief requested by each Plaintiff herein should not be granted ;

        (3)     That Plaintiffs be granted a trial by jury in this matter ;

        (4)     That the Court enter a judgment against each Defendant, jointly and severally, for all

               general and compensatory damages allowable to Plaintiffs under the terms of the

                National Settlement, to the extent it applies;

        (5)     That the Court enter a judgment against each Defendant, jointly and severally, for all


                                                  _77_
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 199 of 225




       special damages allowable to Plaintiffs under the temps of the National Settlement, to

       the extent it applies ;

(6)    That the Court enter a judgment against each Defendant (other than the

       AHP/WYETH Defendants) serving to award Plaintiffs punitive damages under the

       provisions of O.C .G.A . § 51-12-5 .1 ;

(7)    That the Court enter ajudgment against each Defendant, jointly and severally, for all

       other relief sought by Plaintiffs under this Complaint in a manner consistent with the

       National Settlement, to the extent that it applies ;

(8)    That the costs of this action be cast upon Defendants; and

(9)    That the Court grant Plaintiffs such further relief which the Court deems just and

       appropriate .




Respectfully submitted this          day of                   12003 .




                        SCHLUETER, BUCK & CHILDERS
                        Robert C. Buck - Georgia Bar No. 092495
                        C. Andrew Childers - Georgia Bar No. 124398
                        940 Center Street
                        Conyers, Georgia 30012
                        (770) 388-9000




                        THE MATHIS LAW FIRM
                        Charles A. Mathis, Jr. - Georgia Bar No. 477025
                        The Equitable Building, ite 1400


                                          78-
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 200 of 225




                  Peachtree Street, N.W .
                  Atlanta, GA 30303




                                 -79-
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 201 of 225
             f




                 ASHCRAFT & GEREL, LLP
                 Michelle Parfitt - DC Bar No . 358592
                 (Pro Hac Vice Application filed herewith)
                 2000 L Street, Suite 400
                 Washington, DC 20036
                  (202)783-6400

                 Attorneys for Plaintiffs




                                   80 -
     Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 202 of 225




                                               DO NOT WRITE IN THIS SPACE
GEORGIA
FULTON COUNTY

STATE COURT OF FULTON COUNTY
       (Civil Division)

RICHARD BROWN; SANDRA JANSEN ;
LAM.4RA MORRIS ; CHERYL CRADDOCK ;
JOSEPH BANIEWICZ ; LINDA WILSON ;
CHRISTINA BURCN; NANCY BROCK; GEORGE LEWIS;
KATHLEEN RANSDELL ; GLORIA HUBER;
THERESA PERFETTO ; SIIANON KEENAN
TRACY FOINTNO ; ARZELLA WHITE;MICHAEL MEAD ;
SYLVIA FITE; WILMA PARHAM ;CARITA MYRICK ;
LILLIAN IDLETT ; ANGELA WHITFIELD;
KATHLEEN KNEZICH ; DEBORAH JONES ;
SUSAN THURNHERR ; `quit$
CYNTHIA EDWARDS ; SYLVIA BROWN;
BRENDA WORLEY ; ELAINE DAVIDSON;
PATRICIA GRANIERO ; GILLIAN PAWLICK ;
HELEN MOORS; MONIQUE MARCOUX ;
SHIELA HAROLD ; LESA THOMAS ; L.PHILLIP CARTER;
HELEN BLANQUE ; MICHELLE CHICK ;
JOHN LANDWEHR; BEVERLY DAMS ;
JOEL ROSENBLATT ; PAMELA TAYLOR ;
KATHY BARKER ; GLADYS HACKNEY; LINDA WHITE;
WANDA CARTER ; FLORENCE WILSON ;
BARBARA STADLER; CAROL CANNAROZZO;
ANGELA GUAGLIANO; NORMA JEAN ROBERTS;
EARL SCOTT ; 1VIARVELLE EDELIN ; RHONDA TRACEY ;
FRANCIS CLARK; BARBARA HARTNETT;
SALLY ROGALA ; PATRICIA FULLER ;
JOANN ABRAM; MARY SUGGS; TAMMY FRYMAN
MINNIE FOX; KIMBERLY GREEN; YVONNE RUTTERS;
DEBORAH GOOD; ANETTE KELLY ;
MARILYN THOMPSON ; ALLEN NESTOR ; BLEN GARY;
And GENA WILSON
   (Plaintiffs Name and Address)
                VS.

WYETH, INC., f/Wa AMERICAN HOME
PRODUCTS CORPORATION;                          TYPE of SUIT        AMOUNT OF SUIT
WYETH PHARMACEUTICALS, INC f/k/a                  Account       Principal $
WYETH-AYERST PHARMACEUTICALS,                  Contract
INC ., a Division of American Home Products,   Note             Interest $
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 203 of 225




Corporation; LVDEVUS                          -Tort
PHARMACEUTICALS, INC., Uk/a                      Trover           Atty. Fees$
INTERNEURON PHARMACEUTICALS, INC.; Special Lien
MEDEVA PHARMACEUTICALS, INC. ;                   Foreign Judgment Ct. Costs $
FISONS PHARMACEUTICALS; CELLTECH X Personal Injury
PHARMACEUTICALS, INC.; GOLDLINE
LABORATORIES, INC.; ZENITH-GOLDLINE
PHARMACEUTICALS, INC.;
ROBERT L. SCOTT, a citizen of the State of Georgia;
JOHN A. MOLNAR, a citizen of the State of
Georgia; STEVEN KAISER a citizen of the
State of Georgia ; and JOHN DOE NOS. 1- 5,
   (Defendant's Name and Address)

                  SUMMONS

TO THE ABOVE-NAMED DEFENDANT :
You are hereby required to file with the Clerk of said Court and to serve a copy on the Plaintiff's Attorney, or on
Plaintiff if no Attorney, to-wit :


Robert C. Buck                                                   X NEW FILING
 (Name)                                                            REFILING
940 Center Street, Conyers, GA 30012                               PREVIOUS CASE
 (Address)
770-388-9000
 (Phone No.)

an Answer to the Complaint which is herewith served on you, within (30) days after service on you, exclusive of the
day of service. If you fail to do so, judgment by default will betaken against you for the relief demanded in the
Complaint, plus cost of this action .


                                                                DEPUTY CLERK

                                           WRITE VERDICT HERE
We, the Jury, find for



This                day of                           200


                                                                FOREPERSON
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 204 of 225




                    IN THE STATE COURT OF FULTON COUNTY
                              STATE OF GEORGIA


RICHARD BROWN ; SANDRA JANSEN ;                    )
LAMARA MORRIS ; CHERYL CRADDOCK ;                  )
JOSEPH BANIEWICZ; LINDA WILSON ;                   )
CHRISTINA BURGH ; NANCY BROOK; GEORGE LEWIS ;      )   CIVIL ACTION FILE
KATHLEEN RANSDELL ; GLORIA HUBER;                  )    NO.
THERESA PERFETTO ; SHANON KEENAN                   )
TRACY FOINTNO; ARZELLA WHITE ; MICHAEL MEAD;       )
SYLVIA FITE; WILMA PARHAM ;CARITA MYRICK;          )
LILLIAN IDLETT; ANGELA WHITFIELD;                  )
KATHLEEN KNEZICH; DEBORAH JONES ;                  )
SUSAN THURNHERR;     1'tlpjAil1~~1`f               )
CYNTHIA EDWARDS ; SYLVIA BROWN;                    )
BRENDA WORLEY ; ELAINE DAVIDSON ;                  )
PATRICIA GRANIERO; GILLIAN PAWLICK;                )
HELEN MOORS ; MONIQUE MARCOUX ;                    )
SHIELA HAROLD ; LESA THOMAS ; L.PHILLIP CARTER ;   )
HELEN BLANQUE; MICHELLE CHICK;                     )
JOHN LANDWEHR ; BEVERLY DAVIS ;                    )
JOEL ROSEIYBLATT; PAMELA TAYLOR ;                  )
KATHY BARKER ; GLADYS HACKNEY; LINDA WHITE ;       )
WANDA CARTER; FLORENCE WILSON ;                    )
BARBARA STADLER; CAROL CANNAROZZO ;                )
ANGELA GUAGLIANO ; NORMA JEAN ROBERTS;             )
EARL SCOTT; MARVELLE EDELIN ; RHONDA TRACEY ;      )
FRANCIS CLARK; BARBARA HARTNETT ;                  )
SALLY ROGALA ; PATRICIA FULLER ;                   )
JOANN ABRAM ; MARY SUGGS; TAMMY FRYMAIY            )
MINNIE FOX; KIMBERLY GREEN ; YVONNE BUTTERS;       )
DEBORAH GOOD; ANETTE KELLY;                        )
MARILYN THOMPSON ; ALLEN NESTOR ; BLEN GARY;       )
And GENA WILSON

      Plaintiffs,                                  )

VS.                                                )

WYETH, INC ., f/k/a AMERICAN HOME                  )
PRODUCTS CORPORATION ;                             )
WYETH PIiARD'LICEUTICALS, INC f/k/a                )
VVYETH-AYERST PHARMACEUTICALS,                     )
INC ., a Division of American Home Products        )
Corporation ; INDEVUS                              )
         Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 205 of 225




PHARMACEUTICALS, INC., f/k/a
INTERN EURON PHARMACEUTICALS, INC.;
MEDEVA PHARMACEUTICALS, INC .;
FISONS PHARMACEUTICALS; CELLTECH
PHARMACEUTICALS, INC. ; GOLDLINE
LABORATORIES, INC.; ZENITH-GOLDLINE
PHARMACEUTICALS, INC. ;
ROBERT L. SCOTT, a citizen of the State of
Georgia; JOHN A. MOLNAR, a citizen of the
State of Georgia; STEVEN KAISER a citizen of
the State of Georgia ; and JOHN DOE NOS.
1 -5,

         Defendants.


      APPLICATION OF MICHELLE PARFITT FOR ADMISSION PRO HAC VICE

          Pursuant to U.S.C .R . 4.4, Michelle Parfitt hereby respectfully applies to this Honorable Court

for leave to appear on behalf of the Plaintiffs in the above-styled action.

         Michelle Parfitt is a member of the law firm of Ashcraft & Gerel, LLP, located at 2000 L

Street, Suite 400, Washington, DC 20036. Ashcraft & Gerel, LLP's office telephone number is

(202)783-6400.

         Michelle Parfitt is duly licensed to practice law in the District of Columbia .


         Michelle Pitt has associated with Charles A. Mathis, Jr., Robert C. Buck and C . Andrew

Childers, all of whom are residents of the State of Georgia, and all of whom are duly and regularly

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                                             ., .^.l:L:S Cf ..~'.e State OFr
                                                                           :e.^. :6 :3.


         Charles A. Mathis, Jr. is a member of The Mathis Law Firm, located at The Equitable

Building, Suite 1400, 100 Peachtree Street, N .W., Atlanta, GA 30303. The telephone number of The

Mathis Law Firm is (404) 523-5000.

         Robert C. Buck and C. Andrew Childers are members of the law firm Schlueter, Buck &

rhilders, located at 940 Center Street, Conyers, Georgia 30012. The telephone number of Schlueter,
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 206 of 225




Buck & Childers is (770) 388-9000 .

       Service may be had upon Charles A. Mathis, Jr., as well as Robert C . Buck and C . Andrew

Childeis in all matters connected with the above-styled action with the same effect as though

personally made upon Michelle Parfitt.

       This the 23`° day of June, 2003.




                                             /s/ Michelle Parfitt
                                      ASHCRAFT & GEREL, LLP
                                      Michelle Parfitt - DC Bar No. 358592
                                      2000 L Street
                                      Suite 400
                                      Washington, AC 20036
                                      (202)783-6400




                                             /s/ Charles A. Mathis, Jr.
                                      THE MATHIS LAW FIRM
                                      Charles A. Mathis, Jr. - Georgia Bar No . 477025
                                      The Equitable Building
                                      Suite 1400
                                      100 Peachtree Street, N.W.
                                      Atlanta, GA 30303
                                      (404) 523-5000


                                             /s/ C. Andrew Childers
                                      SCHLUETEIt, BUCK & CHILDERS
                                      Robert C. Buck - State Bar of Georgia No. 092495
                                      C. Andrew Childers - State Bar of Georgia No. 124398
                                      940 Center Street
                                      Congers, Georgia 30012




                                                 3
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 207 of 225




                    1N THE STATE COURT OF FULTON COUNTY
                              STATE OF GEORGIA

RICHARD BROWN ; SANDRA JANSEN ;                    )
LAMARA MORRIS ; CHERYL CRADDOCK ;                  )
JOSEPH BANIEWICZ ; LINDA WILSON ;                  )
CHRISTINA BURCH ; NANCY BROCK; GEORGE LEWIS;       )   CIVIL ACTION FILE
KATHLEEN RANSDELL ; GLORIA HUBER;                  )    NO.
THERESA PERFETTO ; SHANON KEENAN                   )
TRACY FOINTNO; ARZELLA WHITE; MICHAEL MEAD;        )
SYLVIA FITE; W1LMA PARHAM;CARITA MYRICK ;          )
LILLIAN IDLETT ; ANGELA WHITFIELD;                 )
KATHLEEN KNEZICH; DEBORAH JONES ;                  )
SUSAN THURNHERR; (°'~~H                            )
CYNTHIA EDWARDS; SYLVIA BROWN;                     )
BRENDA WORLEY ; ELAINE DAVIDSON ;                  )
PATRICIA GRANIERO ; GILLIAN PAWLICK;               )
HELEN MOORS; MONIQUE MARCOUx ;                     )
SHIELA HAROLD ; LESA THOMAS ; L.PHILLIP CARTER ;   )
HELEN BLANQUE; MICHELLE CHICK;                     )
JOHN LANDWEHR ; BEVERLY DAVIS;                     )
JOEL ROSENBLATT ; PAMELA TAYLOR ;                  )
KATHY BARKER ; GLADYS HACKNEY; LINDA WHITE;        )
WANDA CARTER ; FLORENCE WILSON ;                   )
BARBARA STADLER; CAROL CANNAROZZO ;                )
ANGELA GUAGLIANO; NORMA JEAN ROBERTS;              )
EARL SCOTT; MARVELLE EDELIN ; RHONDA TRACEY ;      )
FRANCIS CLARK; BARBARA HARTNETT ;                  )
SALLY ROGALA ; PATRICIA FULLER ;                   )
JOANN ABRAM; MARY SUGGS; TAMMY FRYMAN              )
MINNIE FOX; KIMBERLY GREEN; YVONNE RUTTERS;        )
DEBORAH GOOD; ANETTE KELLY ;                       )
MARILYN THOMPSON ; ALLEN NESTOR ; BLEN GARY ;      )
And GENA WILSON                                    )

      Plaintiffs,                                  )

VS.                                                )

WYETH, INC ., f/k/a AMERICAN HOME                  )
PRODUCTS CORPORATION ;                             )
WYETH PHARMACEUTICALS, INC f/k/a                   )
WYETH-AYERST PHARMACEUTICALS,                      )
INC ., a Division of American Home Products        )
Corporation ; 1NDEVUS                              )
PHARMACEUTICALS, INC ., f/k/a                      )
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 208 of 225




INTERNEURON PHARAIACEUTICALS, INC.;
MEDEVA PHARMACEUTICALS, INC.;
FISONS PHARMACEUTICALS ; CELLTECH
PHARMACEUTICALS, INC .; GOLDLINE
LABORATORIES, INC .; ZENITH-GOLDLINE
PHARMACEUTICALS, INC . ;
ROBERT L. SCOTT, a citizen of the State of
Georgia ; JOHN A. MOLNAR, a citizen of the
State of Georgia; STEVEN KAISER a citizen of
the State of Georgia; and JOHN DOE NOS.
1-5,

       Defendants.



      ORDER APPROVING THE APPLICATION OF MICHELLE PARFITT FOR
                      ADMISSION PRO HAC VICE

       The Application of Michelle Pitt for Admission Pro Hac Vice having come before this

Court, and the Court having read and considered the same, and for good cause shown, it is

ORDERED that said Application be granted, and that Michelle Parl'ittbe admitted to practice in this

Court pro hac vice.


       SO ORDERED THIS                 DAY OF                        -- , 2003 .



                                      Judge, Superior Court of Fulton County




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Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 209 of 225




                              M TIM USITID STATES DISTRICT COURT
                            !OR TlR ZATlRRll DISTRICT OF MWaYLVANIA


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         DEOPSITFLURMCENE) PRODUCTS
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         XMILIk BROW, at al .

                       o.

         AMMCNI IK*M PRODUCTS
         COAPOAISIOW                         I      CIVIL ACTION 90 . 99-90591




         Bartle, J .                                              October 17, 2002
                       Whether multiple joinder of parties, other than
         derivativs claimants,       in permitted under the settlement Agreement

         approved 1A Pretrial Order No .         ( "710") 115 in apt-wt eases ham

         been at ncicring but undecided question .         we he" been advised

         that thaw Arm, pandicp a number of state cart actions with

         multiple plaintiffs she have exercised opt-we rights pursuant to

         the Battlement Agreement .       Although initial opt-outs "" net yore

         of the wattlemento intermediate and back and opt-out plaintiffs

         remain bound by the caste. of the Settlement Agreement.          The court

         entered PTO 3170 asking for briefs on the Joinder issue.           The

         court thereafter hold oral argument.

                       it is true, a " " chorus of attorns" on all aides he"
         barn quick to point wt, that the Settlement Agreement says
                r
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 210 of 225




         nothing explicit about jolndtC of multiple class vemMre u

         Plaintiffs is lawsuits against Wreth .    moreover, aloe counsel

         and counsel for "th, who negotiated the aaetlamsat over many

         months, candidly admit that the subject ray never discussed .

         Class camsal and lyoth argue instead that w should idly s

         prohibition against joiades in opt-out cases to giv* efficacy to

         the court approved 9ettlemmt Agreement
                                      .                They contend such a

         tern !s essential to a determination. of the parties' rights end

         duties and is reasonable under the circumstances .      Sta

         Reststeieent (Second) o! Contracts 1 204 (19E1)r Bruch v .

         Pirantou Tim 4 Rubber Lb . , !98 P .2d 134, 1'1 .48 (3d Cir . 1987),

         aff~A in wr! end =ev2d Sa2L 489 U .S . 101 (1919) .

                    In rapport of their position, clue counsel and Wath

         focus an certain provisions of the Settlement Agreement .       in

         return for Wseh's waiving the. statute of limitations, the clean

         members agreed to certain limitaeiona on their right to sue .

         Those who exercise intermediate or back-end opt-out rights are         -

         prohibited from seeking 'punitive, multiple, or exanplary

         damages, end -may not use any previous verdicts or judgmaneo

         against the AMP [now known as Nyeth) Released Parties or factual

         findings necessary to each verdicts or judigmento for Purposes of

         establishing claw or here in order to obtain a verdict or

         judgment against the An Released Parties under the doctrines of

         ran judicata, collateral esCOppsl, or other doctrine of claim or

         issue preclusion .-   Mg "etF,tieroi.. Agreement !! 3v .D .3 .C, and




                                           -2-
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 211 of 225




                            i

         IY .D .4 .c .   Alloying multiple joicder, St is argued, could
         undesain~ thaw provisions designed to protect frysth .

                         Na do not think that the joinder of multiple

         intermediate and beak-ud opt-out plaintiffs adversely efface

         the intentions or goals of the parties to the Settlement

         Agreement .       Sack such plaintiff in a joint trial is united to

         caepens4tosy damages, and u& must prove his or bar own

         individual claim .       We are confident that in theme circumstances,

         the appropriate limiting instructions to the jury rill protect

         iPyeth trap the dangers related to ran judicats, collateral

         asCOppel, issue preclusion and dais preclusion .        Since evidence

         concerning malicious or wanton conduct on the part of lyeth rill

         act be before the jury, the danger of improperly inflated or

         otherwise Improper verdicts is minimized, 1! not eliminated .

                         In addition, we cannot isnore the interests of judicial

         economy which are at the heart of procedural rules allowing

         multiple joinder .       They generally have the effect of paving the

         court's time and reducing the parties- costs .       They also allow

         cases, particularly in overburdened jurisdictions, to move to

         trial mom quickly than if a blacker rule ex isted requiring each

         person's teas to be instituted and tried separately .          We

         recognize, of course, that abuse o! joinder can sometimes occur .

         Absent evidence to the contrary, n taut assume that the various

         state courts will interpret end apply their local joinder ruler

         in i fair ::1' l:,artial Re;~ -1th respect to intermediate and

         bask-and opt-outs, just as this court end other federal courts


                                              -3-
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 212 of 225




       moat apply hula 10 of tha Federal Rules of Civil Procedure to

       actions in the federal system .

                    While we will not read into the Settlement Agreement

       any prohibition against the joindsr of intermediate and back-and

       opt-wt plaintiffs is a single lawsuit, re have a decidedly

       different view rich respect to the joinder of intermediate and

       beck-end opt-out claims with initial opt-out slow .          unlike

       intermediate and beak-sad opt-outs, initial opt-wt plaintiffs

       are permitted to reek punitive damages . and are not bound by any

       limitatime concerning rep judicate, collateral estoppal, or the

       like .     Indeed, they are rot part of the class action settlement

       at all .     Thus, the initial opt-out plaintiff may introduce

       evidence of malicious or canton conduct on the part of iiyath .

       Regardless o! any limiting instructions, such evidence in a joint

       trial with intermediate or beak-end opt-out plaintiffs would
                                                                                  i
       clearly infect the jury as it deliberates with respect to the

       intermediate and back-end opt-wt claims that were also being

       tried .     Such a result would greatly prejudice llyeth sad would

       surely eviscerate she evidentiary and damage limitations for

       which 1lyeth bargained is the Settlement Agreement in return for

       the waiver of the statute of limitations .      Lu In re Prudential

       Ins . Co . of Am . , 261 F .3d 355, 367-68 (3d CSs . 7001)

                     Aocoxdinalv, we hold that n trial before the same jury

       of any initial opt-wt claim with any intermediate or back-and
       opt-out claim would undermine the battlement Agreement .         We will

       enjoin intermediate and back-end opt-out plaintiffs from

                                          -a-
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 213 of 225




      Rte' ..                                                     ..


      srttq't'lng .itr loch a . trial .         ,9eeed on the present
                                    ;A
     recotd; ;thn prq~.ety of"ol        r in .qr circumstances Wil

     depend on the pzoeedu&~ or othp~ zv3,ea,in effect in the                `~

     particular juriadictioa where thap-caft is pending .,




                                                                             J .F   .( :
                                                                                    r~ . ;
                .




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                                                      .




                                                                        Ja




    1 . This decision does not preclude . or limit thin court from ..
    coneldeYlng,iA .a`particular cage the issue of fraudulent joinder
    to pm0eqG a !blernl'court from ezeftising sub}Oot matter
    jurisdiction .. in Pretrial Order No . 35(7 . , .
                                                                                      .
                        ..          _5_ -
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 214 of 225
                             f


                        W THE STATE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

BEVERLY BURT and GARY FULTS,

               Plaintiffs,



v.
                                                    CIVIL ACTION FILE
                                                    No. O1 V S022208A
AMERICAN HOME PRODUCTS
CORPORATION; WYETH-AYERST
PHARMACEUTICALS, INC ., A
DIVISION OF AMERICAN HOME
PRODUCTS CORPORATION t%k/a
Wyeth Laboratories, Inc. ;
INTERNEURON
PHARMACEUTICALS, INC . ;
MEDEVA PHARMACEUTICALS,
INC.; FISONS PHARMACEUTICALS;
CELLTECH PHARMACEUTICALS,
INC.; EON LABS MANUFACTURING,
INC . ; RUGBY LABORATORIES, INC . ;
ROBERT L. SCOTT, a citizen of the
State of Georgia ; JOHN A. MOLNAR, a
citizen of the State of Georgia and JOHN
DOE NOS . 1-5,

               Defendants .




                                             ORDER

       This case comes before the Court on "Certain Defendants" Motion For Severance Or

Separate Trials Of Plaintiffs' Claims," filed May 31, 2002. The case came before the Court for



       'The "Vb'yeth Defendants," consisting of Wyeth, Wyeth-Ayerst Pharmaceuticals, Inc.,
Robert L . Scott and John A. Molnar, filed the Motion.
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 215 of 225




oral argument on November 22, 2002. Having considered the arguments of counsel, as well as all

submissions of the parties, the Court hereby finds as follows :

        O.C.G.A . Section 9-11-20(a) provides in part:       "All persons may join in one action as

plaintiffs if they assert any right to relief jointly, severally, or in the alternative in respect of or

arising out of the same transaction, occurrence, or series of transactions or occurrences and if any

question of law or fact common to all of them will arise in the action." Id . Severance is largely a

matter within the trial court's discretion. Vitner v. Funk, 182 Ga. App . 39 (1987).

        The Multi District Litigation (MDL) Order approving nationwide class settlement for

users of Pondimin and Redux noted that the class was basically exposed to one substance which

was manufactured by one defendant. The Order further notes that each class member alleges a

common defect in the diet drugs at issue. Moreover, the class suffers from one particular type of

injury, primary pulmonary hypertension (PPH). PPH is a rare condition and each Plaintiff herein

had to meet the stringent definition of PPH as defined in the national settlement. The diagnosis

has been made with regard to each Plaintiff in this case by a board certified pulmonologist or

cardiologist. Given these facts, the Court finds that the Plaintiffs' claims arise out of the same

transaction, occurrence, or series of transactions and occurrences. The Court will now examine

whether any question of law or fact common to the Plaintiffs' cases will arise in the action.

         Counsel for Plaintiffs has represented to the Court that Plaintiff Burt intends to call ten

expert witnesses and Plaintiff Fults intends to call nine expert witnesses . Eight of the experts are

the same and will testify in both cases. Moreover, Plaintiffs expect the testimony regarding each

individual Plaintiffs medical condition to take one to two days for each Plaintiff. Defendants

estimate the time of trial in this case to be at least four weeks. There are clearly common
                           t
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 216 of 225
                                                                       t
questions of fact in these two cases and judicial economy strongly favors trying these cases

together.

       Judge Bartle, in Memorandum And Pretrial Order No. 2627, filed October 17, 2002,

addressed many of the concerns raised by Defendants . Judge Bartle stated :

                "We do not think that the joinder of multiple intermediate and back-end

       opt-out plaintiffs adversely affects the intentions or goals of the parties to the

       Settlement Agreement . Each such plaintiff in a joint dial is limited to

       compensatory damages, and each must prove his or her own individual claim.

       We are confident that in these circumstances, the appropriate limiting

       instructions to the jury will protect Wyeth from the dangers related to res

       judicata, collateral estoppel, issue preclusion and claim preclusion . Since

        evidence concerning malicious or wanton conduct on the part of Wyeth will not

       be before the jury, the danger of improperly inflated or otherwise improper

        verdicts is minimized, if not eliminated .

                In addition, we cannot ignore the interests ofjudicial economy which are

       at the heart of procedural rules allowing multiple joinder. They generally have

        the effect of saving the court's time and reducing the parties' costs. They also

       allow cases, particularly in overburdened jurisdictions, to move to trial more

       quickly than if a blanket rule existed requiring each person's case to be instituted

       and tried separately ."

Id . at page 3 . The Court agrees with Judge Bartle's reasoning. Moreover, the Court finds that

the Plaintiffs' claims arise out of the same transaction, occurrence, or series of transactions and
                          t
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 217 of 225




occurrences and that there are common questions of fact in these two cases . Therefore, joinder is

appropriate under O.C .G .A . Section 9-11-20(a) .

       Additionally, this ruling is consistent with the liberal interpretation of Rule 20 favored by

federal courts. In Alexander v. Fulton County, 207 Fad 1303 (11t' Cir. 2000), the Eleventh

Circuit Court of Appeals discussed Federal Rule of Civil Procedure 20, the permissive joinder rule

on which O.C .G .A . Section 9-11-20 is based. In Alexander, eighteen plaintiffs sued defendant for

discriminatory practices . Following discovery, the defendants moved to sever the plaintiffs'

claims on the grounds that the multiple claims would confuse the jury and unfairly prejudice the

defendant. The district court denied the motion .

        The Eleventh Circuit affirmed on appeal, noting that "the central purpose of Rule 20 is to

promote trial convenience and expedite the resolution of disputes, thereby eliminating unnecessary

lawsuits." Id. at 1323 . The Court held that, even though each plaintiff had a different claim and

sought different relief, all of the plaintiffs' claims were "based on the same series of discriminatory

transactions by the same decision-maker in the same department during the same short time

frame." Id . at 1324. Similarly, in the case at bar, the plaintiffs allegedly suffered from a common

defect in Defendants' drugs and received the same rare diagnosis from a certified cardiologist or

pulmonologist .

        THEREFORE, it is ORDERED that Defendants' Motion For Severance Or Separate

Trials Of Plaintiffs' Claims is hereby DENIED .

                                        So ORDERED this 27'" day of November 2002 .



                                          /s/ 1ud2e Penny Brown Reynolds
                                         Judge Penny Brown Reynolds
                                         State Court of Fulton County
       Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 218 of 225
                      4                             4



                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

BEVERLY BURT ; and SANDRA FULTS,
In her capacity as Personal Representative of the
Estate of GARY FULTS, deceased,

                                       Plaintiffs,

v.

AMERICAN HOME PRODUCTS CORPORATION ;                              CIVIL ACTION
WYETH-AYERST PHARMACEUTICALS INC.,                                FILE NO. O1VS022208A
A DIVISION OF AMERICAN HOME PRODUCTS
CORPORATION f/k/a Wyeth Laboratories, Inc.;
MEDEVA PHARMACEUTICALS, INC.;
INTERNEURON PHARMACEUTICALS, INC.;
MEDEVA PHARMACEUTICALS, INC. ;
FISONS PHARMACEUTICALS; CELLTECH
PHARMACEUTICALS, INC.; EON LABS
MANUFACTURING, INC.; RUGBY
LABORATORIES, INC.; ROBERT L. SCOTT,
a citizen of the State of Georgia ; DAVID E. WILKES,
a citizen of the State of Georgia; TRACI E. MULLIS,
a citizen of the State of Georgia; and
JOHN DOES NOS. 1-5,

                                       Defendants .


                                              ORDER

       This case having come before the Court on the Wyeth Defendants' Emergency Motion

For Reconsideration Of the Court's November 27, 2002 Order Or, In The Alternative, For

Issuance of a Certificate of Immediate Review; and the Court having read and considered the

Defendants' motion and brief, as well as Plaintiffs' Response Filed In Opposition to such motion

and request for relief, and the entire record before the Court;

       For good cause shown :
      Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 219 of 225




      I ) Let it be ORDERED that the Defendants' Motion for Reconsideration is hereby

DENIED ;

      21 Let it be further ORDERED that the Defendants' request for a Certificate of

Immediate Review is also hereby DENIED.




                                   So ORDERED this the 6'h day of December, 2002 .



                                                     /s/
                                   Judge Penny Brown Reynolds
                                   State Court of Fulton County
Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 220 of 225




           EXHIBIT / ATTACHMENT

                              B
                      (To be aeaoned in plea of tab)
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 221 of 225




                           CONSENT TO REMOVAL

       Defendant      INDEWS          PHARMACEUTICALS,          INC.,      f/k/a

INTERNEURON PHARMACEUTICALS, INC . hereby consents to the removal of

this action.

       This 'Z-3 day of July 2003 .




                                             C_ v N.";&
                                          M. Elizabeth O'Neill
                                          Georgia Bar No. 058163
                                          (authorized with express permission)


Hawkins & Parnell, LLP                    Attorneysfor INDEVUS
4000 SunTrust Plaza                       PHARMACEUTICALS, INC., f/k/a
303 Peachtree St., N.E.                   INTERNEURON
Atlanta, Georgia 30308                    PHARMACEUTICALS, INC.
404-614-7400
404-614-7500 (Fax)
          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 222 of 225




                              CONSENT TO REMOVAL

         Defendant MEDEVA PHARMACEUTICALS, INC. hereby consents to the

removal of this action .

         This 'L3,_ day of July 2003 .




                                            Lori G. Baer
                                            Georgia Bar No. 174455
                                            Clifton M. Iler
                                            Georgia Bar No. 382030
                                            (authorized with express permission)

ALSTON & BIRD LLP
One Atlantic Center                         Attorneys for CELLTECH
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Atlanta, GA 30309-3424




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          Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 223 of 225




                              CONSENT TO REMOVAL

         Defendant CELLTECH PHARMACEUTICALS, INC . hereby consents to

the removal of this action.

         This Z>_ day of July 2003 .



                                                              ,L.i
                                            Lori G. Ba r
                                            Georgia Bar No . 174455
                                            Clifton M. Iler
                                            Georgia Bar No. 382030
                                            (authorized with express permission)

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        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 224 of 225




                           CONSENT TO REMOVAL

       Defendant GOLDLINE LABORATORIES, INC . hereby consents to the

removal of this action .

      This 23 day of July 2003 .




                                          Marvin A. Devlin
                                          Georgia Bar No. 219969
                                          Chrisna J. Walker, Esq.
                                          Georgia Bar No. 731598
                                          Ernest Redwine, Jr.
                                          Georgia Bar No. 597610
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127 Peachtree Street, NE                 Attorneys for GOLDLINE
Atlanta, GA 30303                        LABORATORIES, INC.
        Case 1:03-cv-02070-RLV Document 1 Filed 07/23/03 Page 225 of 225




                           CONSENT TO REMOVAL

      Defendant ZENITH-GOLDL.INE PHARMACEUTICALS, INC . hereby

consents to the removal of this action.

      This Z3 day of July 2003 .




                                          Marvin A. Devlin
                                          Georgia Bar No. 219969
                                          Chrisna J. Walker, Esq .
                                          Georgia Bar No. 731598
                                          Ernest Redwine, Jr.
                                          Georgia Bar No. 597610
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                                          PHARMACEUTICALS, INC.
